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              PROBATE COURT, CITY AND COUNTY OF DENVER, COLORADO
              ----------------------------------------------------------
              TRANSCRIBER! S TRANSCRIPT



              CASE NO. 12 PR 1772


              IN THE INTEREST OF:
              JOANNE BLACK, Respondent.
              -------------------------------------------------------------
                         This matter came on for hearinci before THE
              HONORABLE ELIZABETH D. LEITH, Judge of the Denver Probate
              Court, on Wednesday, August 5, 2015.               The following is a
              transcript of the audible portions of that hearing as
              requested by the ordering party.


              APPEARANCES:    Bernard A. Poskus, Esq., and Patrick R.
                              Thiessen, Esq., for Bernard Black
                              LISA DiPONIO, Esq., for Joanne Black,
                              Respondent
                              GAYLE YOUNG, Esq., Guardian Ad Litem for
                              Joanne Black, Respondent
                              IRA SALZNAN, Esq., Attorney for Joanne Black,
                              Respondent
                              ANTHONY DAIN, Esq., Trustee/cousin
                              CHERIE WRIGLEY, Cousin




                                         BLACK
                                         8/23/2018


                                I iffay M Pietrzvk CSR RPR CRR
                                                                                  BLACK0005 90
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              WITNESSES:         DIRECT     CROSS    REDIRECT       RECROSS

              For the Petitioner:
              Bernard Black         18        63         156,221     158,235

              Katherine Litvak      247      274         282         283

              For the Respondent:
              Cherie Wrigley        160      177         187

              Anthony Dain          192      201         215         220
                                          EXHIBITS
              For the Petitioner:                               Received

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          1                           PROCEEDINGS
          2              THE COURT:     Thank you, you may be seated.   Okay.
          3   Our record is on this morning, August 5th,     2015, calling up
          4   12PR1772 for continued proceedings.      Go ahead with
          5   appearances for the record today.
          6              MR. POSKUS:    Good morning, Your Honor, Bernard A.
          7   Poskus, number 11975 appearing on behalf of Bernard Black,
          8   Conservator.   Also appearing with me is my co-counsel Mr.
          9   Patrick Thiessen--
         10              THE COURT:    Okay.
         11              MR. POSKUS:    --number 40185.
         12              MR. DAIN:    Good morning, Your Honor, Anthony Dam,
         13   Cousin and Trustee of the Supplemental Needs Trust for Joanne
         14   Black (inaudible)
         15              MS. DiPONIO:    Good morning, Your Honor, Lisa
         16   DiPonio, 27707, court appointed counsel for Joanne Black.
         17              THE COURT:    Okay.
         18              MS. DiPONlO:    Your Honor, also on the telephone is
         19   attorney Ira Saltzman who is representing our mutual client
         20   in New York.   And we have other folks here I'll let them
         21   introduce themselves.
         22              THE COURT:    Thank you.
         23             MS. YOUNG:     Good morning, Your Honor, Gayle Young,
         24   Guardian ad Litern for Joanne Black.
         25             THE COURT:     Thank you.   And Ms. Peterson is in the




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          1   back.
          2              MS. PETERSON:   35675, special counsel.
          3              THE COURT:   Thank you.     All right.   And I know that
          4   there's been some filings.    In the meantime there was a
          5   flurry of stuff; I've tried to review it as it comes in.          I

          6   did deliberately not issue a contempt citation for a bunch of
          7   different reasons but I read through that and the supplement
          8   that Mr. Dain filed and then I seen Ms. Young's report and
          9   Ms. Peterson's report.     Ms. Harper filed a report, and Ms.
         10   Kerr filed a response to that and she's asking for her fees
         11   to be paid.
         12              So--and--and I think after all of that I'm still
         13   thinking we need to get through the heart of this evidence
         14   and then move on from there if we can.
         15              All right.    Is there anything else you want to go
         16   over before we get started?
         17              MR. DAIN:    Your Honor, I--I'm not sure I understand
         18   when you say we need to get to the heart of the evidence, I
         19   assume what you mean is we get through that and then we'll
         20   deal with all the other--
         21              THE COURT:    Right.
         22              MR. DAIN:    --(inaudible).    And I know Your Honor
         23   has already indicated that you have today and tomorrow.
         24              THE COURT:    Blocked off.
         25              MR. DAIN:    Blocked off.




                                                                            BLACK000593
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          1              THE COURT:     Just in case--it was a just in case
          2    type of thing.
          3              MR. DAIN:     Okay.
          4              MR. POSKUS:    Your Honor, two things, number one, I
          5    thought that this was just going to be for today so I'm--
          6              THE COURT:    Okay.
          .7             MR. POSKUS:    --I'm not going to be able to make it
          8    tomorrow, sorry.   But the second thing is on the contempt
          9    citation just so you know, I don't believe that we're in
         10    violation of the Court's order.      Having said that my client
         11    yesterday deposited a check in my COLTAF account for 115,000
         12    which is the amount complained of.     And I will represent to
         13    the Court that I will hold on to that until I either get an
         14    order from this Court or the New York court telling me what
         15    to do with it.
         16              THE COURT:    So that was sort of in reimbursement
         17    mode kind of?
         18              MR. POSKUS:    Yes, yeah, reimbursement mode.   In
         19    other words, I think it was okay for him to do what he did
         20    but we didn't want that issue to overwhelm the hearing today.
         21              THE COURT:    Okay.
         22              MR. POSKUS:    We wanted to get to the evidence.
         23              THE COURT:    Okay.   And the source of those funds?
         24             MR. POSKUS:     Is Bernie Black's personal funds.
         25             THE COURT:     All right.   And what's the status of




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          1    the case in New York in terms of the probate case?       Has that

          2    court been advised of anything?
          3              MR. DAIN:    Not--it has not, Your Honor, other than
          4    that this is a continued hearing so it has continued the
                                                       1$t•
          5    hearing until I believe it's October
          6              THE COURT:    So there is a hearing set.
          7              MR. DAIN:    There is a hearing set.
          8              THE COURT:    And the nature of that hearing?
          9              MS. DiPONlO:    Your Honor, Mr. Salzman might be able
         10    to fill you in on what is going on in New York.      I know he

         11    notified the court--
         12              THE COURT:    Okay.
         13              MS. DiPONlO:    --about the proceedings and he might
         14    be able to--
         15              THE COURT:    Okay.   Mr. Salzman, did you hear that?
         16              MR. SALZMAN:    I did, Your Honor, I'm on a cell
         17    phone so if I'm breaking up (inaudible)    .   The--basically the

          18   New York (inaudible) in (inaudible) thought--
         19              THE COURT:     Yeah, you're breaking up really, really
          20   badly.
          21             MR. SALZMAN:     Okay.   Anyway the New York
          22   proceedings have been adjourned (inaudible) the results of
          23   your proceedings in Colorado.
          24             THE COURT:     So are there any holds or suspensions
          25   at that point--in that case?




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           1             MR. SALZMAN:       I didn't--I didn't understand the
           2   Court's question, what do you mean by holds and suspensions?
           3             MR. DAIN:    I can actually address that, Your
           4   Honor--
           5             THE COURT:    Okay.
           6             MR. DAIN:    --because I was in Court.    The Judge
           7   instructed Mr. Black's attorney to instruct Mr. Black--and
           8   this is as the Court put it--that he strongly advised to make
           9   no transfers out of the estate accounts.       Mr. Black's
          10   attorney said he would so advise his clients.
          11             The Court didn't want at that point to overstep
          12   because the matter--there were matters before this Court.
          13             THE COURT:    Okay.
          14             MR. CAIN:    So that Court has just adjourned its
          15   hearing, evidentiary hearing and other hearings, until after
          16   this Court rules.
          17             THE COURT:    All right.    And is there--is that
          18   hearing--the subject of that hearing, is part of it this
          19   entire business about--Mr. Black testified that he was trying
          20   to avoid in the first instance, which was whether or not his
          21   mother had the capacity to change--to put the funds into the
          22   POD account?
          23             MR. CAIN:    No.    What's being litigated there is Mr.
          24   Black has a petition for guardianship which in some
         25    substances is the equivalent of this Court's--




                                                                             BLACK000596
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           1                  THE COURT:    I thought that was a different court
           2   though.
           3                  MR. DAIN:    Well, there are two courts--
           4                  THE COURT:   Right.
           5                  MR. DAIN:    --there's the Surrogate Court, there's
           6   the court--the estate court.          As far as I know nothing is
           7   happening in the estate proceedings until Mr. Black files to
           8   either attempt to close them or as we're going to file to
           9   address all the issues of payments out of the estate account.
          10   That   -   -




          11                  THE COURT:    Okay.    So he still hasn't--he hasn't
          12   been suspended as the PR then?
          13                  MR. DAIN:    No, no.
          14                  THE COURT:    Okay.
          15                  MR. DAIN:    The court we're talking about adjourning
          16   is the--is the court that' s going to address the guardianship
          17   proceedings arid Ms. Wrigley also has a petition--
          18                  THE COURT:    Right.
          19                  MR. DAIN:    --in New York.
          20                  THE COURT:    Right, but that's a different court.
          21                  MR. DAIN:    Different court.
          22                  THE COURT:    Okay.
          23                  MR. DAIN:    So nothing has happened--if I could also
          24   address one additional thing and again we'll address the
          25   contempt issue, you know, the after the fact--Mr. Poskus




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           1   holding 115,000--the amount is actually 130,000, so if
           2   there's an issue we can address each of those but it's
           3   130,000.
           4               THE COURT:    All right.   And then am I going to be
           5   taking any--is there any issue with Ms. Kerr's fees at this
           6   point?
           7               MR. DAIN:    Your Honor, again I know you've read the
           8   supplemental pleading, but it's amazing to me that Mr. Black
           9   is paying his attorneys to challenge Ms. Kerr, but just
          10   paying themselves to do that and then challenging whether she
          11   should be paid.
          12               There is no issue--I'm a trustee of the trust,
          13   everything she has done is for Ms. Black's benefit and
          14   beyond.    We would not be here today but for her and Ms. Young
          15   bringing all that's happened to the attention of the Court.
          16               THE COURT:    Right.
          17               MR. DAIN:    Everything she's done has made this
          18   happen.    So in its entirety those fees should be paid.    I--
          19   the objections are--as I said it's taken a microscope to
         20    things that are of no relevance of no significance and just
         21    picking at them.
         22                So I--I ask the Court to overrule the objections,
         23    let's get Ms. Kerr paid.     She's been working for months and
         24    months diligently with not a dime of payment.      So if we could
         25    address that that would be one thing we could get out of the




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            1   way that I think is just a housekeeping matter.
            2             THE COURT:     Right.    Okay.    Mr. Poskus, is there any

            3   objection to paying Ms. Kerr?
            4             MR. POSKUS:     Well, Your Honor, yes, because part of
            5   the problem is that if you look at the statute, the cost and
            6   compensation statute, some of the factors on which somebody's
            7   compensation is based are dependent on the outcome of the
            8   case and how whether or not the Court finds Ms. Kerr's report
            9   credible; that kind of thing.       And so of necessity we don't
           10   know those factors until the accounting issues are decided.
           11             THE COURT:     Okay.    But the bill itself?
           12             MR. POSKUS:     The bill itself--I mean--I'm not sure
           13   what you mean by that is--are we arguing with the time spent
           14   and all that?
           15             THE COURT:     Right.    Right.
           16             MR. POSKUS:     I think a lot of the time that's been
           17   spent has been excessive.        You know, Ms. Kerr appears in this
           18   Court--has filed pleadings in this Court like she's a party
           19   and then bills for it.     I don't think it's     appropriate--
           20             THE COURT:     So we're going to have another--
           21             MR. POSKUS:     --I've never--
           22             THE COURT:     --a hearing or evidence on the
           23   necessity and reasonableness of her fees; is that what you're
           24   telling me?
           25             MR. POSKUS:     At this point, yeah, Your Honor, maybe




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           1   we can--if we can sit down and talk--I mean I think a lot of
           2   these issues can get resolved if everybody just sits down and
           3   talk.
           4              THE COURT:    Well, why hasn't that happened then?
           5              MS. DIPONIO:    Your Honor, that's--
           6              MR. POSKUS:    Hold on I'm trying to speak right now.
           7   Your Honor, you'll recall we ended the last hearing saying
           8   we'll try to work together on all these.     We said we'll sit
           9   down with the accountants and I said we'll sit down with Mr.
          10   Dain and try to work through a few of the things so that when
          11   we come back before you there will be a narrow--at least
          12   there will be a narrowing of the issues.
          13              And this is what's happened is Ms. Kerr has refused
          14   to sit and talk with Ms. Harper, all she does is file her
          15   pleadings with the Court, but she won't sit down with Ms.
          16   Harper to work through the differences in their reports.
          17              With regard to Mr. Dam   we've had a series of four
          18   conference calls on which Mr. Dam--well, let me phrase this
          19   properly, the first two it was Mr. Dam, myself, Ms.
          20   Peterson, and Mr. Frigon at which we were going to try to
          21   work through some of the things.    You'll remember Mr. Dam
          22   complaining repeatedly at the hearing last time, nobody has
          23   cut me in on being trustee of the trust; nobody has given me
          24   access to the statements.
          25              Mr. Dain participated in the first two conference




                                                                          BLACK000600
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           1    calls; we gave him all the information on how to get himself
           2    on the accounts as a co-trustee of the trust.    As of day

           3    before yesterday he's taken no action to do that.
           4              And then indeed the last two conference calls that
           5    we scheduled he just didn't attend.    And that's reflected in

            6   Ms. Peterson's report.
            7             Another thing that came out of those conference
            8   calls is that Mr. Erigon and I agreed there would be a
            9   certain amount of information that we could use from New York
           10   in order to determine the proper way to manage Joanne's
           11   assets.   And so--and Mr. Erigon, who was their expert, and I
           12   agreed that would be good information to know.
           13              We agreed that Ms. Peterson would contact Mr.
           14   Salzman in New York and find out the answers--or at least
           15   ask--maybe he says I don't know--he hasn't returned her
           16   calls.
           17              So--arid then we get to this contempt thing, Your
           18   Honor, and rather than call us and say, look, we see these
           19   checks coming through what's going on, we don't get a call,
           20   we just get a contempt citation.
           21              THE COURT:    Uh-huh.
           22              MR. POSKUS:    So we've reached out in all sorts of
           23   ways to try to start working together and we get rebuffed at
           24   every turn and then we come in here and they say Bernie Black
           25   does all this bad stuff.




                                                                             BLACK00060 1
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           1               I've been trying to turn the temperature down and
           2   all I get is this kind of lack of corporation from the other
           3   side.    So that's kind of my problem with this, Your Honor, is
           4   that we've been trying to work for the benefit of Joanne
           5   Black.    There could--you can make an argument about did we do
           6   exactly the right thing, in hindsight maybe we didn't, maybe
           7   we did, but the problem is that we're trying and nobody wants
           8   to work with us on the other side.      Ms. Peterson has but
           9   that's--and Mr. Frigon but that's about it.
          10               THE COURT:    Uh-huh.
          11              MR. POSKUS:    So that's my problem with all this,
          12   Your Honor.   I'm not trying to raise a bunch of fuss but I
          13   get a little angry when--when--for instance a pleading gets
          14   filed that says I'm thumbing my nose at this Court, which
          15   quite frankly I take personal offense at.
          16               We're trying to do our best under difficult
          17   circumstances and we could use some help from the other side.
          18   And I thought when we left this Court the last time we had a
          19   commitment from them to do that.
          20              THE COURT:    Okay.
          21              MR. DAIN:     Your Honor, let me address Mr.--the
          22   issue which is--first which is what the Court asked.      To say
          23   that--that Ms. Kerr hasn't cooperated I mean is just absurd.
          24   What she won't cooperate in is a reinvention of this
          25   accounting.




                                                                          BLACK000602
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           1              How is it going to help the Court, as the Court
           2    said, it needs the numbers to say we'll do a new accounting
           3    assuming everything Mr. Black did was appropriate, we'll give
           4    him credit for paying his attorneys and paying his expert who
           5    never testified with Ms. Black's money and then we'll tell
            6   the Court what the net of that is; that doesn't help the
            7   Court.
            8             Ms. Kerr did an actual accounting.
            9             THE COURT:    Uh-huh.
          10              MR. DAIN:     And I think the Court agrees that that's
           11   helpful to the Court.     So to say what she did is excessive
           12   filing pleadings when Mr. Poskus, again, he filed an
           13   objection and then didn't even wait, didn't even wait to ask
           14   this Court can he be paid for that; just paid himself.
           15             Why should I call him when this Court twice issued
           16   freeze orders to tell him not to take money.     What about a

           17   freeze order don't they understand.     So that's--that's a
           18   complete nonissue, it's another red-herring.
           19             If the Court accepts that Ms. Kerr's report was
           20   helpful, Ms. Kerr's time is appropriate.     She's documented
           21   everything she's done and she should be paid in full.     She's

           22   asking for $50,000, by the way as I said in my supplemental
           23   pleading, she's not been paid, Ms. Wrigley has not yet been
           24   paid, I haven't been paid, Ms. DiPonio hasn't been paid, Ms.
           25   Young hasn't been paid.     On our side we're playing fair.




                                                                              BLACK000603
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           1               On their side despite the freeze orders $130,000 to
           2   pay all of these attorneys that Mr. Glatstein himself said
           3   are feeding at the trough.    And then to say we don't
           4   cooperate.    I have not placed my name on that account or
           5   those accounts because Mr. Black is doing what he's doing.        I
           6   cannot be a party to an account he's on and--when he's taking
           7   that money because I don't want later any accusation that I
           8   should have known or I was a party to it.     I will not be on
           9   an account he's on an account.
          10               So if--if the Court gets to the point where it
          11   unwinds this, gets him off these accounts as a trustee I'll
          12   get on the account.    But I know what the result of this would
          13   have been, Mr. Poskus would have said, well, Mr. Dain is on
          14   this account, he knew we were writing checks to ourselves; it
          15   was incumbent upon him to--to do something.
          16               So, yeah, I know we're not addressing the contempt
          17   motion but I don't know if the Court sees it another way, but
          18   you said--remember I even asked--would you make them file a
          19   bond and you said we don't need a bond, I've frozen the
          20   accounts.    And you asked Mr. Black, I've frozen the accounts,
          21   you haven't transferred anything and he told you right there
          22   on the stand, no, I haven't transferred anything.
          23               Mr. Poskus was silent the whole time.   They've not
          24   --they weren't the ones that came forward to you and say,
          25   Your Honor, we pt 115,000 in my account because maybe we




                                                                          BLACK000604
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           1    were right, maybe we were wrong, they didn't do it.     We had

           2    to come forward.   Ms. Kerr had to find out that information.
           3    She had to fight with them to get that information.     They

           4    kept telling her, no, it cuts off at a certain date.
           5               It was her perseverance that even brought that
           6    before this Court.   So, you know, this frustrating thing of
           7    saying we're not cooperating, I won't cooperate with fraud, I
           8    will not do it.
            9               I participated in the two--two phone calls--by the
          10    way, the last two calls, one I was in Japan, the other I just
          11    couldn't make; those weren't--I wasn't personally saying I
          12    don't want to participate I just could not make the calls.
           13              Mr. Frigon, he is a trust expert, his purpose in--
           14   in participating is to decide which trust is best to pay
           15   from.    This--this nonsense about New York like we're going to
           16   get more involved now and how Mr. Black should manage the
           17   assets that's nonsense; I hired Mr. Frigon.      I paid for him
           18   out of my own pocket.    He's here to help the Court in
           19   assessing which trust should make payments.     And he said the
           20   Supplemental Needs Trust should make the payments.
           21               Pay Ms. Kerr.   It's not fair.   I know the Court can
           22   say I think her time is fair, I think her work is fair and--
           23   and pay her.    We'll address everybody else that hasn't been
           24   paid--
           25               THE COURT:   Right.




                                                                            BLACK000605
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           1              MR. DAIN:      --because we'll do it correctly, we'll
           2   file with the Court.
           3                THE COURT:   Okay.     All right.   I still think at
           4   this point then what we need to do is get through the core
           5   evidence which is the disclaimer.        I mean that's what we're
           6   here about.    So I want to get through all of that and then
           7   these other scrimmages we'll take up.
           8              All right.      Did you need to make an opening remark,
           9   Ms. DiPonio, or--
          10              MS. DiPONlO:      No, Your Honor, that's fine.
          11              THE COURT:     Okay.     All right.   So the last notes I
          12   have when we broke the last time I think Ms. Young had
          13   testified.
          14              MR. POSKUS:      Yes, Your Honor, where we left off
          15   actually Mr. Black was on the witness stand.
          16              THE COURT:     Right.    Mr. Black was on the witness
          17   stand.   Okay.
          18              MR. POSKUS:     And, Your Honor, may I move the podium
          19   again?
          20              THE COURT:     Sure.
          21              MR. POSKUS:     I don't know, doesn't anybody else
          22   complain that you can't see the witness stand from here?
          23              THE COURT:     No.   Not usually.
          24              MR. POSKUS:     Sorry.
          25              THE COURT:     So you're still under oath, sir.




                                                                              BLACK000606
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           1              MR. BLACK:    I understand.
           2              (Whereupon, Mr. Black was previously sworn.)
           3              THE COURT:    And he was talking about Ms. Joanne
            4   Black going from hotel to hotel, making withdrawals on a
            5   debit card was the last note I have.
            6             MR. POSKUS:    Right.   And actually, Your Honor, at
            7   least my notes say that where we left off is we were talking
            8   about Mr. Black's contacts with Cherie Wrigley and we might
            9   have been talking about Joanne Black' s behavior at--
          10              THE COURT:    Right.
           11             MR. POSKUS:    --that time.
           12             THE COURT:    Right.
           13                            BERNARD BLACK,
           14   called as a witness herein, having been previously sworn, was
           15   examined and testified as follows:
           16                           DIRECT EXAMINATION
           17   BY MR. POSKUS:
           18        Q    Arid so, Mr. Black, let's--where we left off is we
           19   had just discussed--and you can correct me if I'm wrong--I
           20   believe we were discussing your collaboration with Ms.
           21   Wrigley to get Ms. Black to sign the disclaimer; is that your
           22   recollection?
           23        A    So I think we were in the middle of discussing our
           24   collective response to learning in July of 2012 that there
           25   was a POD designation that was--at Vanguard basically 95




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           1   percent to Joanne Black, which would have left Joanne with--
           2   directly receiving $3 million which everybody thought made no
           3   sense, must be a mistake, and what do we do about that.
           4              And then I started describing my joint effort in
           5   collaboration with Ms. Wrigley to talk to everybody involved
           6   and figure out what--what the possible responses were to that
           7   unexpected information.
           8        Q     And we don't need to revisit all your testimony
           9   about your conversations with Ms. Wrigley, but let me ask you
          10   this, over what period of time were you and Ms. Wrigley
          11   working tocrether to try to address the issue of the POD
          12   designations and the possibility of a disclaimer?
          13        A     I'd say starting from shortly after July 11th    of
          14   2012, really through the completion of the court hearing in
          15   Colorado in December of 2012.
          16        Q    And over that period of time in your conversations
          17   with Ms. Wrigley how often was the fact that a disclaimer
          18   would result in a two-thirds/one-third split discussed?
          19        A    I would say multiple times.    You know, again, we're
          20   talking about a dozen maybe over that period, two dozen
          21   conversations, so certainly multiple times, but exact count I
          22   don't have.
          23        Q    And Ms. Wrigley volunteered to help you get Joanne
          24   to sign the disclaimer?
          25        A    Yes.   So I want to call it Ms. Wrigley's idea that




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            1   maybe she could go to Colorado and get Joanne simply to sign
            2   the disclaimer herself.   I always thought that was unlikely

            3   and I also had real doubts about whether it would do any good
            4   given that we knew that Joanne was crazy but Cherie wanted to
            5   try.
            6              And so part of our effort was we need to track down
            7   Joanne anyway, she was moving from motel to motel, we have to
            8   serve process on her; we have to do it for probate, we have
            9   to do it for the conservatorship, and so we had a discussion
           10   with Cherie about maybe Cherie would go to Colorado and track
           11   down Joanne and serve the papers on her and at the same time
           12   try to persuade Joanne to voluntarily sign the disclaimer of
           13   her POD benefits so they would go back into the estate and go
           14   out two-thirds/one-third.
           15          Q   Let me ask you a question, what was your
           16   understanding of what would happen with the Vanguard accounts
           17   if Joanne exercised a disclaimer--or actually let me preface
           18   it with this--we discussed this when we were in court
           19   previously but I just want to get it on the record again to
           20   give us context.
           21              The payable on death designation for the Vanguard
           22   accounts was--wasn't it 95 percent to Joanne and 1 percent to
           23   each of your five older children?
           24          A   That's what Vanguard told me, yes.
           25          Q   Okay.   Now, given that what was your understanding




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           1   of what would happen if Joanne exercised the disclaimer
           2   exclusively and none of the kids did?
           3          A   So in July I had no understanding, I imagine that
           4   if there was a disclaimer by Joanne the 95 percent would go
           5   back into the estate.     Vanguard--Vanguard had a beneficiary
           6   expert named William Coykendall, C-O-Y-K-E-N-D-A-L-L, and so
           7   I was communicating with him regularly.     And he advised me in
           8   early September--
           9              MR. DAIN:    Objection, Your Honor, hearsay.
          10              MR. POSKUS:    Your Honor, the question was what was
          11   his understanding; we're not offering it to show that that's
          12   what Vanguard's position was, it's to offer to show what his
          13   understanding was and what the basis of his understanding
          14   was.
          15              THE COURT:    Overruled.
          16              THE WITNESS:    I was advised by Mr. Coykendall in
          17   early September that no, if Joanne disclaimed the 1 percent
          18   that went to each of five kids would blow up to 20 percent
          19   each and swallow the whole Vanguard and so that created a new
          20   problem for us.
          21          Q   (by Mr. Poskus)    And the problem was?
          22          A   I thought that the disclaim--the POD was a mistake
          23   and I thought it was appropriate to try to get the POD assets
          24   back into the estate.     And my kids thought it was a mistake
          25   and they were planning to litigate to try to achieve that




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           1    result, but I never thought or intended that all of the
           2    Vanguard money would go to my kids.
           3              So I could not carry out a disclaimer that would
            4   result in all of the Vanguard money going to my kids.       The--

            5   my--my understanding was 5 percent should go to my kids
            6   directly and the rest should to the estate.
            7             MR. POSKUS:     Your Honor, if you can hold on a
            8   second.
            9             THE COURT:     All right.   I don't really understand
          10    what you just said about the Vanguard guy.
           11             THE WITNESS:     Okay.   Let me try again.   So what

           12   Vanguard said or Coykendall said was if the 95 percent gets
           13   disclaimed, it doesn't go back into the estate, instead each
           14   of the 1 percents are now--
           15             THE COURT:     Oh, sure, in yours--to the other
           16   beneficiaries of the account.
           17             THE WITNESS:     Yeah, so they would each get 20
           18   percent arid nothing would go back to the estate and that just
           19   --that couldn't happen.
           20             MR. POSKUS:     Did that clarify it--
           21             THE COURT:     Yeah.
           22             MR. POSKUS:     --Your Honor?   And, Your Honor, if I

           23   may approach the witness I have an exhibit notebook to give
           24   him.   And I--I see that you have yours.
           25              THE COURT:    Yes, I managed to hang on to it.




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           1               MR. POSKUJS:   I'm grateful for not having to
           2   reproduce.
           3           Q   (by Mr. Poskus)    Sir, and I'll ask you to turn in
           4   your exhibit notebook to Exhibit 78 if you could.
           5           A   All the way back to Exhibit 78.    Yes, I have it.
           6           Q   And I'll ask you, sir, can you identify this
           7   document?
           8           A Yeah, this is a message that Mr. Coykendali sent to
           9   me on December 17th, 2012.
          10           Q   This is an e-mail message?
          11           A   Yes, it was--it's an e-mail message; it was sent
          12   through Vanguard's internal system.      I get an e-mail to my
          13   regular e-mail account saying log into Vanguard and you'll
          14   see an e-mail.
          15           Q   So that's why it doesn't have the typical header
          16   for an e-mail?
          17           A   That's right, I copied and pasted this--pasted this
          18   out of the Vanguard internal e-mail system.
          19        Q      And this is a true and correct copy of what Mr.
          20   Coykendall sent you?
          21        A      Yes, it is.
          22        Q      And did you receive it on or about December 17',
          23   2012?
          24        A      Yes, I did.
          25               MR. POSKUS:    Your Honor, I move to admit Exhibit




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            1   78.
            2             MR. DAIN:     Your Honor, and same objection.    He can
            3   testify what his state of mind was, but he can't get in the
            4   backdoor hearsay.     So this isn't admissible as an e-mail.    He
            5   can state the effect it had on him but the document
            6   themselves don't come into evidence.
            7             MR. POSKUS:     Your Honor, he's testifying he
            8   received it.
            9             MR. DAIN:     That's authentication, Your Honor,
           10   that's not hearsay.
           11             MR. POSKUS:     And it's   offered for the same purpose
           12   as his prior testimony.     In essence, Your Honor, in the third
           13   paragraph the second sentence says, If an alternative
           14   beneficiary had not been named by the deceased donor the
           15   assets will be divided proportionately among any remaining
           16   primary beneficiaries.
           17             THE COURT:     I'll admit it.
           18             MR. POSKUS:     Thank you, Your Honor.
           19             (Petitioner's Exhibit 78 was received in evidence.)
           20         Q   (by Mr. Poskus)     Now, did Joanne assist you in--so
           21   you had to get disclaimers from the kids or you couldn't do
           22   the disclaimer for Joanne, am I correct?
           23         A   That's correct.     So once I got this information
           24   from Vanguard in September the only solution that we had at
           25   the time was to get my children, my five older children, to




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           1   disclaim their 1 percent so that everything would go back
           2   into the estate and go out two-thirds/one-third.
           3        Q     And did Ms. Wrigley assist you in getting
           4   disclaimers from your children?
           5        A     Yes, she did.
           6        Q     With which children did she assist you in that
           7   process?
           8        A     So principally with Sara and Rebecca.    I want to
           9   say we divided up the work and, you know, I talked to the
          10   boys and she talked to the girls.    And we talked to each of
          11   them about--okay, we told you in July hold off on litigation,
          12   don't sue yet, we'll try to go for guardianship.     Now, we
          13   have to come back to them and say and we want you to give up
          14   the 1 percent you thought you were going to get directly but
          15   I didn't see any other alternative.
          16              And I still thought that this was better than
          17   litigation, better for Joanne, better for everybody.     So
          18   Cherie and I decided we're going to go try to get our kids--
          19   my kids to disclaim the 1 percents down to zero and then they
          20   wouldn't blow up to 20 percent.
          21        Q     And--and let me ask you this, other than the fact
          22   that you talked to the boys and she talked to the girls, why
          23   did--why did Cherie agree to do--talk to the girls?      What
          24   was--why did you make that division of labor?
          25        A     Partly it made sense--partly for Rebecca in




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           1    particular.   Rebecca was just starting Community College, at
           2    Santa Barbara Community College in Santa Barbara.    She lived

           3    fairly close to Cherie Wrigley who is in Thousand Oaks,
            4   California, slightly to the south of Santa Barbara and was in
           5    regular contact with--with Cherie Wrigley.
            6             And also increasingly as the fall went on--how do I
            7   want to put it--Rebecca had just left home; she was not the
            8   best of students; she was not the most diligent of students;
            9   she was failing all of her classes and blaming it on her
           10   father.   And so I was at that time not on the best of terms
           11   with--with Rebecca.   Things have improved a lot since, she's
           12   21 and not 18; she has a real job, all that good stuff.       But

           13   at the time it was--you know, Rebecca was really, really
           14   angry at me and I really needed Cherie to be the intermediary
           15   and go to Rebecca and say, you know, your father and I want
           16   you to disclaim your 1 percent, you know, the $30,000 that
           17   you could get directly we want you to give it up and trust
           18   that you'll get one-third of the Issue Trust down the road in
           19   trust.
           20              And so that was a difficult conversation,
           21   especially difficult for me and I really needed Cherie's help
           22   with persuading Rebecca that she should disclaim her 1
           23   percent down to zero so that the whole package could--could
           24   go forward.
           25        Q     So let me ask you this, were you guys successful?




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           1         A      Yes, we were.
           2         Q      And so the children all exercised disclaimers?
            3        A      The children all exercised disclaimers, yes.
            4        Q      Let's turn in your exhibit notebook to Exhibit 44.
           5         A      44, okay, got it.
            6        Q      And, sir, I'll ask you if you can take a look at
           7    Exhibit 44 and ask you can you identify that document?
           8         A      Yes.   This is the disclaimer form or I should say
           9    forms that my daughter Sara signed.
          10         Q      And are you familiar with your daughter's
          11    signature?
          12         A      Yes, I am.
          13         Q      You've had an opportunity to see her signature in
          14    the past?
          15         A      Yes.
          16         Q      And on page 2 where it says disclaimant's
          17    signature, is that your daughter's signature?
          18         A      Yes, that's my daughter's signature and her
          19    signature is also going to appear another two pages down and
          20    another page after that.    And there might be more after that
          21    I'm not sure, there were a series of--oh, then--then there's
          22    my signature acknowledging receipt and then there's a blank
          23    page and then an appendix, it looks like she signed in three
          24    places.
          25        Q       And is this a true and correct copy of the




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           1    disclaimer that you received from your daughter?
           2        A       Yes.
           3                MR. POSKUS:    And, Your Honor, I move to admit
           4    Exhibit 44.
           5                MR. DAIN:     No objection, Your Honor.
           6                THE COURT:    It's admitted.
           7                MR. POSKUS:     Thank you, Your Honor.
           8                (Petitioner's Exhibit 44 was received in evidence.)
            9        Q      (by Mr. Poskus)     And let me ask you something on
          10    the very last page of Exhibit 44 indicates that Schiff Hardin
          11    prepared a notice of disclaimer and renunciation, did--did
          12    Schiff Hardin prepare these documents for Sara's signature?
          13         A      So the form language that Vanguard wanted came from
          14    Vanguard.     And I also confirmed that the language was
          15    acceptable to Fidelity and I believe the rest of the document
          16    was prepared by Schiff Hardin at my request.
          17         Q      Let's take a look at Exhibit 45.     And. I'll ask you,
           18   can you identify this document?
           19        A      Yes, this is the disclaimer that was signed by--it
           20   says Rebecca Black (also known as Becca Black) that was
           21   because my mother had listed Rebecca as Becca in her
           22   designation of beneficiaries of Vanguard.
           23        Q      And you're familiar with your daughter's signature?
           24        A      Yes, I am.
           25        Q      And if you could look through the document on page




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           1   2 and on page 4 and on page 5, is that your daughter's
           2   signature?
           3        A      Yes, it is.
           4        Q      And of course that's your signature on page 6,
           5   isn't it?
           6        A      Page 6, yes, is it.
           7        Q      Is this a true and correct copy of the disclaimer
           8   exercised by your daughter Rebecca?
           9        A      Yes, it is.
          10        Q      All right.     Thank you.
          11               MR. POSKUS:     Move to admit Exhibit 45, Your Honor.
          12               MR. DAIN:     No objection.
          13               THE COURT:     45 is admitted.
          14               (Petitioner's Exhibit 45 was received in evidence.)
          15               THE COURT:    I assume you have the rest of them?
          16               MR. POSKUS:     Yes, Your Honor.   I could--
          17               THE COURT:    I mean how much time do we need to take
          18   up with this?
          19               MR. POSKUS:    Well, Your Honor, I'm willing to just
          20   --if counsel will stipulate to the admission of Exhibits 46,
          21   47, and 48, 48 is a little bit different in format but
          22   otherwise the testimony would be the same on all three of
          23   those.   If counsel stipulate to the admission of those
          24   documents I'd just move to admit them now.
          25               MR. DAIN:    Yes, just so I understand these are all




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            1   disclaimers signed by the children?
            2              MR. POSKUS:    Yes.
            3              MR. DAIN:     Yeah, no objection, Your Honor.
            4              THE COURT:    So, 45, 46, 47, and 48--
            5              MR. POSKUS:    Thank you, Your Honor.
            6              THE COURT:    --we'll admit those.
            7              (Petitioner's Exhibits 45, 46, 47, and 48 were
            8   received in evidence.)
            9        Q     (by Mr. Poskus)       And just so the record is clear,
           10   Mr. Black, is there a difference between your son David's
           11   disclaimer and your son Benjamin's disclaimer which are at 48
           12   and 46 respectively and the other three?
           13        A     Yes, there is.
           14        Q     And what's the difference?
           15        A     So the difference is that in September we thought
           16   that my children needed to disclaim entirely so that the bulk
           17   of the money would go back into the estate.        And then in
           18   December I learned from Mr. Coykendall that there was another
           19   possibility which is that they could waive back down to 1
           20   percent.
           21              So if Joanne waives the 1 percent goes up to 20
           22   percent, they could waive back down to 1 percent rather than
           23   to zero.   And so I offered my five children the alternative
           24   of either you can waive down to 1 percent and take your 1
           25   percent or you can waive down to zero and then I will invest




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           1   that money for you through the Issue Trust.
           2        Q     And--so what did Benjamin and David do that was
           3   different from the other three children?
           4        A     So these were the two oldest children and they
           5   decided to take their 1 percent.    And so they later received
           6   their 1 percent directly from Vanguard.     And the younger
           7   children, Sam, Sara, and Rebecca disclaimed fully.
           8        Q     Let me ask you to turn to Exhibit 43.
           9        A     Okay.
          10        Q     And can you identify this document?
          11        A     Yes, this is the disclaimer that I executed on
          12   behalf of Joanne as her conservator for the--for the Vanguard
          13   and Fidelity assets.
          14        Q     And is that your signature on page 2?
          15        A     Yes.
          16        Q     And 3?
          17        A     Yes, it is, I signed it as Bernard Black,
          18   Conservator.
          19        Q     And indeed also on page 4, I'm sorry?
          20        A     Page 2, page 3, page 4, and then probably I got--I
          21   guess that's it.    No, we keep going, there's still more--
          22   yeah, there's still--there's still more, like four more pages
          23   further down, so all of those are my signature.
          24        Q     And is this the disclaimer you signed on behalf of
          25   Joanne?




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            1         A   Yes, it is.
            2         Q   And is it a true and correct copy?
            3         A   Yes, it is.
            4             MR. POSKUS:    Your Honor, I move to admit Exhibit
            5   43.
            6             MR. DAIN:    No objection.
            7             THE COURT:    Admitted.
            8             (Petitioner's Exhibit 43 was received in evidence.)
            9         Q   (by Mr. Poskus)   Now, you said you had a number of
           10   conversations with Cherie Wrigley about this process and I
           11   know last time we did have some testimony and exchange
           12   between you and Mr. Dain about a conversation you had with
           13   Mr. Dain about this disclaimer issue, did you--
           14         A   I remember that testimony.
           15         Q   Yeah.    And did you have a direct conversation with
           16   Mr. Dain about the idea of exercising a disclaimer on behalf
           17   of Joanne Black?
           18         A   Yes, I did.
           19         Q   When did that conversation occur?
           20         A   That would have occurred in July of 2012 shortly
           21   after we got the information from Vanguard about the 95
           22   percent POD going to Joanne.
           23         Q   And was this on the phone or in person with Mr.--
           24         A   This was--this was on the phone.
           25         Q   All right.    And so tell us about the discussion?




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            1        A    So after I got the letter from Vanguard there was
           2    a--I'll call it a flurry of activity involving me, Cherie
            3   Wrigley, my wife, my children, this is crazy, it makes no
            4   sense, what do we do.    And out of that came the idea that one
           5    thing we could do--you know, if we did nothing then there
            6   would be litigation challenging the disclaimer.
            7             One thing--
            S             THE COURT:     I'm sorry who would be litigating it?
            9             THE WITNESS:     My children and my wife on behalf of
          10    my--of her children.
          11              THE COURT:     Your wife on behalf of her children?
          12              THE WITNESS:    Right.     Because they are
          13    beneficiaries of the Issue Trust and there would be no money
          14    or very little money for the Issue Trust.
          15         Q    (by Mr. Poskus)       I think for clarification, Mr.
          16    Black, you ought to say they're children as well.
          17         A    Yeah, I'm sorry, my--my children with my second
          18    wife, I'm sorry.
          19         Q    I could tell that's why the Court was reacting the
          20    way it was.
          21              THE COURT:    Okay.
          22              THE WITNESS:    My children, yes.
          23              THE COURT:    All right.    So you had this big family
          24    discussion--
          25              THE WITNESS:    Yes.




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           1              THE COURT:    ---and you are testifying that you
           2    included Mr. Dain and Ms. Wrigley?
           3              THE WITNESS:    I'd say that Ms. Wrigley was part of
           4    formulating the disclaimer plan as an alternative to
           5    litigation--
           6              THE COURT:    Okay.
           7              THE WITNESS:     Yes.

           8              THE COURT:     But what I'm not grasping is why didn't
            9   you just talk about the real issue which was the change in
          10    the estate plan and the reasons for that and go right to the
          11    heart of it and just try to fix it there?      Why all this other
          12    machinations and running around?
          13              THE WITNESS:     So I just thought this was a mistake.
          14              THE COURT:     Right.    So you've testified to that.
          15              THE WITNESS:     Right.

          16              THE COURT:     So that's why I'm really wondering why
          17    instead of just going back to the probate court and putting
          18    forth an agreement to put it the way it was supposed to be in
           19   your mind, why didn't you just do that?
          20              THE WITNESS:     So I actually asked--can--can I talk
           21   about conversations with probate counsel?
           22             MR. POSKUS:     Well, we've already--I'm sorry--we've
           23   --we've already waived with regard to Mr. Glatstein.
           24             THE WITNESS:     Yeah.    So--so let me--let me do

           25   this--I--I had-




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           1              MR. POSKUS:    Hold on, I want you to answer the
           2   Judge's question.
           3              THE WITNESS:    --I did ask probate counsel--
           4              MR. POSKUS:    Go ahead.
           5              THE WITNESS:   --Mr. Lee Hoffman in New York, what
           6   we could do.    And then I--you know, maybe I should answer
           7   about, you know, then what the information I got was.
           8              MR. POSKUS:    Go ahead and tell Judge what
           9   information
          10              THE WITNESS:    Right.
          11              MR. POSKUS:    --you got from Mr. Hoffman.
          12              THE WITNESS:    So he said there's nothing you can do
          13   about this in probate court; that the New York probate court
          14   had no jurisdiction because the assets were outside, outside
          15   the estate, they were in Vanguard.    And if the--if they went
          16   out of Vanguard directly to Joanne they'd never come into the
          17   estate.
          18              So he said look there's really nothing you can do
          19   in the estate process, you have to go directly after the
          20   designation.    I don't think we figured out whether we would
          21   challenge that in New York or in Pennsylvania because
          22   Vanguard is in Pennsylvania, but it would be a separate
          23   proceeding.    In New York it would be outside the Surrogate's
          24   Court, they have a special probate Surrogate's Court similar
          25   to your court and he said this is just outside the




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           1    Surrogate's Court.
           2                THE COURT:    And they don't take stipulations in New

            3   York?
            4               THE WITNESS:    You know, you're now asking me a

            5   question that I just don't know.        He just said this isn't the

            6   way to do it.
            7               THE COURT:    Okay.    All right.

            8               THE WITNESS:    So I--I did ask the question--that's
            9   why--I had the same response as, okay, let's go to the
           10   probate court and he said you can't do that.
           11           Q   (by Mr. Poskus)       So did he offer any other remedies
           12   to you other than doing what you did?
           13           A   Really not.    He said this is not probate court
           14   jurisdiction.    The assets are not in the probate estate--that
           15   was the term that he used--and you can go challenge the POD
           16   directly either in New York or in Pennsylvania but that's
           17   what you need to do.
           18           Q   Well--
           19               THE COURT:     And they wouldn't take an agreement
           20   about the POD challenge is what he told you?
           21               THE WITNESS:    So I didn't ask about an agreement
           22   because Joanne was--it was in Colorado, right, so, sure it
           23   would be great if we could get everybody to agree including
           24   Joanne but I don't know that I was thinking about that at the
           25   time.




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           1               THE COURT:   All right.
           2        Q      (by Mr. Poskus)   Who--who first came up with the
           3   idea of the disclaimer?
           4        A      You know I don't know, it might have been me, it
           5   might have been Cherie Wrigley, it might have been the two of
           6   us together; we were talking about what to do.     So I really
           7   view the disclaimer and coming to Colorado and seeking the
           8   conservatorship as a joint plan that Cherie and I came up
           9   together.
          10        Q      I mean did you know about the possibility of
          11   disclaimers prior to this whole situation arising based on
          12   your own legal knowledge?
          13        A      No, I didn't.
          14        Q      So that's what I'm saying is who planted that idea,
          15   do you remember?
          16        A      I don't know, I could speculate that it would have
          17   been--
          18        Q      Speculation is not--
          19        A      --Mr. Hoffman.
          20        Q      --a good idea.
          21        A      Yeah, but I don't know.
          22        Q      Okay.   If you don't know you don't know.   But--all
          23   right.   So you--Joanne--you--it's your testimony Joanne was
          24   in agreement with the idea--
          25        A      No, Cherie was in agreement.




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           1        Q     I'm sorry Cherie.   I keep doing that, I apologize.
           2    That Cherie was in agreement and so you talked to Mr. Dam
           3    about the disclaimer?
           4         A    Yes, I did.
           5         Q    And tell us about that conversation with Mr. Dam.
           6         A    So I called Mr. Dam--this would have been, you
           7    know, in mid-July period--and said, look, we've got a problem
           8    with the POD designations and, you know, I've talked to
            9   Cherie and I've talked to--to Kate, my wife, and I've talked
          10    to my kids and, you know, maybe I said I talked to probate
          11    counsel, I don't recall, and we're trying to figure out what
          12    to do.   And here's an idea, and the idea was that we would go
          13    to Colorado and try to get guardianship powers as I thought
           14   about it--okay, Colorado uses the name conservatorship--we
          15    would try to get guardianship over Joanne and we would use
           16   that first to get worker's comp benefits for Joanne and then
           17   also to disclaim the POD back into the estate so it would go
          18    out two-thirds to Joanne's Supplemental Needs Trust and
          19    one-third to the--to the Issue Trust for my kids.
           20        Q     But let's focus specifically on your conversation
           21   with Mr. Dam, this one that occurred in the latter part of
           22   July 2012.   Did you--what you just said did you discuss all
           23   of that with him?
           24        A     Yes, that was part of the conversation.   This was

           25   my explaining to him the background from a bunch of other




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           1   conversations with Cherie Wrigley, with--with my wife, with
           2   my children, with probate counsel, and this was a proposal
           3   out of that and I was bringing Anthony Dain into the loop and
           4   saying here's what we think we should do.
           5        Q     And so what was Mr. Dam's response when you
           6   proposed all this to him?
           7        A     So his response was--you know, he agreed with
           8   everybody else's view that it made no sense to send $3
           9   million directly to Joanne.    And he supported the idea of
          10   going to Colorado and seeking a disclaimer.     He thought that
          11   was a better solution than litigation against the disclaimer.
          12   And then we talked about how to proceed in Colorado.
          13        Q     So let me ask you this, when you came to this court
          14   with regard to getting the disclaimer--and by the way let me
          15   ask something else about the conversation with Mr. Dam
          16   specifically, was the two-thirds/one-third division that
          17   existed in your mother's will specifically discussed with Mr.
          18   Dain at that time?
          19        A     Yes, it was.
          20        Q     And did he say no that's wrong that one-third
          21   shouldn't go to you and your issue?
          22        A     No, quite the contrary, he thought that was the
          23   right answer and that's what should happen, that's what my
          24   mother always wanted to happen; that's what her estate--her
          25   will provided, this is what everybody had expected, you know,




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            1   back since she wrote her will in 1997.    No, he was in full
            2   agreement that this is the right thing to do.    And he also
            3   agreed that this was a good solution for Joanne.
            4        Q    And so at the time you obtained the order, the
            5   March 5th, 2013 order of this Court, in your mind did you
            6   think you had agreement from Mr. Dam?
            7        A    Absolutely.
            8        Q    Did you--in your mind did you think you had
            9   agreement from Ms. Wrigley?
           10        A    Absolutely.
           11        Q    And so--and we had Mr. Glatatein's testimony from
           12   previously when he said he spoke to Ms. DiPonio and ran it
           13   past her did you think you had her agreement?
           14        A    I believe that we had the agreement of Ms. DiPonio
           15   and I believe that we had the agreement of Ms. Young.     And I
           16   believe that--look I thought we had full understanding from
           17   everybody of what we were planning to do arid what the
           18   consequences were.
           19        Q    Now, in your conversation with Mr. Dain that day
           20   was there a discussion about him becoming the guardian for
           21   Joanne?
           22        A    Yes.   I asked him--I asked Mr. Dain if he would be
           23   Joanne's guardian in Colorado because I thought he was the
           24   logical person to be the guardian.    If you remember at the
           25   time I thought he was the trustee of the Supplemental Needs




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           1   Trust.      I later learned that I was a co-trustee, a successor
           2   to my mother, so I thought he's the trustee, he's going to be
           3   handling the money, he is the logical person to be the
           4   guardian and so I tried to persuade him that he should be the
           5   guardian rather than me; that he should be the one filing the
           6   petition in--in Colorado to become Joanne's guardian.
           7           Q     What was his response?
           8           A    You know, he was--I want to call it hesitant,
           9   reluctant, wasn't sure he wanted to do the work, and I was an
          10   optimist, I thought I'd be able to persuade him.     He agreed
          11   that he would consider it and get back to me.
          12        Q       Did he get back to you?
          13           A    Be did not.
          14        Q       When you had the discussion with Mr. Dain was your
          15   mother's will specifically discussed with him?
          16        A       Yes.
          17        Q       And did he agree with your interpretation of the
          18   will?
          19        A       I don't think anybody had any doubt about the
          20   interpretation of the will.     It was--
          21        Q       Well, specifically him.
          22        A       No, Mr. Dain understands how my mother's will
          23   works, there's no question about that.
          24        Q       And when you say understands how your mother's will
          25   works you're referring to the two-thirds/one-third




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           1    distribution?
           2         A     Yes, to the two-thirds/one-third distribution.
            3        Q     Now, who are the trustees of this Issue Trust for
            4   your children?
            5        A     The trustees are me and Anthony Dam.
            6        Q     And how do you know that?
            7        A     I know it; I'm sure it says so in the trust if I
            8   went back to look at it.
            9        Q     Did he   sign   the trust?
           10        A     Yes.
           11        Q     So you said Mr. Dain never called you back and said
           12   I'll be the guardian or--indeed--did he ever say I won't be
           13   the guardian?
           14        A     No, he didn't call me back at all and so I would
           15   have called him again; I waited a couple of weeks; I called
           16   him back again probably in early August arid left a voicemail
           17   arid said, you know, we need to resolve this either you need
           18   to be the guardian or I need to be the guardian can you give
           19   me an answer.     And he didn't respond to--to that voicemail.
           20        Q     Did you do anything else to try to get him to
           21   respond?
           22        A     Yes.     So in early September--by this time I had
           23   found Colorado counsel; we were ready to proceed.      We had to

           24   decide who was going to be the guardian.     And so I spoke to
           25   Cherie Wrigley about what do we do, I can't get Tony to give




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           1   me an answer.    And I might have called him a third time, I
           2   don't recall specifically but I know that I asked Cherie to
           3   call Tony because Cherie is his sister and maybe he'll answer
           4   her phone calls.   And Cherie proceeded to call Tony and
           5   eventually gave me Tony's response.
           6        Q     Did you get a response?
           7        A     So Cherie told me that Tony did not want to be the
           8   guardian, he was willing to be trustee but he didn't want to
           9   be guardian.
          10        Q     Now, since our last hearing did you supply Mr. Dam
          11   with the information necessary for him to be a
          12   co-accountholder on the trust?
          13        A     Yes, I did.
          14        Q     And has he become a co-trustee?
          15        A     No, he was already a co-trustee.
          16        Q     Forgive me has he gotten on--has he gotten signed
          17   on as a signor on the accounts as co-accountholder?
          18        A     To my best knowledge confirmed as of yesterday he
          19   has not.
          20        Q     You mean day before?
          21        A     Yesterday.
          22        Q     All right.    Have you ever served as an executor or
          23   personal representative before you were appointed in the New
          24   York court for your mother?
          25        A     No.




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           1        Q     Have you ever served as a trustee before in--before
           2    you began serving as a trustee for the trust--Issue Trust,
           3    the SNT, and the 2013 Joanne Black Trust?
           4         A    No.
           5         Q    You ever served as a guardian or conservator
            6   before?
           7         A    No.
           8         Q    Now, let me ask you this, you--you mentioned it
            9   briefly earlier in your testimony that one of the reasons why
          10    you felt it important to get--get somebody appointed
          11    conservator for Joanne was this worker's compensation issue,
          12    am I right?
          13         A    Yes.
           14        Q    Tell us what--what was the worker's compensation
          15    issue?
          16         A    So the worker's compensation issue--let me go back
          17    a little bit, my father died at work in 1986.    We were able

           18   to get survivor--survivor--surviving spouse benefits for my
           19   mother for his death at work.   And so she was receiving
           20   worker's compensation benefits basically for her lifetime.
           21             And then there was a possibility that if we could
           22   show that Joanne was disabled at the time of his death in
           23   1986, was disabled at the time of my mother's death in 2012
           24   and was continuously disabled between 1986 and 2012 that
           25   under the Colorado Worker's Comp Rules she would then get




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           1   benefits after my mother's death as a surviving disabled
           2   child.
           3              So my mother and I had done really 25 years of
           4   follow-up to try to make sure we had all the facts lined up
           5   so that we could show that Joanne was disabled in 1986, was
           6   continuously disabled ever since.    It was a 25 year stack of
           7   medical records that my mother and I provided--mostly my
           8   mother--to worker's comp counsel in Wofsey Rosen, so that we
           9   would be ready to try to transfer benefits from my mother to
          10   my sister when my mother died.
          11        Q     Why did need to be conservator after your mother
          12   died to try to make that happen?
          13        A     So after my mother died I got in touch with
          14   worker's comp counsel, this was--the lawyer was Judith
          15   Rosenberg at the law firm of Wofsey Rosen, W-O-F-S-E-Y,
          16   Rosen, R-O-S-E-N, and they were in Stamford, Connecticut,
          17   because my father was working in Connecticut.     And said,
          18   okay, my mother died, what do we do to try to transfer
          19   benefits to--to my sister.    And so we were starting down the
          20   process of talking to the worker's comp insurance company and
          21   providing them with the information that we had about her
          22   disability and she was on SSDI, Social Security agreed that
          23   she was disabled and, you know, here's the list of her, you
          24   know, many hospitalizations and here's her doctors' letters
          25   and all that stuff.




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           1              And at some point Judy Rosenberg said this is all
           2    well and good but Joanne is the client not you.    And so Ms.

           3    Rosenberg said I need to get in touch with Joanne and so I
           4    gave Ms. Rosenberg Joanne's cell phone number and, you know,
           5    Ms. Rosenberg left I guess a series of messages as I
            6   understand it.
            7             And at some point Joanne got the messages and
            8   started calling Judy Rosenberg back, you know, often in the
            9   middle of the night, repeatedly leaving message after message
           10   after message, you don't represent me, you don't want--I
           11   don't want you to represent me.   I'm a billionaire, my
           12   husband is a billionaire, he's the richest lawyer in the
           13   world; if you represent me I will sue you; I don't want
           14   worker's compensation benefits, I'm going to sue you.     And so

           15   now we had a real problem.
           16        Q    Who did she think her husband was?
           17        A    She thought her husband was Bruce Cutler, lie's
           18   actually a real person; he's a mob lawyer; he represented
           19   John Gotti who was a major mobster in New York.
           20        Q    You might want to say he's a mob lawyer to the best
           21   of your knowledge.   Anyway go ahead.
           22        A    I would describe him colloquially as a mob lawyer
           23   and it is uncontested that he represented John Gotti, Jr., in
           24   John Gotti's criminal trial for murder in New York.
           25        Q    But at least he--at least to your knowledge he's a




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           1   wealthy man?
           2        A     I have no idea whether he's a wealthy man.
           3        Q     But this is--
           4        A     But he's certainly a publicly known person.
           5        Q     --but this is who Joanne thinks she's married to?
           6        A     Yes.   Or at least at the time she thought she was
           7   married to.
           8        Q     And she doesn't think--didn't think she needed the
           9   worker's comp benefit?
          10        A     She didn't think she needed it.    Applying for
          11   worker's comp benefits was a slander on her good name and her
          12   good looks.    It was--you know, no, she wanted no part of
          13   worker's compensation.
          14        Q     So once you got appointed conservator what did you
          15   do to facilitate the worker's comp benefits?
          16        A     So let me--let me step back a little, so Judy
          17   Rosenberg who at this point was in her early 70s, so she was
          18   partly retired, went to the managing partner or partners of
          19   her firm and they said, you know, we want out of this case
          20   colloquially, right.   They didn't want any part of taking the
          21   risk that Joanne would sue them and they told Judy Rosenberg
          22   that she should just stop and drop the case.
          23              And I was able to persuade Judy Rosenberg, hang on,
          24   just do nothing for a while, I will try to become a
          25   conservator in Colorado and if I can become a conservator




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           1    then I can act on behalf of Joanne and then we can pick up
           2    the worker's comp case and hopefully get the worker's
           3    compensation benefits.
           4         Q      And were you able to get the worker's compensation
           5    benefits?
           6         A      Yes, we were able to get the worker's compensation
           7    benefits for Joanne.
           8         Q      And there--and Joanne--well let me say this, in
            9   your capacity as conservator you're receiving them now?
          10         A      I am receiving weekly checks for $1,000 and change
          11    from the Traveler's Insurance Company for Joanne and we
          12    received a retroactive payment back to the date of my
           13   mother's death.
          14         Q      How much was the retroactive payment?
          15         A      It came in some time in 2013 so it would have been
           16   $1,000 a week times about a year, so it would have been a
           17   total of about 50 or $60,000.
           18        Q      Now, you're getting checks today but the Court has
           19   suspended your authority, what are you doing with the checks
           20   that you get today?
           21        A      So I discussed what to do with Ms. Peterson and I
           22   think there was testimony about this at the last hearing that
           23   we decided the simplest thing to do was not to try to
           24   transfer conservatorship from me to Ms. Peterson and then to
           25   somebody else in, New York and instead I would continue to




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           1   sign the checks, Bernard Black, Conservator; I would continue
           2   to receive them and then every two or three weeks I will send
           3   the checks to Ms. Peterson and then she will deposit them in
           4   a conservatorship account.
           5        Q     And that's been occurring?
           6        A       Yes, it has.
           7        Q     Now, tell me what's your understanding of this
           8   $1,000 a week, how does that work?
           9        A     So, look, this is tax free, it's adjusted for
          10   inflation and unless Joanne recovers this is for life.      As
          11   long as she's disabled she's going to get these benefits for
          12   the rest of her life; this is a very, very big deal.
          13        Q     And Joanne also gets Social Security benefits,
          14   doesn't she?
          15        A     Yes, she also gets Social Security Disability
          16   Insurance.
          17        Q     And how much does she get from that?
          18        A     It's--right now it's between 1,300 and 1,400 a
          19   month.   And then she's also eligible for Medicare.
          20        Q     Let me ask you this, we--we touched on this earlier
          21   so I want to make it--make sure you're clear on it, do you
          22   feel that everyone knew what was going to happen if you
          23   exercised that disclaimer?    By everyone I mean the attorneys
          24   and Ms. Wrigley and Mr. Dam?
          25        A     I certainly believe that--look, I know that Mr.




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           1    Cain understood, I know that Ms. Wrigley understood, and I
            2   certainly believe that Ms. Young and Ms. DiPonio understood
            3   or should have understood at the time.
            4        Q    What factors in your mind pointed to the fact that
            5   everybody understood?
            6        A    So let's just walk through what I think all the
            7   pieces were.
            8        Q    Okay.
            9        A    So one piece that they would have had access to
           10   would have been the court visitor's report, so you appointed
           11   Linda Babcock as court visitor, and so she filed a report
           12   with the court.
           13             And so I spoke to Ms. Babcock and told her this is
           14   what we're trying to do, we're trying to get worker's comp
           15   for Joanne and I planned to disclaim Joanne's POD benefits
           16   arid they're going to go into the estate and then two-thirds
           17   are going to go Joanne in trust and one-third are going to go
           18   to a trust for my kids or me and my kids, I forget exactly
           19   what language I used.
           20             So I was very explicit with Ms. Babcock about
           21   here's what we want to do, the POD assets will go back into
           22   the estate and they'll go out two-thirds to Joanne's SNT and
           23   one-third to the Issue Trust for my children.
           24        Q    And did that make it into Ms. Babcock's report?
           25        A    Yes, it did.




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                    Q     What else--what else that you can think of makes
           2   you think that everybody knew or at least at the time you
           3   exercised the disclaimer?
           4        A     So a second piece was that I arranged for Joanne's
           5   long-time psychiatrist, Aneil Shirke, A-N-E-I-L S-I-I-I-R-}K-E,
           6   to write a letter in support of the conservatorship basically
           7   saying Joanne was a paranoid schizophrenic, she had been a
           8   paranoid schizophrenic for her entire adult life; the
           9   prognosis was not good, she couldn't handle money, but I also
          10   told Mr. Shirke what our plans were for the disclaimer
          11   because I wanted him to understand what he was writing in
          12   support of, so I told him that the plan was for--I would
          13   disclaim on behalf of Joanne and then Joanne's POD assets
          14   would go into the estate and two-thirds would go to a
          15   Supplemental Needs Trust for Joanne and one-third would go
          16   to--to a second trust for--again it was my children or me and
          17   my children I forget which exact language I used.
          18        Q     And so did that make it into the letter that you
          19   filed with the court?
          20        A     Yes, that was in Dr. Shirke's letter that he filed
          21   with the court.
          22        Q     And--all right.   So what else other than the--what
          23   Dr. Shirke said makes you think that everyone knew?
          24        A     So maybe the third piece was that I told Mr.
          25   Glatstein here's what I'm hoping to accomplish, the two key




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            1   pieces at the time were worker's comp and the disclaimer.
            2             Later we learned--I think from Ms. Young or maybe
            3   from Ms. Wrigley that Joanne was trying to cancel her own
            4   SSDI benefits, so there was a third paragraph in the proposed
            5   order that said let me go make sure she doesn't cancel her
            6   benefits or if she did cancel them let me restart them.
            7             Those were the three pieces and I talked about
            8   those with Mr. Glatstein and said here's what we want to
            9   accomplish and can you help me do this and give me advice on
           10   --on how to do it.
           11             So Mr. Glatstein was fully informed about if
           12   there's a disclaimer the assets go back into the estate,
           13   two-thirds go out to the SNT, one-third goes to the Issue
           14   Trust and then I relied on Mr. Glatstein to explain the plan
           15   and explain the consequences of disclaimer to Ms. Young and
           16   to Ms. DiPonio.
           17        Q    What--and we had that testimony from Mr. Glatstein
           18   already--what else did you--happeri that made you think that
           19   every knew what was going to occur?
           20        A    So as part of the--the conservatorship process Mr.
           21   Glatstein prepared a proposed order of special
           22   conservatorship that I then reviewed and I added some
           23   additional language to it that I thought made the disclosure
           24   even clearer.     And so we submitted that proposed order to the
           25   court in November of 2012.




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           1              We had a hearing on the proposed order in December
           2   of 2012.   Mr. Glatstein testified that he spoke to Ms. Young
           3   and Ms. DiPonio just before the December hearing and so we
           4   should walk through the language of the proposed order.
           5              In addition to that Mr. Glatstein put on file put
           6   on file with the court so the proposed order said disclaim so
           7   that the assets pass under the estate and go through the will
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           8   and they'll go under Article         of the will, and so we filed
           9   with the court.    We filed the will and we filed the
          10   Supplemental Needs Trust and we filed the Issue Trust.      And,
          11   you know, I think Mr. Glatstein's testimony was he didn't
          12   want people to take his word for it, he wanted them to look
          13   at the actual documents.    And so he wanted to make sure that
          14   the documents were on file so that Ms. Young and Ms. DiPonio,
          15   potentially the Court, you know, had them.
          16        Q     And you heard the testimony that Ms. Young and Ms.
          17   DiPonio actually sent an e-mail to the clerk of this court
          18   with a copy to Mr. Glatstein saying we have no objection to
          19   the form of order that says pass the property--once the
          20   disclaimer is exercised it passes under the 4th     article of
          21   the will, you're aware of that testimony, am I correct?
          22        A     Yes.   So the--the full proposed special
          23   conservatorship order I think was submitted three times; it
          24   was submitted in November and then in December the Court had
          25   a hearing and then issued a much shorter general




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           1    conservatorship order and Mr. Glatstein thought that was not
           2    sufficient, might not be sufficient and so wrote back by
            3   e-mail the same afternoon saying this might not be sufficient
            4   can we get an amended order with the full language.
           5              And so there's an e-mail from Mr. Glatstein to the
            6   Court copying Ms. Young and Ms. DiPonio saying can we get
            7   this amended language and then he attaches as an exhibit the
           8    proposed order and then he's highlighted the paragraphs that
            9   he wants to have added to the general conservatorship.
           10             So that was the second time and again that went,
          11    you know, to the Court and Mr. Glatstein testified about
           12   that; that went to Ms. Young; that went to Ms. DiPonio.
           13             Then the third time that we submitted the same
                                                                      29th o f
           14   language would have been--I believe it was January
           15   2013, so the Court--I guess you replied in December--Mr.
           16   Glatstein's said should we ask for an amended order arid then
           17   there was reply from court clerk Sumi Lee saying, you know,
           18   the Court would like an amended order.
           19             Then we had to sort of finish the disclaimer stuff
          20    and make sure Vanguard was happy with--with the language of
           21   the court order and the holidays intervened and we eventually
           22   went back to the Court with the same language in the form of
           23   a proposed amended order on January 29th of 2013.
           24        Q    And let me ask you something, so the order that the
           25   Court finally entered on March 5', 2013 was different from




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           1   that January 29th      form of order?   I mean the record reflects
           2   that that March 5th        order that was actually prepared by Mr.
           3   Glatstein as well, isn't it?
           4          A      Yes.
           5          Q      Wasn't it?
           6          A      Yes, it was.
           7          Q      And--and it did not include the language that said
           8   if the disclaimer gets exercised it goes in accordance with
                     4th
           9   the         article of your mother's will; is that correct?
          10          A      Under which two-thirds goes to the Supplemental
          11   Needs Trust; that's correct.         It did not--it--it removed that
          12   language.
          13          Q      Why if you know did that language--why did Mr.
          14   Glatstein remove that language?
          15          A      So here's the history--
          16                 MR. DAIN:     Your Honor, I have to object, Mr.
          17   Glatstein testified, now he's not asking him to (inaudible),
          18   he's asking him to testify for Mr. Glatstein.
          19                 MR. POSKUS:    Mr. Glatstein was his agent and it's
          20   indeed his actions that--
          21                 THE COURT:    I'm going to allow it.   I mean I have a
          22   personal memory of this so--
          23          Q      (by Mr. Poskus)    Why did Mr. Glatstein change the
          24   language?
          25         A       So let me give you a little bit of history, during




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                the period between December 11th
                                                                 29th
           1                                       and January           went back

           2    to Mr. Coykendall at Vanguard and said here's the language
           3    that we want to propose to the--to the court, is this--does
           4    this work for you.   Vanguard had already given me the
           5    disclaimer language but they also needed to see the court
           6    language.
            7               And so he reviewed that and came back and said this
           8    is fine with me and so based on his saying it was fine with
            9   me we submitted the language to the court on January 29.
          10                I then went back to Mr. Coykendall and asked him,
          11    you know, just to be sure will you check with legal counsel
          12    too.   And so he did that and came back I think the next day
           13   and said legal counsel wants the paragraph on disclaimer to
           14   be shorter and here's the language that they want.
          15           Q    And what did they change?
           16          A    Basically they took out the words whatever the
                                                29th                     those were
           17   difference is between January          arid January 31
           18   words that they wanted taken out and there's an e-mail from
           19   me to Mr. Glatstein saying Vanguard wants this language out
           20   can you shorten the proposed order.
           21          Q    Let's take a look in the exhibit book, turn to tab
           22   81, where it has been marked as Exhibit 81.
           23          A    Okay.
           24          Q    Is this the e-mail that you were just referring to?
           25          A    Yes, it is.




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           1              MR. POSKUS:    Your Honor, if I may it's my
           2   understanding you may not have a copy of 81.
           3              THE COURT:    I do not.
           4              MR. POSKUS:    You don't.     If I may approach we'll
           5   hand a copy to counsel.
           6              THE COURT:    But I have it marked in from June 17'.
           7              MR. POSKUS:    You do?
           8              THE COURT:    I do.    So--
           9              (Pause.)
          10              MR. POSKUS:   Exhibit 81 was admitted, you're
          11   correct, Your Honor.
          12              THE COURT:    Okay.
          13              MR. POSKUS:    It was admitted during the course of
          14   Mr. Glatstein's testimony.
          15              THE COURT:    Right.   It's just not in the book but--
          16              MR. POSKUS:    Yeah, I apologize, Your Honor.
          17              THE COURT:    That's fine.
          18              MR. POSKUS:    I got confused.
          19        Q     (by Mr. Poskus)   And so this is the e-mail you sent
          20   to Mr. Glatstein?
          21        A     Yes.   And it contains as an attachment a--a markup
          22   of the amended order from January 29th
          23        Q    And with this change is this identical--I mean
          24   assuming that language on page 3 of 3 of the form order is
          25   stricken, is that identical to the order that the Court




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           1    eventually signed?
           2         A    Yes.       So if you look at--at Exhibit 81, at the
           3    appendix paragraph 9a, you'll see that some of the language
           4    is stricken out.       And that was the language that I was asked
           5    by Vanguard to--to take out to shorten the disclaimer
           6    paragraph.    And so I wrote back to Mr. Glatstein saying, you
           7    know, can--can we ask for shorter language.
           8         Q    And let me ask you this, is there anything else in
            9   your e-mail to Mr. Glatstein that you'd like to point out to
          10    the Court?
          11         A       Yes.
           12        Q       What is it?
           13        A       So if I can read the e-mail--the text of the e-mail
           14   is--so the subject line is comments from Vanguard.        And then

           15   the text of the e-mail is, "They would like the new paragraph
           16   9 shortened.        See attached.   Maybe you can take the deleted
           17   text, and put it in a cover letter to the court, if you think
           18   we need it."
           19        Q       And why did you say that to Mr. Glatstein?
           20        A       Because I wanted to make sure that no one thought
           21   we were changing anything in substance.         Substance the

           22   disclaimer was the same and I don't think--you know, as a
           23   legal matter it's still the same disclaimer so the substance
           24   has to be the same but I didn't want anyone to think we were
           25   changing anything in substance about the disclaimer plan, it




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           1   was still we're going to disclaim into the estate, it's going
           2   to pay us under the will, it's going to pay us under Article
               4th
           3         of the will, it's going to go out two-thirds to the SNT
           4   and one-third to the Issue Trust because that's what Article
               4th
           5         says.
           6                 So basically I asked Mr. Glatstein in the interest
           7   of full disclosure, if you think we should, you should add as
           8   a cover letter to the Court here's why--why we took this
           9   language out.
          10          Q      Do you think that doing the disclaimer was in
          11   Joanne's best interest?
          12          A      Absolutely.
          13          Q      Why?
          14          A      So the disclaimer plan, if I can call it that, had
          15   --had a number of pieces.       First, you know, we avoided
          16   litigation against the POD designation that I think would
          17   have been successful.       It might have been quickly successful,
          18   it might have been slowly successful, I don't know, but given
          19   that the disclaimer--the POD made no sense to anybody I
          20   thought the odds that the litigation would succeed were--were
          21   very high.
          22                 And frankly I didn't--I thought there was real
          23   doubt about whether Joanne would be able to defend that
          24   litigation; she would probably end up losing by default or,
          25   you know--at the time in 2012 you'll recall she had an issue




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           1    with trespass and she filed a 33 page rambling letter with
           2    the trespass court--or the court hearing trespass, she'd
            3   filed something like that with--with New York or Pennsylvania
            4   and just persuade the court that no one would ever want to
            5   give her $3 million.
            6             And in the meantime as long as litigation took
            7   everything would be frozen and there would be no way to get
            8   money to Joanne, there would be no way to rescue Joanne, she
            9   would continue to be effectively homeless and on the streets.
           10              I was worried that maybe the estate assets would be
           11   frozen as well because what I was doing during this period
           12   was using the estate assets to send money to Joanne every
           13   week.   So she got SSDI and then I was also sending her $500 a
           14   week, first it was 280 and then I raised it to 500.     The 280

           15   was my mother's amount.
           16              Joanne had a debit card at Chase and so every week
           17   I would move $500 into the debit account at Chase and then
           18   Joanne would take that money out and spend it and this was
           19   what she used, you know, to pay rent at the motels that she
           20   shuttled between and to pay for food and to pay whatever
           21   else.
           22              And so I was worried she would even lose that and
           23   then she would be really homeless.    At least right now she

           24   had a motel to stay in.   And look, her health could not be
           25   good, all right.   She was walking around, you know, dressed




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           1   in ten layers of clothes, you know, in the middle of a Denver
           2   summer we were told.    She was doing the same thing in all
           3   likelihood when it got colder and so I wanted a way to, you
           4   know, to--to intervene and do something to help Joanne.       I
           5   don't think we could do that until the POD issue was resolved
           6   one way or another.
           7              And so litigation would be slow and it would be
           8   expensive and it would probably come to the same outcome as
           9   the disclaimer.    So one thing I thought we were doing was
          10   getting to a good outcome faster.    And overall for Joanne I
          11   was also getting her the worker's comp, right, which, you
          12   know, sort of that was on hold until I could do the
          13   conservatorship.
          14              So for me this was all wrapped up in a--in a
          15   package of look if we do the conservatorship Joanne is going
          16   to have two million in SNT actually with more--more assets
          17   coming in it's going to be closer to three million, she's
          18   going to have worker's comp, she's going to have SSDI, she is
          19   going to be in great shape, this is a great outcome for
          20   Joanne and we'll be able to, you know, hopefully intervene to
          21   do something to help her.
          22              You know, I couldn't force her to be hospitalized,
          23   I knew that, but we wanted to do what we could, we meaning I
          24   think me and Cherie principally were anxious to do what we
          25   could to try to help Joanne and litigation was not the way to




                                                                          BLACK000650
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           1    do that.
           2        Q      Are you surprised to be litigating this disclaimer
           3    issue two and a half years later?
            4        A     I am very surprised.
            5        Q     Why?
            6        A     Because we, meaning me and Cherie and Anthony and--
            7   were all in agreement that this was the right thing to do for
            S   Joanne.    We knew what it was, the proposal was, we knew the
            9   money was going to go back into the estate, we knew it was
           10   going to go out two-thirds to the SNT, we knew it was going
           11   to go out one-third to the Issue Trust.        I was trying to

           12   avoid litigation over the POD, I wasn't trying to get into a
           13   big court fight in--in Colorado years later.
           14               MR. POSKUS:    I've got no further questions at this
           15   time for Mr. Black, Your Honor.
           16               THE COURT:    Okay.   Do you want to go right into
           17   cross or do you want to take a five minute break, what do you
           18   want to do?
           19               MR. POSKUS:    Why don't we take a break, Your Honor.
           20               THE COURT:    Is that all right?
           21               MR. DAIN:     That's fine.
           22               THE COURT:     All right.
           23               (Whereupon, a recess was taken.)
           24               THE COURT:     All right.
           25               MR. DAIN:     I'm ready if Mr. Black is.




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           1              THE COURT:   Thank you.
           2                           CROSS-EXAMINATION
            3   BY MR. DAIN:
           4         Q    Mr. Black, you mentioned that there was going to be
           5    litigation over the POD designation.
           6         A    I expected that if we didn't pursue the disclaimer
           7    there would be litigation over the POD, yes.
           8         Q    Okay.   So I want to talk a moment about conflicts
           9    arid--and you certainly understand being a lawyer what legal
          10    conflict is, right?
          11         A    I'm not sure what you have in mind, we talked about
          12    this yesterday, I don't want to walk into--I don't know what
          13    the definition of a quote legal conflict is.
          14         Q    Okay.   Let me--
          15         A    I agreed last time that I had a conflict of
          16    interest in proposing the disclaimer in Colorado.
          17         Q    You agreed to that?
          18         A    I agreed to that.
          19         Q    So the litigation that you're talking about--you
          20    first mentioned your wife would sue on behalf of you and your
          21    wife's two children, right?
          22         A    What I expected to happen was there would be a
          23    general lawsuit on behalf of all of my children with my wife
          24    representing the two minor children.   Maybe it wouldn't have
          25    been precisely all of them but it would have been all or




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           1    most.
           2        Q       And you would have been giving them guidance in
           3    that, right?
           4            A   We never got that far.
           5            Q   I'm asking, you would have been giving them
            6   guidance if you had gotten that far?
            7           A   You know, I don't know what I would have done; I
            8   was trying to avoid litigation.      I was an executor of the
            9   estate and so I think the first thing I would have done was
          10    to say, okay, I'm a fiduciary to the estate, I'm also a
          11    parent of my children, what do I do here.      So I don't--

          12            Q   You step out--you step out, right?
           13           A   I don't know what I would have done.    I would have

          14    sought advice on--on what would have been appropriate to do
           15   and what--what the alternatives were.
           16           Q   Well, you clearly couldn't represent your wife and
           17   children and also be the conservator of Joanne Black, right?
           18           A   I would agree that those would be inconsistent
           19   roles, yes.
           20           Q   Okay.   So rather than getting advice on that or
           21   rather than stepping out from your position as conservator
           22   you decided you would avoid litigation by putting together a
           23   scheme in which you and your children would get one-third of
           24   the POD designated assets, right?
           25           A   No.




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           1         Q    Oh, actually more.    You--you also got one-third of
           2   the POD assets plus the Roth IRA.
           3         A    Totally wrong.
           4         Q    Okay.   Totally wrong.
           5         A    Totally wrong.
           6         Q    I'll--I'll give you the forum, tell me why I'm
           7   totally wrong?
           8         A    What I asked for was the power to disclaim Vanguard
           9   and Fidelity--
          10         Q    Uh-huh.
          11         A    --where the assets would then pass under my
          12   mother's will, Article 4th,     under her will.   Two-thirds of
          13   everything would go to Joanne's SNT and one-third of
          14   everything would go to the Issue Trust.
          15              The Roth IRA was part of everything.      Joanne had to
          16   get two-thirds of everything.     If she didn't get two-thirds
          17   of the Roth IRA and I later decided that it was tax efficient
          18   to send the Roth IRA directly to my children, she had to get
          19   compensating assets because she still had to get two-thirds
          20   of everything.
          21         Q    Okay.   Let's--let's break that down before we move
          22   on.   The Roth IRA you gave 100 percent to your children,
          23   correct?
          24         A    Yes.
          25         Q    The tax information that you say you got who did




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            1   you get that from again?
            2        A    So I was trying to explore what the tax--
            3        Q    No, no, my question was who did you get that from?
            4             MR. POSKUS:     Your Honor, I'm going to object, he
            5   needs to let--give him a chance to answer the question, he
            6   got three words out.
            7             MR. DAIN:     Allow me to--to just point out
            8   something, when the answer starts with so that's going to be
            9   a narrative.   I asked him the question who--
           10             MR. POSKUS:     That's--
           11             MR. DAIN:    --and that's a name.
           12             MR. POSKUS:     I disagree with that.
           13             THE WITNESS:     Not a single name.
           14        Q    (by Mr. Dam)      Okay.
           15        A    From a collection of sources.
           16        Q    And you--you testified before I think that this was
           17   informal advice you'd gotten?
           18        A    I don't recall.
           19        Q    Give us the names, who gave you this tax advice?
           20        A    So again I'm not going to give you names; I can
           21   describe the process and answer the question that you cut me
           22   off the last time.
           23        Q    You don't have any names of people who gave you the
           24   advice?
           25        A    I don't--in--in my mind at this point I do not have




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           1   names of specific people.
           2        Q     And you know the Roth IRA was--the way a Roth works
           3   is you pay the taxes before you put it into the IRA, right?
           4        A     The Roth IRA contribution is not tax deductible so
           5   the income that forms the basis for the money that you put
           6   into the Roth IRA is taxed.    And then the money that you take
           7   out is not taxed.
           8        Q     Okay.   I think--so you agree with me, right, it was
           9   already--taxes were already paid on that $432,000?
          10              MR. POSKUS:   Your Honor, I'm going to object at
          11   this point.   You started the hearing by saying we're going to
          12   take evidence on the disclaimer, but the stuff he's asking
          13   about first of all is beyond the scope of direct.     And second
          14   of all he's asking about how he administered the estate after
          15   the disclaimer was exercised; that's part two of this.      It
          16   has nothing to do with the issue and--which is whether or riot
          17   the disclaimer was appropriate, whether or not he breached
          18   his fiduciary duties, whether or not a surcharge ought to be
          19   imposed for his exercise of the disclaimer.
          20              It's beyond the scope of direct and it's not
          21   relevant to the issue as you framed it this morning.
          22              MR. DAIN:   Your Honor, first Roth IRA came up in
          23   testimony today.    The 432,000 is clearly part of the issue of
          24   surcharge if not civil theft which is before this Court.
          25              Mr. Black angrily said. I had it wrong and he




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           1    explained just now what his--my words scheme was--and that
           2    included the Roth IRA; that came out of his mouth.
           3              THE COURT:   Right.   I'll allow it.   The objection

           4    is overruled.
           5         Q    (by Mr. Dam)     Do you remember the question?

           6         A    No.
           7         Q    Nor do I.    So let's start again, the Roth IRA had
           8    amounts--had been taxed before they were put into the Roth
           9    IRA, right?
          10         A    Whatever amounts my mother originally contributed
          11    were not tax deductible.
          12         Q    When the amounts were distributed to your children
          13    were they taxed?
          14         A    No.
          15         Q    And they wouldn't have been taxed as you now know
           16   had been distributed to Joanne?
           17        A    The tax advantage from distributing the Roth IRA to
           18   my children directly rather than distributing to trust had to
           19   do with the Roth IRA rules on distributions and how fast the
           20   money would have to be withdrawn.
           21        Q    How fast the money would have to be withdrawn--and
           22   this comes from tax advice that you can't remember who you
           23   got it from?
           24        A    No, tax advice that I can describe and you've cut
           25   me off the two times that I've offered to describe it.




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           1        Q      And the 432,000 you said was part of the overall
           2   two-thirds/one-third you were going to distribute?
           3        A      The Roth IRA went into the estate after the
           4   disclaimer and therefore it was subject to an overall
           5   two-thirds to one-third division.    And given that Joanne's
           6   SNT did not get two-thirds of the Roth IRA funds she had to
           7   get--and I believe she has gotten substitute funds.
           8        Q      And you've read your own expert, Melinda Harper's
           9   report?
          10        A      I have.
          11        Q      And she says you're how many hundreds of thousands
          12   short in making that two-thirds/one-third that you say--
          13        A      As of the date of her report she shows me as being
          14   short--I believe it's $130,000; that's a snapshot at a point
          15   in time.    I do not believe I am short today and I do not
          16   believe that I will be short when I finally close out the
          17   estate.    It's ray job to get to two-thirds/one-third before I
          18   close out the estate.
          19        Q      You going to put cash back in?
          20        A      If I have to I will put cash back in or I will
          21   arrange to transfer money from the Issue Trust to the SNT to
          22   the extent that too much went to kids and too little went to
          23   Joanne.    There are various ways to make sure that I get to
          24   two-thirds/one-third.
          25        Q     The--the issue that--that you said you talked with




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            1   Ms. Wrigley about, are you saying--telling this Court Ms.
            2   Wrigley may have been the one who first proposed a
            3   disclaimer?
            4        A    I don't recall.   The idea came out of joint
            5   conversations between me and Ms. Wrigley and I can't tell you
            6   today was it my idea, was it her idea, did it come out of the
            7   joint conversations; I view this as a joint idea.
            8        Q    You're the lawyer, right?    Ms. Wrigley is not a
            9   lawyer.
           10        A    Ms. Wrigley is not a lawyer.
           11        Q    You researched disclaimers?
           12        A    No.
           13        Q    You didn't?
           14        A    No.
           15        Q    You had no idea how they work?
           16        A    That's not a fair statement either.     I didn't go
           17   and research disclaimers; we looked at options.     Where the
           18   disclaimer idea came from in first instance sitting here
           19   today, it's three years later I don't recall.
           20        Q    You remember--did you review Mr. Glatstein's
           21   testimony in this case?
           22        A    I was here for the hearing last time.
           23        Q    And you know Mr. Glatstein said you were the first
           24   to mention to him a disclaimer?
           25        A    I came to him with the disclaimer idea, yes.




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           1        Q     And yet you're not sure how that came about?
           2        A     I don't recall exactly where the disclaimer idea
           3   came from, no.
           4        Q     And this conversation that you had with me, how
           5   long did that take place, how many minutes?
           6        A     I don't recall, you know--
           7        Q     You searched for phone records of course, right?
           8        A     No.
           9        Q     Why?
          10        A     Why would I do that?
          11        Q     To prove that the conversation took place.
          12        A     There's no doubt that a conversation took place you
          13   said as much in your questioning of me at the last hearing.
          14   We just may disagree on the content of the conversation.
          15        Q     You have any e-mails that support that
          16   conversation?
          17        A    I do not have e-mails with you. I have a letter
          18   with Vanguard dated July 20th that is consistent with my
          19   recollection of the conversation.
          20        Q     Let me show you another letter from Vanguard.
          21              MR. DAIN:   And, Your Honor, I apologize I don't
          22   know if this is an exhibit, it's July 11th,    2012, from
          23   Vanguard to Mr. Black.    And just in the interim I'll show it
          24   to you.
          25              (Pause.)




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           1                MR. POSKUS:    Your Honor, we think it's 42.
           2                THE COURT:    Okay.
            3               MR. POSKUS:    If Mr. Dain will confirm then we can
            4   just use the exhibit.
            5               MR. DAIN:     Yes, it's 42, Your Honor.
            6               THE COURT:    Thank you.
            7       Q       (by Mr. Dam)      Do you see that, Mr. Black?
            8        A      I'm at Exhibit 42.
            9        Q      Arid that' s the letter that you received from
           10   Vanguard which indicated that the Roth IRA was 100 percent
           11   designated to Joanne Black.       And that the remainder of the
           12   nonretirement assets that were POD were 95 percent to Joanne
           13   Black and 1 percent to each of your adult children?
           14        A      Yes.
           15        Q      Okay.   And you say you thought this was crazy, you
           16   didn't think your mother would do this?
           17        A      I thought this made no sense.
           18        Q      Okay.I want to show you an e-mail that you sent
           19   to Ms. Kerr on April 14th, 2015.
           20               MR. DAIN:     I don't have copies, Your Honor, but I'm
           21   showing it to counsel and I'll show--
           22               THE WITNESS:     You went through this in your
           23   cross-examination of me last time, do you really want to do
           24   it again?
           25               MR. DAIN:     Is this an Exhibit?




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           1              (No audible response.)
           2              MR. DAIN:   I'm going to show it to Mr. Black.
           3        Q     (by Mr. Dam)    Do you recall that?
           4        A     You asked me questions about this last time.
           5        Q     And in that e-mail you told Ms. Kerr that she
           6   should assume that this letter that instructs that the Roth
           7   IRA is 100 percent to Joanne Black and the remainder is 95

           8   percent to Joanne Black were the instructions of your mother?
           9        A     That's what I told Ms. Kerr to assume as part of
          10   her work; as I testified last time I do not believe that this
          11   was my mother's intent; I believe it was a mistake, maybe it
          12   was fraud, I don't know, this was an e-mail to Ms. Kerr
          13   saying this is how I believe you should conduct your
          14   investigation because I don't think the disclaimer issue is
          15   before Ms. Kerr.   Ms. Kerr is an accountant.
          16        Q     But you state that she should assume those were the
          17   instructions of your mother?
          18        A     The e-mail says what it says; I don't have it in
          19   front of me right now.
          20        Q     You didn't qualify it, you didn't say I don't
          21   believe that's correct, that's the entirety of your
          22   discussion about that issue with--
          23        A     That was one of 150 e-mails that I sent to Ms. Kerr
          24   and I wasn't trying to parse words and I wasn't trying to
          25   offer Ms. Kerr legal advice and I wasn't trying to offer Ms.




                                                                           BLACK000662
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           1   Kerr my opinion about the truth; I was trying--this was part
           2   of my effort to say to Ms. Kerr, look, the disclaimer is not
           3   your issue.
           4              MR. DAIN:    Your Honor, I'm not sure what's the
           5   defense next in order?
           6              THE COURT:    I'm sorry?
           7              MR. DAIN:    Defense--what am I doing--the--I don't
           8   know what this would--
           9              MS. DiPONlO:    D I believe it is, Your Honor.
          10              MR. DAIN:    D--what--I don't want to say the--
          11              THE COURT:    Oh, you're asking for an exhibit?
          12              MR. DAIN:    Yeah, an exhibit.
          13              THE COURT:     Yeah, D.
          14              MR. DAIN:    Okay.     And the reason--only reason I

          15   remember it's letters so I'm used to that being defense, but
          16   at any rate--
          17              MR. POSKUS:     Your Honor, if I may Exhibits A, B,
          18   and C from the last hearing were never uploaded so we don't
          19   have a good record.
          20              MS. DiPONlO:     Oh, Your Honor, I apologize I thought
          21   I uploaded them.
          22              MR. POSKUS:     We looked and they're not uploaded.
          23              MR. DAIN:     You--
          24              THE COURT:     Okay.
          25              MS. DiPONlO:     They will be uploaded this afternoon.




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           1               THE COURT:     Okay.   So Exhibit A was an e-mail chain
           2   from April 14 th , 2015, the same date as this.     I don't know
           3   if it included this particularly.
           4               MS. DiPONIO:     Your Honor, some of the exhibits that
           5   we've entered are--were already a part of the upload, I
           6   believe there were two that were not.
           7               THE COURT:    Okay.    So I had A as the e-mail chain,
           8   B was the affidavit from Lamberti, and then C was from June
               17th
           9          and it was court appointed counsel's bill statement.
          10               MS. DiPONlO:    Right.    So the affidavit from Mr.
          11   Lamberti is already put in the court record; it was prior to
          12   us (inaudible) as an exhibit.
          13               THE COURT:    Okay.
          14               MS. DiPONIO:    And the other two I will have
          15   uploaded (inaudible).
          16               THE COURT:    Okay.    So do we know if this part of--
          17               MS. DiPONlO:    Oh, that e-mail is part of the record
          18   according to Ms. Kerr.
          19               THE COURT:    So is it part of that e-mail chain?
          20               MS. DiPONlO:    I'm sure it is in one of her
          21   responses or something that Ms. Young probably filed that is
          22   already part of the record.
          23               MR. POSKUS:    Your Honor, it's easy to say it's part
          24   of the record but before we--just to make sure we have a
          25   clean record, maybe what we need to do is stop and look at




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           1    what they consider Exhibits A, B, and C are for sure.
           2              MR. DAIN:    We can do that at a recess, Your Honor.
           3              MS. DiPONlO:    Yeah, sure.
            4             THE COURT:    Yeah.
            5             MS. DiPONlO:    I know what exhibits--

            6             MR. POSKUS:    If they're going to say that this is
            7   part of A then that concerns me.      If they want to mark it D

            8   then it's not a problem.
            9             MS. DiPONlO:    We'll just mark--
          10              MR. POSKUS:    I'm just trying to--
          11              THE COURT:     Well, A was already admitted.
           12             MR. POSKUS:    I--I realize that.    I just don't know
           13   what A was anymore because they only had one copy and it
           14   wasn't uploaded.   I tried to download them before we got to
           15   this hearing today and they're not there.
           16             MS. DiPONlO:     Your Honor, just to make it simple
           17   for Mr. Poskus, we will mark that as Exhibit D, even if it's
           18   already part of the record so there's no confusion.
           19             MR. DAIN:     Should I give it back to Your Honor or--
           20             THE COURT:     No, it is.    It's the first page of A.
           21             MR. DAIN:     Okay.    So it's--it's Exhibit A?
           22             THE COURT:     Yeah.
           23        Q    (by Mr. Dam)      You mentioned something--Mr. Black,
           24   you said you don't--you didn't want to parse words, you
           25   stated you believed that everyone understood that this




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           1   disclaimer would result in you and your children receiving
           2   one-third of the POD assets that were disclaimed into the
           3   Issue Trust, right?
           4          A     I would frame it differently.   I would say that I
           5   believe that everybody understood that the effect of the
           6   disclaimer would that the assets would go back into the
           7   estate; that's number one.     And that everybody understood
           8   that under the will of Renata Black the residual of the
           9   estate would pass under Article 4th of her will. And Article
               4th
          10         said two-thirds to the Supplemental Needs Trust and
          11   one-third to the Issue Trust.
          12          Q     If you were so sure everyone understood why is it
          13   that of all the things you filed, everything that you filed
          14   in this case, the one thing that you didn't include was that
          15   one-third of those disclaimed assets would go into an Issue
          16   Trust?
          17          A     If I had to do it over again I would make even a
          18   longer paragraph one and I would say under--two-thirds go to
          19   the Supplemental Needs Trust and one-third goes to the Issue
          20   Trust.     I was relying on Mr. Glatstein's draft for what
          21   language we should provide and what language he thought was
          22   sufficient to inform everyone in the court proceeding with
          23   regard to your knowledge and Cherie Wrigley's knowledge you
          24   had direct knowledge.
          25          Q    That's your testimony?




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           1        A     That's my testimony.
           2        Q     And why is it that of all the things you filed you
           3    never disclosed in a report or an account that one-third of
           4    those disclaimed assets were placed in an Issue Trust?
           5        A     I did disclose it to Ms. Babcock and it's in her
           6    court visitor report.    I did disclose this to Dr. Shirke and
            7   it is in his letter to the Court.
           8         Q    This is probably then--I won't make it an exhibit
            9   because it's--because it's probably in the court file, the
          10    visitor's report--in the visitor's report you say you
           11   disclosed that the disclaimed assets would be going
           12   two-thirds/one-third?
           13        A    So I didn't write the visitor's report; I disclosed
           14   that information to Ms. Babcock and she wrote the report.
           15        Q    Understood but you're saying everyone understood
           16   this because it's in the visitor's report?
           17        A    No, everybody had five different sources of
           18   information and the visitor's report was one of them.
           19        Q    I'll    show you the visitor's report.
           20             MR. POSKUS:    Your Honor, for the record it's
           21   Exhibit 2 so everybody can look at that.
           22        Q    (by Mr. Dam)     Exhibit 2.
           23        A    Okay.    I'm at Exhibit 2.
           24        Q    Turn to page 2--or actually turn to page 5.
           25        A    Okay.     I'm at page 5.




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           1        Q     Do you see under paragraph 4 why was this petition
           2   initiated?
           3        A     Yes.
           4        Q     This is what you told the court visitor, right?
           5   This is what you're talking about?
           6        A     This is her rendition of what I told her, yes.
           7        Q     Okay.   But again her rendition is what informs
           8   everybody else, right?
           9        A     Yes.
          10        Q     So if this is one of the items you're relying on
          11   that disclosed this disclaimer of two-thirds to the
          12   Supplemental Needs Trust and one-third to the Issue Trust, it
          13   should be in here, right?
          14        A     What you--what you have been saying is I was
          15   somehow hiding that one-third was going to the Issue Trust
          16   and I was not hiding that one-third was going to the Issue
          17   Trust.   I said it to Linda Babcock and it's in her court
          18   visitor report; I said it to Dr. Shirke and it's in his
          19   letter and I said it to you; I said it to Cherie Wrigley, and
          20   I relied on Mr. Glatstein to speak directly to Ms. Young and
          21   Ms. DiPonio.
          22        Q     You said it in the court visitor's report you're
          23   saying or to the court visitor and to Dr. Shirke.     You didn't
          24   put one-third to the Issue Trust in anything you filed with
          25   the Court, your petition, your proposed order never said




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           1    one-third to the Issue Trust?
           2         A      One-third to the Issue Trust is not included in the
           3    proposed order and if I had to go back and do it again I
           4    would put that language in too and it is not there, we know
           5    it's not there.
           6         Q      And if you had put it in there you would have
           7    assumed that would have been an item of discussion for the
           8    Court and all the parties in a hearing, right?
            9        A      No.
          10                 MR. POSKUS:    Objection, Your Honor, speculation.
          11                 THE WITNESS:    I thought that everybody understood
          12    exactly what we proposed and that Ms. Young and Ms. DiPonio
           13   agreed with what we proposed.       And I thought that the

           14   language of the proposed order was clear as it was and I
           15   didn't think there was any doubt as to what would happen to
           16   the remaining one-third that wasn't specifically labeled, but
                                                                   4t.h
           17   was--look, it starts out saying under Article             here's the
           18   will, here are the two trusts, go look at Article 4.           We
           19   are not hiding the ball here.
           20        Q       (by Mr. Dam)     Just before I get to the court
           21   visitor's report, you know there's another will out there you
           22   didn't probate, right?
           23        A       Yes.
           24        Q       You know in that will there's no distribution under
                          4t1I
           25   Article          two-thirds/one-third, right?




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           1        A      If you want to bring in the will--the informal will
           2   as I call it, you're welcome to do so.      I'm aware of the will
           3   and I don't have it--have it in my head exactly what it
           4   provided.
           5        Q      And you know--what you do know that it provided
           6   differently than the will that you choose to probate?
           7        A      That's correct.
           8        Q      And in doing that you informed the court in New
           9   York there was no other will, right?
          10        A      I did not inform the court about the informal will,
          11   that's correct.
          12        Q      Okay.   So the will that you chose to probate is the
          13   one that gives you one-third to the Issue Trust, right?
          14        A      I probated the official will.
          15        Q      The official will--you probated one of two wills
          16   that you choose to probate.
          17        A      No.
          18        Q      It's official because you did so, right?
          19        A      I obtained advice of counsel and I probated the
          20   official will.
          21        Q      And you know Ms. Wrigley didn't agree to the will
          22   you probated, right?
          23        A      No, totally--I totally disagree with that.
          24        Q      You know I didn't agree to that.
          25        A      You knew about both wills and you agreed that I




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           1    should probate the official will.      Ms. Wrigley knew about
           2    both wills, she agreed that I should probate the official
            3   will.       There was no doubt about that either.
            4        Q        Am--am I a party to the probate proceeding?
            5           A      No.
            6           Q      Is Ms. Wrigley?
            7           A      No.
            8           Q      Let's go to the court visitor's report, page 5,
            9   item four.       You start out my sister has been a paranoid
           10   schizophrenic since she was 20 years old.       My mother in her

           11   will left two-thirds of her estate to Joanne in a trust and
           12   one-third will go to me and my kids.       Do you see that?
           13           A      So first of all I want to reiterate that this is a
           14   conversation with Linda Babcock, it's put in quotes.          I don't

           15   know whether it's a direct quote or not but if you want to
           16   read this as Ms. Babcock' s language put in quotes then I'm
           17   happy to see whether you read it correctly?
           18           Q      I'm not--I'm just reading from it, you're saying
           19   this is what informed everybody, it's one of the things that
           20   informed everybody.
           21           A      I believe that the court visitor report was one of
           22   the documents that informed everybody.       What I was objecting

           23   to was your saying that you wrote or you said.
           24           Q      Where in this article or paragraph 4 does it
           25   mention anything about a disclaimer?




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           1        A     It does not.
           2        Q     But you're saying you told that to Ms. Babcock?
           3        A     Idid.
           4        Q     And you're saying that in here that's what informed
           5   everyone about the disclaimer going two-thirds/one-third?
           6        A     No, but this has a reference in it to two-thirds
           7   goes to Joanne's SNT and one-third goes to the Issue Trust
           8   and therefore it goes to whether I was trying to hide that
           9   one-third was in the Issue Trust.    If I was trying to hide it
          10   why did I say it to Ms. Babcock.
          11        Q     Did you say anything about one-third of the
          12   disclaimed assets going into the Issue Trust to Ms. Babcock?
          13        A     To my recollection I did, but it's three years ago
          14   and I don't remember my exact words.
          15        Q     And even though you say that you told Ms. Babcock
          16   this you didn't tell the Court that in your petition, right?
          17        A     At this point we've gone over the petition, the
          18   petition said what it said, the proposed order for special
          19   conservatorship was much more explicit about what we wanted
          20   and I thought was clear enough and Mr. Glatstein thought was
          21   more than clear enough.
          22        Q    All the people that need to know that you're going
          23   --that your intent is to disclaim these assets so that
          24   one-third of those POD assets goes into an Issue Trust, of
          25   all the people you needed to disclose that to the most




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           1    important is the court, right?
            2       A     I don't know that I even thought about it that way.
            3   I was trying to disclose.    I don't know who's more important.
            4       Q     You mentioned that Ms. Babcock's visitor report was
            5   one of the things, you also said there was a hearing on
            6   December 11, 2012, that was another important disclosure,
            7   right?
            8        A    No, I don't think in my direct testimony I said
            9   anything about the hearing.
           10        Q    You didn't?
           11        A    But we certainly had a hearing on December 11.
           12        Q    And was Ms. Wrigley present at the hearing?
           13        A    No.
           14        Q    Was I?
           15        A    No.
           16        Q    Arid have you gone through the transcript?
                                                                          11th,
           17        A    I have reviewed the transcript from December
           18   yes, I have.
           19        Q    And you know that you mentioned that the intent was
           20   that Ms. Black's assets would go into an Issue Trust in which
           21   I was a trustee?
                                                                           Lh
           22        A    I don't remember the language of the December ll
           23   transcript but if you want to show it to me I'll look at it.
           24             MR. DAIN:     (Inaudible).
           25             MR. POSKUS:     It's in the exhibit book, Your Honor.




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            1               THE COURT:    what exhibit?
            2               MS. POSKUS:   I'll try to find it.   Your Honor, it's
            3   Exhibit 51.
            4               (Pause.)
           5            Q   (by Mr. Dam)     Do you have that in front of you,
            6   sir?
            7           A   Ido.
           8            Q   Can you turn to page 7?   Actually why don't we
           9    start at page 6 and go down to line 25.     And do you see this
          10    is you're--you're at the hearing speaking, do you see that?
          11           A    Yes.
          12           Q    And you say the basic purpose--and then go to page
          13    7--of the financial guardianship is to make sure she has
          14    money to get, money from my mother into a trust, do you see
          15    that?
          16           A    And then it continues semicolon, my cousin will
          17    then be the trustee so she'll have financial support.
          18           Q    Okay.   This is another point you made in terms of
          19    informing everybody, disclosing to everybody what the intent
          20    was of the disclaimer, right?
          21           A    We had a hearing and I testified to what I
          22    testified to.
          23           Q    And what you said to this Court is there was a
          24    trust, right?
          25           A    There was a trust for Joanne, yes.




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           1        Q     You didn't say anything about an Issue Trust for me
           2    and my children, did you?
           3         A    In this particular snippet of testimony I did not.
           4        Q     In any snippet of testimony on December 11th'.)
           5         A    In this hearing I did not.
           6         Q    And you said my cousin will then be the trustee so
           7    she'll have financial support, you said that, right?
           8         A    Yes.
           9         Q    You didn't say there are two trusts, we'll be
          10    receiving some, the other she'll get some financial support
          11    from, correct?
          12         A    At the hearing I did not say that.
          13         Q    So this is not a--an item in your favor to say I
          14    disclosed what was happening with the disclaimer, right?
          15              MR. POSKUS:     Objection, Your Honor, he's arguing
          16    with the witness now about what's in his statement and what--
          17    he needs to rephrase the question.
          18              MR. DAIN:     Your Honor, he testified earlier this
           19   was the basis he believes everyone was on notice.     Go ahead.
          20               THE WITNESS:     I did not testify that the hearing
           21   was the basis on which I believe everyone was on notice.
           22        Q    (by Mr. Dam)      You said it was one of the bases?
           23        A    I actually don't think I said that.
           24             THE COURT:     You said there were five things.
           25             THE WITNESS:     I wish had been more explicit at the




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           1   hearing but I said there were a bunch of things and I don't
           2   recall listing this as one of them.
           3        Q     (by Mr. Dam)     Okay.
           4        A     I wish the hearing had been more explicit.
           5        Q     Thank you.
           6              MR. DAIN:    I'm sorry you got caught off.
           7              THE COURT:    He just testified that there were five
           8   bases.
           9        Q     (by Mr. Dam)     And one of them you said was a
          10   visitor's report?
          11        A     Yes.
          12        Q     Another you said was the hearing?
          13        A     No.
          14        Q     What were you--
          15        A     I don't recall saying that.    Why don't we go back
          16   to, you know--I guess we don't have a live feed--I don't
          17   recall saying that.
          18        Q     Give me the other four.
          19        A     One was the court visitor's report, the second was
          20   Dr. Shirke's letter, the third would have been the proposed
          21   order for special conservatorship.     The fourth would have
          22   been Carl Glatstein's direct conversations with Ms. Young and
          23   Ms. DiPonio.     A fifth would have been my direct conversations
          24   with you and Ms. Wrigley.     And sixth would have been we
          25   submitted the will and the two trusts to the Court as




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           1    exhibits in advance of the hearing so now I'm up to six.
            2        Q    Okay.      In the--the hearing--so now you said you
            3   could have been more explicit in explaining this to the
            4   Court, right?
            5        A    Yes.
            6        Q    And when you say you could have been explicit you
            7   mean mention the fact that there was a trust in which you and
            8   your children would be getting one-third?
            9        A    I   wish   that    I had attended the hearing in person.
           10   Mr. Glatstein advised look there's no objection, this is
           11   going to be a short hearing, there's no reason for you to
           12   come out to Denver and I think it was a mistake.           I think I

           13   should have been here; I should have testified directly; we
           14   should have had a longer hearing.           We should have had full Q

           15   and A.
           16             Arid, you know, at the time he said I didn' t need to
           17   and the hearing was, in fact, you know very short and I wish
           18   there had been a longer hearing and I had said more, I do.
           19        Q    Well, let's if we could go to page 17.
           20             MR. POSKUS:         Of Exhibit 51?
           21             MR. DAIN:         Yes.
           22             THE WITNESS:         Okay.     I'm at page 17.
           23        Q    (by Mr. Dam)             Now, let me ask you this--and again
           24   you're a lawyer, you're coming to the court with a petition
           25   to be named conservator and within it you want a disclaimer,




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           1   are you following me so far?
           2          A   I have a petition to become a conservator, I am a
           3   lawyer, and I'm asking the Court to approve a disclaimer,
           4   yes.
           5          Q   And in addition to being explicit to the Court in
           6   what your intent is, you'd agree with me it's also important
           7   that if the Court appears to be under any misapprehension
           8   about what your intent is you should make it clear, right?
           9          A   I don't know that I have an opinion on--on that, I
          10   was there to answer questions.
          11          Q   Okay.   Well, let's go to page 17 and here you're--
          12   you're having a colloquy with the Court.     And the Court says,
          13   The Court finds that the statute requires in Colorado that a
          14   90 day initial report, the inventory and financial plan must
          15   be filed with the Court, do you see that?
          16          A   Yes, I do.
          17          Q   And certainly the progress on moving the funds into
          18   the trust can be reported on as well and that will take care
          19   of that, do you see that?
          20          A   Yes, I do.
          21          Q   Did you feel obligated while having that colloquy
          22   to say, Your Honor, it's not just the trust, there are really
          23   two trusts and let rite explain to you how they operate?
          24          A   So here's how I would interpret this language, I
          25   would say--




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           1        Q     Before you do that, I'll let you--
           2        A     Excuse me, you interrupted me.
            3             MR. POSKUS:    Your Honor--
            4             MR. DAIN:     Your Honor--

            5             THE COURT:    No, I'm going to let Mr. Dain clarify

            6   what he's trying to get out of the witness.     If you want to

            7   do redirect you're welcome to.
            8             MR. POSKUS:     Okay.   I just wish you'd let the

            9   witness finish answering the question.
           10             THE COURT:     Well--
           11             MR. DAIN:     It's a yes or no, I'm sorry, Your Honor.
           12   We'll be here all day.
           13        Q    (by Mr. Dam)      You--let--let me ask you, yes or no,
           14   did you think it was important at that time when the Court
           15   said the progress on moving the funds into the trust did you
           16   think it was important, yes or rio, to explain to the Court
           17   it's not really the trust, there is another trust in which
           18   I'm going to be getting one-third along with my children?
           19        A    That did not occur to me at the time; I thought
           20   everybody understood what the proposal was.
           21        Q    Am I correct that what also didn't occur to you a
           22   little later is given that the Court said you must in your
           23   inventory and financial plan report on the progress of moving
           24   the funds into the trust that at that time you didn't explain
           25   to the Court that there was another trust in which you




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           1   received one-third along with your children?
           2        A      So I'm sorry I'm not sure I'm following the
           3   question.
           4        Q      The Court here is telling you that within 90 days
           5   you have to file an inventory and financial plan, right?
           6        A      That's right.
           7        Q      And saying you should report on the progress of
           8   moving the funds into the trust, correct?
           9        A      That's correct, that's what the words say.
          10        Q      At the time you filed the inventory and financial
          11   plan did it occur to you to explain to the Court that there's
          12   another trust in which I and my children are getting
          13   one-third?
          14        A      I think that I was reporting the inventory and
          15   financial plan on Joanne's assets, I wasn't reporting on
          16   other assets.    So I don't know why it would occur to me to
          17   put in Joanne's inventory that there are other assets in my
          18   mother's estate at this point that aren't Joanne's assets.
          19        Q      Now, I know we've been through this before but you
          20   know that the inventory and report required you to include
          21   all assets that existed on December 11th,    2012, right?
          22        A      We went through this at great length and I
          23   understand that, you know, if that's what nunc pro tunc means
          24   I'll accept that.   I relied on Mr. Glatstein's advice for
          25   what I should report in my inventory and financial report.




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           1    And the inventory and financial report says very clearly that
           2    we're reporting the Supplemental Needs Trust as of March
           3    31st, 2013.

            4        Q    You know that Mr. Glatstein testified and did not
            5   mention anywhere that he advised you not to include assets
            6   that existed on December 11th, 2012?
            7        A    I provided full information on the assets to Mr.
            8   Glatstein.     I think my first effort to fill out the inventory
            9   and financial plan he said this is just a mess or words to
          10    that effect, let me do it or let me have my paralegal do it
          11    and then we went back and forth starting with his draft of
           12   the inventory and financial plan.      And I provided additional

           13   financial information to Mr. Glatstein to help fill out the
           14   form in the manner that he thought it should be filled out.
           15        Q        All done?
           16        A        Yes.
           17        Q        You said you provided full information on the
           18   assets, the assets you provided full information on to Mr.
           19   Glatstein were only the two-thirds that were going into the
           20   Supplemental Needs Trust, right?
           21        A        Incorrect.   I provided information to Mr. Glatstein
           22   on all of the assets coming from Vanguard.
           23        Q        So then you knew--you knew that you had to provide
           24   information on all of the paid on death assets, correct?
           25        A        No, I was providing this information to Mr.




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           1   Glatstein and if he thought it should go in the inventory and
           2   financial report it would have gone in.
           3           Q      Did you--
           4           A      I provided it to him and he decided that it doesn't
           5   go in so he didn't put it in.
           6           Q      But you know he never said that in his testimony
           7   that he decided it shouldn't go in?       You've heard--you've
           8   written--heard and--
           9        A         I don't remember exactly what questions were asked
          10   but I'm going to tell you I provided full information to Mr.
          11   Glatstein; I have an e-mail in my files that says here's all
          12   the assets and then he used that information to complete the
          13   inventory and financial plan.
          14        Q         And the assets included all of the assets, all of
          15   the POD assets even those that were the one-third that
          16   ultimately went to your issue trust?
          17        A         Yes, it did.
          18        Q        Okay.   So you knew that you had to give him that
          19   information, right?
          20        A        I thought that was relevant information for him to
          21   have.       Did I know that I had to, no, I was giving him
          22   information; I don't know what the specific rules are for
          23   filling out the inventory and financial report other than he
          24   was convinced I had made a hash of it.
          25        Q        I know this is an exhibit too, the inventory and




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           1    financial report, you've read it, right?
           2         A    Yeah.
           3         Q    Did you sign anything related to that inventory and
           4    financial report?
           5         A    I'm confident that I signed it.
            6             MR. POSKUS:   Exhibit 27, Your Honor.
            7             THE COURT:    Yeah.
            8             (Pause.)
            9        Q    (by Mr. Dam)    Okay.   You signed it under penalty
          10    of perjury, right?
           11        A    If that's what it says I signed it and you got a
           12   copy of it.
           13        Q    Well, it's not what it says, I'm asking you, you've
           14   got it there, did you sign it under penalty of perjury?
           15        A    I don't see the word perjury but if you want to
           16   read the verification page on page 8 you can.
           17        Q    I understand that penalties for perjury follow
           18   deliberate falsification of the facts stated herein.
           19        A    I see, okay, yes, I signed it; I submitted it to
           20   the Court and I sent copies to you and Ms. Wrigley among
           21   other people.
           22        Q    You've read it you just said that right?
           23        A    Yes.
           24        Q    You see that at the very beginning it says date of
           25   appointment December 11th, 2012, right?




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           1        A     Ido.
           2        Q     Inventory values as of date December 11--that
           3   should be 2012 but you typed in 22, do you agree with me that
           4   that's what that says?
           5        A     I agree that Mr. Glatstein made a typo and it says
           6   2022 instead of 2012.
           7        Q     Yeah, I guess thank you but you're missing my
           8   point; that the inventory values are as of the date of
           9   December 11th, 2012?
          10        A     I agree that that's what this says and Mr.
          11   Glatstein made the judgment that we should report the assets
          12   in the Supplemental Needs Trust as of March 31st     2013 and
          13   that's what the body of this report does.
          14        Q     So you're saying it was solely his decision to not
          15   include in his inventory report what the Judge has asked for
          16   on December 11th, 2012?
          17        A     I relied on Mr. Glatstein with regard to what
          18   assets should be disclosed.     I now have advice from counsel
          19   that the Supplemental Needs Trust isn't really part of the
          20   conservatorship assets either.
          21        Q     Oh, this comes from Mr. Poskus?
          22        A     No comment.
          23              MR. DAIN:     Your Honor, I--he's got to cause he just
          24   waived the attorney/client privilege.      He can't use this as a
          25   sword and then--and then throw up the shield.      I ask you to




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           1    order Mr. Black to answer that question.
            2             THE COURT:    Go ahead, Mr. Black.
            3       Q     (by Mr. Dam)     Who?
            4        A    Mr. Poskus advised me that the--really the
            5   Supplemental Needs Trust should not have been listed in this
            6   inventory to begin with because it wasn't part of the
            7   conservatorship of the estate it was part of Joanne's assets
            8   but it wasn't part of the conservatorship.
            9        Q    So Mr. Poskus told you there just shouldn't have
          10    been an inventory and account because there's really nothing
          11    to account for; is that correct?
          12         A    No, that's not what he said.
           13        Q    What did he say should be included?
          14         A    Whatever belongs to the conservatorship.
          15         Q    You came to this Court and you said there are paid
           16   on death assets, 100 percent of some to Ms. Black, 95 percent
          17    of others to Ms. Black, I want to disclaim those.    So you
          18    asked this Court, the conservatorship court, to allow you to
           19   disclaim, are you saying Mr. Poskus now is saying that never
          20    should have happened because these assets weren't even part
          21    of the estate?
          22              MR. POSKUS:    Your Honor, regardless of how I
          23    advised my client, how is this relevant advice I gave him two
          24    and a half years after the fact has anything to do with what
          25    occurred in (inaudible).




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           1               MR. DAIN:    Your Honor, Mr. Black's credibility is
           2   at issue here.    If he's going to be blaming everything on his
           3   attorneys I'm allowed to probe into that.
           4               THE COURT:   Well, for that part of it I think it's
           5   a valid question.    It's to, you know, the advice itself it
           6   really isn't probative, I agree.
           7        Q      (by Mr. Dam)    So again, are you telling this Court
           S   that even though you came to this Court to allow you to re--
           9   to divert and--or divest and redirect a third of the assets
          10   that were paid on death to Ms. Black that those assets never
          11   should have been part of the estate?
          12        A      No.
          13        Q      Mr. Poskus just told you that only the--the assets
          14   you put into the Supplemental Needs Trust didn't need to be
          15   reported?
          16        A      No.
          17        Q      What did Mr. Poskus tell you?
          18        A      Mr. Poskus advised me that in his judgment the
          19   Supplemental Needs Trust is not part of the "conservatorship"
          20   that has not--that is not the same thing as what gets
          21   reported in particular document.     I did not have that
          22   discussion with Mr. Poskus.     This document was prepared by
          23   Mr. Glatstein with information from me.
          24        Q      So you're saying that the Supplemental Needs Trust
          25   that has two-thirds of those disclaimed assets is not a part




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           1    of this conservatorship proceeding, that's your
            2   understanding?
            3        A    I have no opinion one way or the other.    It's

            4   reported in this inventory and financial plan because Mr.
            5   Glatstein thought it should be reported.
            6        Q    And the inventory and financial plan--again, did
            7   you think if Mr. Glatstein told you that you should only
            8   report the assets as of March        did you question that
            9   based on what you saw on the document itself?
           10        A    I don't recall doing so, I thought it made sense to
           11   me because that was after the disclaimer so that was after
           12   assets had already been segregated and identified as going
           13   into the Supplemental Needs Trust.
           14        Q    On December ll, 2012, you didn't have--you hadn't
           15   disclaimed the assets, right?
           16        A    That's correct.
                                                                     11th
           17        Q    Okay.   And so the values as of December          2012
           18   are everything because you hadn't disclaimed anything yet,
           19   you knew that, right?
           20        A    I don't know that I focused on it, but I would
           21   agree that as of December 11th, 2012 the POD assets were
           22   three million and there were--and out of that two million
           23   was--under the disclaimer would go into the Supplemental
           24   Needs Trust.
           25        Q    Okay.   And so we have the letter from Dr. Shirke,




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           1   the proposed order--and by the way you also know that--you or
           2   Mr. Glatstein put in the order that issued that you could
           3   serve without bond because respondent's assets will be placed
           4   into a Supplemental Needs Trust, you didn't--
           5         A    Where--where are you?
           6              MR. DAIN:     What exhibit again is the amended order?
           7   12?   Do you want to try turning the page--I mean to Exhibit
           8   12.
           9              MR. POSKUS:     Yeah, 12.
          10              THE WITNESS:     I'm at Exhibit 12.
          11         Q    (by Mr. Dam)      Turn to page 3.
          12         A    Okay.
          13         Q    Do you see there under item 6 in bold, respondent's
          14   assets will be placed into a Supplemental Needs Trust?
          15         A    It continues for respondent's benefit.     (See
          16   below.)   Yes.
          17         Q   Right.   And respondent is Ms. Black, right?
          18         A    That's right.
          19         Q   You didn't think it would be important to let the
          20   Court know that not all of the assets of respondent are being
          21   placed in the Supplemental Needs Trust?
          22         A    This feels to me like play with words.     We knew--I
          23   believed everybody knew that Joanne's POD benefits would be
          24   disclaimed into the estate and out of the estate two-thirds
          25   would go into the Supplemental Needs Trust.      Those assets




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            1   would be placed in a Supplemental Needs Trust for Joanne's
            2   benefit.
            3          Q    And you--these are your words, you said, this seems
            4   like playing with words, right?
            5          A    It seems like you're playing with words with me,
            6   yes.
            7          Q    Not including the fact that you had a conflict
            S   because I think earlier you testified, yes, you recognize you
            9   had a conflict.     Not including the fact--the fact that
           10   one-third of these disclaimed assets are going into an Issue
           11   Trust.     Not including the fact that under a bond respondent's
           12   assets will be placed into a Supplemental Needs Trust.
           13                At the hearing, hearing the Court say these trust
           14   and you said the trust--
           15                MR. POSKUS:    Objection, Your Honor, it's a compound
           16   question.
           17                MR. DAIN:   No, I'm just--I'm laying out all the
           18   foundation for it--these are all the things that occurred.
           19          Q     (by Mr. Dam)     You don't think you were playing
           20   with words and not making clear to the Court that one-third
           21   of those assets are going to you, the conservator, and your
           22   children?
           23          P     I did not think I was playing with words.    I

           24   thought we provided full disclosure.
           25          Q     Just going back again to--to Ms. Wrigley, you said




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            1   they had--you had all these conversations, are you saying
            2   that Ms. Wrigley was on a conversation that you had with your
            3   wife?
            4        A       I don't think I testified to a three-way
            5   conversation.       I think I testified to multiple conversations
            6   with Cherie Wrigley.       I'd have to think about whether I have
            7   any specific memory of a conversation in which my wife
            8   participated, but that wasn't my testimony.
            9        Q       Okay.   How--and in how many e-mails have you sent
           10   to Cherie Wrigley since your mother passed and since this
           11   issue came up before this Court, how many e-mails?
           12        A       During the period from my mother's death until
           13   through about September 2012 I would bet there are hundreds
           14   of e-mails.
           15        Q       100?
           16        A       Probably more than a 100, probably more than 200,
           17   somewhere--you know, not a thousand but hundreds.
           18        Q    And in those hundreds of e-mails you'd agree with
           19   me there is never once, nowhere a mention of a disclaimer--
           20        A    Absolutely there is.      And we went through this the
           21   last time.
           22        Q       Wait a minute you haven't let me finish the
           23   question before you get angry.      There's no mention of a
           24   disclaimer that would result in one-third of the assets going
           25   into an Issue Trust?




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            1         A   We went through exactly this testimony last time
            2   and I explained why I thought that the e-mail conversations,
            3   e-mails from me to Cherie about Rebecca were consistent with
            4   that and inconsistent with any other interpretation.
            5         Q   I'm not asking that.
            6         A   If you want to go back to that testimony go back to
            7   it.
            8         Q   No, I'm asking you would you agree with me that
            9   there is no mention in any of those hundreds of c-mails of a
           10   disclaimer that will have the effect of one-third of the
           11   disclaimed assets going to an Issue Trust for the benefit of
           12   you and your children?
           13         A   Effectively there is, yes.
           14         Q   The words--those words are in the e-mail?
           15         A   The words Issue Trust are not in there, what is in
           16   there is an e-mail from me to Cherie saying here's the
           17   disclaimer for Rebecca.   There's an e-mail from me to Cherie
           18   saying here are the arguments you can give to Rebecca so you
           19   can get her to disclaim her 1 percent so it doesn't blow up
           20   to 20 percent so that it goes out into the estate and
           21   one-third comes out and she's going to get a share of
           22   one-third; that's probably more words than the e-mail has but
           23   that's the content of the e-mail.
           24         Q    I know that has more words than the e-mail has
           25   because the e-mail doesn't include the one-third that's going




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            1   to come out, right?
            2        A     If you want to go back to that e-mail we'll go back
            3   to the e-mail.
            4        Q     Just--you know what it says, it doesn't--
            5        A     I don't have--I don't have a precise memory but I
            6   have a memory of an e-mail that I thought was very clear as
            7   to Cherie's understanding and my understanding that why would
            8   Rebecca waive 1 percent.   She would waive 1 percent because
            9   then she was going to get her share of one-third.
           10        Q     No, no, don't--I'm not asking you why you're--about
           11   your logic, I'm asking you what's in the e-mail.
           12        A     You're not showing me the e-mail.
           13        Q     And follow me--follow me on this.   No, I've asked
           14   you in the hundreds of e-mails and you mentioned an e-mail.
           15        A     I've mentioned two e-mails.
           16        Q     Okay.
           17        A     We also have e-mails from me to Cherie attaching a
           18   disclaimer for Joanne.   We have lots of e-mails talking about
           19   would Joanne go--would Cherie go to Colorado to try to get
           20   Joanne to sign the disclaimer.   So there's a lot of e-mail
           21   trails.   They're not e-mails with you they're e-mails with
           22   Cherie.
           23        Q    Without playing with words do any of those e-mails
           24   contain the statement that the disclaimer will have the
           25   effect of me and my children, meaning you, Bernard Black,




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            1   receiving one-third of those disclaimed assets?
            2        A        I have told you that I believe that the e-mail from
            3   me to Cherie with regard to Rebecca effectively says that.
            4        Q        Have you made that e-mail an exhibit to this Court?
            5        A        Have you?
            6                 MR. DAIN:     Your Honor--
            7                 THE COURT:     Yes or no, Mr. Black.
            8                 THE WITNESS:     I don't recall whether it's an
            9   exhibit.      I don't think we included it in my direct
           10   testimony.
           11        Q        (by Mr. Dam)      And I think you just pretty much
           12   just said it, you don't have an e-mail to me where you say
           13   that?
           14           A      I agree I do not have an e-mail to you where I said
           15   that.       I explained what I have for you.
           16                 MR. POSKUS:     For the record, Your Honor, Exhibit 79
           17   is in the record; that's the e-mail to Ms. Wrigley asking
           18   about Joanne signing a disclaimer.          Exhibit 80 is the e-mail
           19   from Mr. Black to Cherie Wrigley with forms for Rebecca to
           20   sign.       I do not recall that we got that into the record.
           21                  MR. DAIN:    So let's go over Exhibit 79 and 80.
           22                  (Pause.)
           23                  MR. DAIN:     You said 80?
           24                  MR. POSKUS:    80.
           25                  MR. DAIN:     I don't have that one.   You can make a




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            1   copy--but in the meantime let's go over Exhibit 79.
            2          Q   (by Mr. Dam)    And I--
            3              MR. DAIN:    Your Honor, do you have that in front of
            4   you?
            5              THE COURT:    I do.
            6              MR. DAIN:    Okay.
            7          Q   (by Mr. Dam)    Cherie, here is the form I'll need
            8   Joanne to sign, do you see that?
            9          A   I see Exhibit 79, yes.
           10          Q   Anywhere in this e-mail--this e-mail, we'll get to
           11   the attachment in a minute--but anywhere in this e-mail you
           12   see what--you just said that there was effectively a
           13   statement that the disclaimer would operate such that you and
           14   your children would get one-third of the assets?
           15          A   I was referring to an e-mail with regard to Rebecca
           16   not to this e-mail.
           17          Q   That would be I guess the next one, the disclaimer
           18   regarding--
           19          A   Actually not, Exhibit 80 is attaching the
           20   disclaimer form for Rebecca and there's a separate e-mail
           21   where I write to Cherie and say here--in effect here are the
           22   arguments that you can make to try and get Rebecca to sign.
           23          Q   And you--you've supplied that e-mail to your
           24   counsel?
           25          A   I believe that counsel has a copy and I believe




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            1   through discovery you have a copy.
            2        Q    You have--but you have no way of knowing whether,
            3   in fact, a copy has been given to me?
            4        A    Do you want me to go look at the discovery record,
            5   I can go look?
            6        Q    I'd like you to get the e-mail--
            7        A    I have no reason to think that it's not.
            8        Q    --at a break if you could.     Say it again?
            9        A    I have no reason to think that that e-mail was not
           10   provided to you as part of discovery.
           11        Q    And certainly you want to have that e-mail before
           12   the Court so you could prove this discussion you had with Ms.
           13   Wrigley about the disclaimer effectively giving you and your
           14   children one-third, right?
           15        A    That e-mail is responsive to your question.
           16        Q    Okay.   This e-mail--let's work with this one first,
           17   nothing in this e-mail, right?
           18        A    Which e-mail are you on?
           19        Q    79.
           20        A     That's correct.
           21        Q     Let's go to the disclaimer.    Show me where in the
           22   disclaimer that it says to Ms. Wrigley, hey, one-third of
           23   this is going into an Issue Trust for me and my children?
           24        A     Are you on Exhibit 79 still?
           25        Q     Yes.




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            1        A      The disclaimer doesn't say that.     The disclaimer
            2   just says I disclaim.
            3        Q      So clearly this isn't the e-mail, right?
            4        A      We've already established that.
            5        Q      Okay.
            6               MR. DAIN:     Your Honor, I move Exhibit 79 into
            7   evidence.
            8               MR. POSKUS:    It's already in evidence.
            9               THE COURT:    It was admitted.
           10               MR. DAIN:    Oh, it is, I'm sorry.   Is 80 already in
           11   evidence?
           12               THE COURT:    No, just 81.
           13               MS. DiPONlO:    We don't know what 80 is.
           14               MR. DAIN:    Is there--if you go to Exhibit 80, do
           15   you have one in your binder?
           16               THE WITNESS:    I have Exhibit 80 in my binder.
           17               MR. DAIN:    Your Honor, do you?
           18               (No audible response.)
           19        Q      (by Mr. Dam) Is there--this is an e-mail from you
           20   to Ms. Wrigley November 4th, 2012, do you see that?
           21        A      Yes.
           22        Q      Is says forms for Hecca to sign.     You didn't even
           23   include any discussion in this e-mail, right?
           24        A      As I've testified the discussion was in a separate
           25   e-mail.




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            1        Q      Okay.   In this e-mail in which you sent the
            2   disclaimer could you please go through the disclaimer, all
            3   the pages there, and tell me where in here it says that
            4   one-third of the disclaimed assets are going to you and your
            5   children?
            6        A      It doesn't.    It's just a disclaimer that says I
            7   disclaim.
            8        Q      Okay.   So it--
            9               MR. DAIN:     And, Your Honor, I move Exhibit 80 into
           10   evidence.
           11               THE COURT:     Objection?
           12               MR. POSKtJS:    No--no objection, Your Honor.
           13               (Petitioner's Exhibit 80 was received in evidence.)
           14        Q      (by Mr. Dam)      So it's--you're certain there's
           15   another e-mail in which you say to Ms. Wrigley that one-third
           16   of the assets are going to go to me and my children?
           17        A      There's another e-mail where--let me call it a
           18   talking points e-mail where I say here are the--here's the
           19   argument that I think makes sense to make for Rebecca in
           20   order to get her to disclaim the 1 percent of the Vanguard
           21   assets that she was otherwise entitled to.
           22        Q      No, no, that's not my question.     The 1 percent that
           23   Becca would disclaim doesn't answer what's happening to the
           24   one-third of the asset.
           25        A      Yes, it does.




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            1        Q     How?
            2        A     Because why would Rebecca want to disclaim her 1
            3   percent?
            4        Q     I don't know but I'm asking you what about--
            5              MR. POSKUS:   Your Honor--
            6        Q     (by Mr. Dam)   --contents of the e-mail, anywhere
            7   in that e-mail that you're saying it--it exists does it say
            8   that through this process of getting Becca to disclaim and
            9   Joanne to disclaim one-third of those assets will go to me
           10   and my children?
           11        A     Effectively it does.   There was no basis for asking
           12   any of my kids to disclaim their 1 percent interest except
           13   that if they did that then the assets would go into the
           14   estate and one-third would go out to the Issue Trust; that
           15   was the argument for all of my children.    Please disclaim
           16   because otherwise 95 percent is going to go to Joanne and
           17   that--you know, that--that--direct to Joanne didn't work and
           18   I couldn't submit the disclaimer and have their 1 percents
           19   blow up to 20 percent so I was saying to each of them or for
           20   Sara and Rebecca, Cherie was saying to them, please disclaim
           21   the 1 percent that's in Vanguard down to zero so that the
           22   whole process can go forward and so that we can avoid
          23    litigation.
          24         Q     And just so we're clear, the words weren't in
          25    there, you're saying it--the purpose of this was--the words




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            1   were not in there, right?
            2        A      They're not in where?
            3        Q      In the e-mail to Ms. Wrigley.    The words that

            4   one-third of the assets will go to me and my children.
            5        A      I don't remember where the exact words one-third
            6   went but the argument was disclaim the 1 percent so that
            7   you'll get more through the Issue Trust, that's what I
            8   remember.
            9        Q      So the words Issue Trust were clearly in there?
           10        A      I don't remember that either.    Rebecca would not

           11   have known Issue Trust.     She would have known grandkids
           12   trust.
           13        Q      Here's the point, I'm asking you words in the
           14   e-mail.     I'm not asking--
           15        A      I'm not remembering.
           16        Q      Pardon?
           17        A       Why don' t we wait if you're going to go through
           18   lunch and show me the damn e-mail--excuse my language.
           19        Q       I --
           20        A       Show me the e-mail.    Rather than my guessing about
           21   an e-mail that I wrote two and a half years ago about exactly
           22   what the words were.     I remember an e-mail where I wrote to
           23   Cherie and said here are--here is how you can persuade
           24   Rebecca to disclaim her 1 percent by promising her that if
           25   she disclaims she'll get more implicitly or explicitly




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            1   through the Issue Trust.
            2        Q    Okay.    And over the lunch break you'll find that
            3   e-mail?
            4        A    I imagine that over the lunch break we can find the
            5   e-mail.
            6        Q    And you've said that--you started out this--this
            7   whole--your initial testimony--you started out by saying that
            8   when you saw these POD designations you became upset, right?
            9        A    I thought this was wrong; this made no sense.
           10        Q    So--so your primary purpose was to correct that
           11   wrong, right?
           12        A    I don't know that I had a primary purpose but I
           13   thought that this was wrong and it made no sense.
           14        Q    And you recognize again that if you're Joanne
           15   Black's conservator and what you're trying to do is remake
           16   the estate plan of your mother from the POD benefits to what
           17   is in her will--
           18             MR. POSKUS:   Objection to the form of the question,
           19   Your Honor, what is the estate plan of mother is--is
           20   delineated by the will that's been admitted to the Court in
           21   New York; that's her estate plan.
           22             Now, if he wants to talk about the POD designations
           23   being the estate plan, the witness has testified that the
           24   legitimacy of those designations is up in the air.     He can't
           25   ask the question in the form of this is the estate plan




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            1   you're trying to redo, that issue is in dispute.           So he needs
            2   to rephrase the question.
            3                    THE COURT:    Well, part of the problem I'm having--
            4   and I tried to ask that at the outset today is--there is--
            5   where is this dispute being litigated?           Apparently nowhere.

            6                    MR. POSKUS:    But it hasn't been litigated because
            7   the exercise of the disclaim eliminated the need to litigate.
            8                    MR. DAIN:    No.
            9                    MR. POSKUS:    That was the whole point to it.
           10                    THE COURT:    Right.   But to obtain the validity for
           11   the declaimer it has to be--it has to be aired in some forum.
           12   And no other forum has been approached at this point is what
           13   I understand.
           14                    MR. POSKUS:    No other forum has been approached to
           15   litigate the legitimacy of the POD designation, that's
           16   correct.         But like I said this was everybody's agreement to
           17   avoid that litigation including Mr. Dam's and Ms. Wrigley's.
           18                    THE COURT:    All right.
           19                    MR. DAIN:     I'm sorry is he testifying or is he just
           20   saying   -   -




           21                    THE COURT:     There is--well, that's what we're
           22   talking about here is whether or not there actually was an
           23   agreement--
           24                    MR. POSKUS:     That is what we're talking about, I'll
           25   agree with you.




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            1             THE COURT:    --or the disclosure.
            2             MR. POSKUS:     I agree with you.
            3             THE COURT:     Okay.    So the real--and then the
            4   question then becomes why was this done; he talked about it a
            5   little bit before.     And the question Mr. Dain is asking
            6   actually goes to that.
            7             MR. POSKUS:     Okay.   So--but let him phrase the
            8   question properly that it's not the estate plan, let him
            9   phrase the question he did this in order to avoid the POD
           10   designation.   It's not--
           11             THE COURT:     Well, but it's--
           12             MR. POSKUS:    --put in any--
           13             THE COURT:    --it is related to the estate plan
           14   though.
           15             MR. POSKUS:    Well, it's related to the issue of
           16   what is the estate plan and the parties all agree that rather
           17   than litigate it we'll do the disclaimer.
           18             MR. DAIN:    Oh, I guess--
           19             THE COURT:    But they didn't agree, Mr. Poskus--
           20             MS. DiPONlO:    Your Honor, I object to that.
           21             THE COURT:    --and that's why we're here.    If there
           22   was an agreement they would have given it to the Court, the
           23   Surrogate's Court and the Surrogate's Court would have
           24   affirmed the agreement and they would have done it.      They
           25   didn't do that.




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            1               MR. POSKUS:    Well, Your Honor, the thing is they
            2   thought they had all the interested parties' agreement that's
            3   his testimony.
            4               MR. DAIN:     Well, that's his testimony that's why
            5   I'm asking questions.       If you want to replace him, replace
            6   him, otherwise argue it later.
            7               MR. POSKUS:     No, Your Honor, all I was objecting to
            8   was the form of the question.
            9               THE COURT:     Okay.   Well, I guess the objection is
           10   overruled because I don't know how else to resolve this thing
           11   fully if we don't hear about it.        Unless you want me to just

           12   do what my plan A is and then just solely resolve the issue
           13   of the breach and then send it on for further litigation in
           14   New York.
           15               MR. POSKUS:     Well, Your Honor, we--at some point
           16   I'd like an opportunity to address the Court on that issue,
           17   but this is--that may be for closing argument.
           18               THE COURT:     Well, it will be too late then.    I mean
           19   I have to deal with this either now under this Court's
           20   equitable powers or I have to be very narrow in my ruling and
           21   send it back to New York State for them to deal with it.
           22               MR. POSKUS:     If you want me to address the Court on
           23   the issue now, Your Honor, I'll do it.        I didn't--all I was

           24   doing was objecting to the way he phrased the question.            If

           25   Mr. Dain wants to hold off on his questioning for a little




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            1   bit and you and I can have this colloquy--which I assume Mr.
            2   Dain can respond to then we can do that.
            3               MR. DAIN:     Let's do that now, we can continue after
            4   lunch, we've got ten minutes.       Let's have the colloquy.
            5   Because I do think if he's got an issue with the Court's
            6   stated issues let's hear it.
            7               MR. POSKUS:    It's up to you, Your Honor, however
            8   you want to handle it.      I'm prepared to address it now if you
            9   want.
           10               THE COURT:    Well, seeing as how it's going to
           11   direct what testimony we get we probably should address it
           12   now.    All right.
           13              MR. POSKUS:     Fine with me, Your Honor.
           14               THE COURT:    All right.     So basically I framed the
           15   issue at the outset because it appeared to me at that time--
           16   and it still does--and we need to clarify whether or not
           17   there was a breach of fiduciary duty.
           18              MR. POSKUS:     Right.
           19               THE COURT:    Okay.
           20              MR. POSKUS:     Your Honor, since we're probably going
           21   to do this and then take a break maybe Mr. Black can go ahead
           22   and take a seat.
          23               THE COURT:     That's fine.
          24               MR. POSKUS:     You Honor, and you're right previously
          25    in--in our hearings on June 16th       and 17th we did elude to what




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            1   are the issues in this case and. I took it off of your--your
            2   April 2   order at paragraph 13 where you identified two
            3   issues and then you went to--and you said kind of as part of
            4   these proceedings the Court will determine whether the
            5   allegations of breach of fiduciary duty are supported by the
            6   evidence and whether any disgorgement or unwinding of
            7   fiduciary actions, including the creation of the trust is
            8   appropriate.
            9             So the way I interpret that order is you wanted to
           10   hear evidence on the first two issues you identified and then
           11   as a result of the evidence of that you'd determine whether
           12   or not these allegations are true.
           13             So to me, Your Honor, the two main issues--the
           14   first one is--arid I'll quote at least that order in part--
           15   "Whether the disclaimer should have acted to divest Ms. Black
           16   of one-third of these iionprobate assets."   And to me, Your
           17   Honor, the answer is having the--having exercised the
           18   disclaimer there was no choice.
           19              Remember that the law on disclaimers is that a
           20   disclaImarit cannot control how the disclaimed funds are
           21   distributed once the disclaimer was exercised.     Once we

           22   exercise the disclaimer we're locked into what happens as if
           23   --in this case Joanne Black predeceased her mother.
           24              So the fact of the matter is that in this case once
           25   the disclaimer was exercised the Vanguard and Fidelity funds




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            1   had to go into Renata Black's estate; we don't have any
            2   choice in the matter because of the way disclaimers work.
            3             I know you're looking at me like you think we might
            4   have a choice, but I'm not sure how we would because the
            5   second the disclaimant exercises any control over the
            6   disclaimed assets the disclaimer becomes invalid.     Once the
            7   disclaimer is exercised it sets in motion a set of
            8   circumstances that can't be changed.
            9             And so to me the answer to your first question
           10   whether the disclaimer obtained by Mr. Black should have
           11   acted to divest Joanne Black of one-third, the answer has got
           12   to be in the affirmative; it's just a straight technical
           13   legal question.
           14             THE COURT:    Uh-huh.
           15             MR. POSKUS:   It can't go anywhere else.    Now, later
           16   in paragraph 13 you said you would consider--as I start out
           17   saying you would consider whether any disgorgement or
           18   unwinding of fiduciary actions including the creation of the
           19   trust is appropriate.
           20             Well, when you said that I'm assuming you're not
           21   speaking about the SNT and the Issue Trust because those were
           22   both created long ago by Renata Black.    That was filed with
           23   the Court on December 9th and those were created by Ns.--Ms.
           24   --Mrs. Black back in the late 1 90s.
           25             So now the Joanne Black 2013 trust was created by




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            1   my client as conservator so I can see that you can unwind
            2   that, but none of the disputed funds, the two-thirds/
            3   one-third ended up in that trust.
            4             So I'm assuming when we're talking about the
            5   disputed trust you can't actually unwind the trust because
            6   she created it and nobody is disputing that.      The only thing
            7   you can presumably unwind is the deposit of the estate funds
            8   into those two trusts.
            9             THE COURT:    Uh-huh.
           10             MR. POSKUS:    But that gets back to the issue of
           11   what I said earlier, number one, we can't control where the
           12   property goes once you disclaim.      And number two, the probate
           13   code says once a disclaimer is exercised it's irrevocable.
           14             THE COURT:     Okay.    So then basically we're back to
           15   surcharge?
           16             MR. POSKUS:     Well, okay, and maybe we are.    But

           17   let's talk about that; let's talk about that.       And you're--

           18   you're absolutely correct we--if that's the way you would
           19   rule we are just back to surcharge because the issue trust
           20   for example which is where presumably--if you would rule
           21   there was a breach of trust the money would come from,
           22   there's beneficiaries of that trust that are now current
           23   beneficiaries and they're not before the Court so we don't
           24   have any ability to affect them.
           25                So that--you're right that would be the only




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            1   remedy.   So I agree with you, it gets down to whether or not
            2   you can order Bernie Black to pay the one-third back himself.
            3   I think that's what we're boiling it down to.
            4              And the thing is, is I don't think you can.      And
            5   let me explain why.      Mr. Dain has made a lot out of the idea
            6   that Bernie Black was in a conflict of interest and he's said
            7   very--very candidly, yes, I was in a conflict of interest.
            8   don't dispute that.      What I do dispute is just because he's
            9   in a conflict of interest that this can't happen and here's
           10   why--
           11              THE COURT:    That what can't happen?
           12             MR. POSKUS:     That he can't exercise--he can't
           13   participate in a transaction that benefits himself even
           14   though he's the conservator and he benefits from it.
           15             In other words, the probate code specifically
           16   allows a fiduciary to participate in a transaction that
           17   benefits himself if certain conditions are present.       And in
           18   this case it's 15-14-423 which allows such a transaction if
           19   the conservator is expressly authorized by the Court.
           20             Now, the March          2013 order expressly authorizes
           21   Bernie Black to exercise the disclaimer.       And like I said
           22   once he exercises the disclaimer--
           23             THE   COURT:   Okay.
           24             MR. POSKUS:     --the train is set in motion and we
           25   can't back away from that.       So the question is can you hold




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            1   somebody liable for doing an act that he was expressly
            2   authorized to do by this Court.
            3             THE COURT:     Well, I think the answer is yes, if a
            4   full disclosure wasn't made.
            5             MR. POSKUS:     And you're right, that--that's the
            6   issue because--and that gets to your second issue in your
            7   paragraph 13 order is whether or not--the way you phrased it
            8   is, the hearing will also determine whether it was properly
            9   disclosed that Mr. Black intended or had authority to
           10   redirect one-third of these probate assets; that's how I
           11   think it's got to go.
           12             And--and to be quite honest remember in the first
           13   hearing where you said our trial brief was a red-herring, I
           14   wasn't sure what--how you--what you meant when you phrased
           15   the first issue.   I know you said it was clear; I didn't get
           16   it; I thought you were actually considering voiding the order
           17   two and a half years later and for some of the reasons I
           18   stated today--
           19              THE COURT:    Uh-huh.
           20              MR. POSKUS:    --I don't think that's possible.     If

           21   you're going to say it was a breach of fiduciary duty you're
           22   only--I shouldn't say your own remedy, but the Court's only
           23   avenue is to do a surcharge that part I agree with.
           24              And so we get to your second issue of whether or
           25   not there was adequate notice.     So--you know, and at this




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            1   point, Your Honor, I'll start arguing what--I'd end up
            2   starting to argue what the evidence shows.
            3             THE COURT:    Uh-huh.
            4             MR. POSKUS:    I mean Mr. Black testified this
            5   morning that he thought there were a variety of reasons why
            6   everybody knew what was going on.
            7             Mr. Glatstein testified that he thought everybody
            8   knew what was going on.   And indeed, Your Honor, I think the
            9   evidence shows--I'm assuming that Mr. Dain and Mr. Wrigley
           10   (sic) would dispute--I don't know they haven't testified--I'm
           11   assuming they would dispute the conversations that Bernard
           12   Black has testified he's had with them.
           13             I mean but right now the state of the evidence is
           14   he told them so at least insofar as they're concerned the
           15   state of the evidence is they knew.    So then the question
           16   becomes what about Lisa DiPonio and Gayle Young did they
           17   know.
           18             And, Your Honor, I'd submit and you'll recall we
           19   had a little bit of exchange about this when Ms. Young was on
           20   the stand and Mr. Dain objected saying well he's trying to
           21   show that she should have known, that Ms. Young should have
           22   known what the disclaimer was going to do and I said, no,
           23   Your Honor, I'm trying to prove that she did know.
           24             And you'll remember that the testimony from both of
           25                                                                    9th
                them was that they got Mr. Glatstein's filing of December




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            1   that included the will and both trusts.     And their testimony

            2   was--in Ms. Young's case--that she spent two hours reviewing
            3   those documents and that Ms. DiPonio spent a half hour
            4   reviewing the documents.
            5             And then you'll recall Carl Glatstein's testimony
            6   that he spoke to both of them and you'll recall their
            7   testimony, both of them saying I don't remember.     So neither

            8   one of them said he didn't say it to me.     I mean Ms. Young

            9   kind of said I don't--I couldn't--I can't imagine that he
           10   said it to me because I wouldn't have agreed to this but
           11   neither one of them disputed that he said it.
           12             But--directly--but the biggest evidence is the fact
           13   that they had direct knowledge was the fact that Exhibit 17
           14   is that January 29th e-mail exchange between Mr. Glatstein,
           15   Ms. DiPonio, and Ms. Young, and Ms. Sumi Lee of this court in
                                                                        29
           16   which Ms. Young and DiPonio looking at that January          th

           17   order say we don't object.    And--
           18              THE COURT:    That's the one--that's the third order.
           19              MR. POSKUS:    That's the third proposed order, but--
           20              THE COURT:    Right.   Because it took the other
           21   language out that was explicit.
           22              MR. POSKUS:    No, that--no that's--I'm sorry, Your
           23   Honor, I don't mean to dispute you but the order that they
           24   were approving is the one that was explicit about if the
           25   disclaimer gets exercised it goes under Article 4--4th of the




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            1
            2               THE COURT:    That's not my understanding.
            3               MR. POSKUS:    All right.   Well--
            4               THE COURT:    The one that didn't get signed--
            5               MR. POSKUS:    Well, you know, Your Honor, what I can
            6   do is over the break I can find it in the trans--I--I agree
            7   the order didn't get signed, but what I'm talking about is we
            8   offered that evidence to show the fact that Ms. DiPonic and
            9   Ms. Young had actual knowledge of--
           10               THE COURT:    Was it that order--
           11               MR. POSKUS:   --what would happen.
           12               THE COURT:    --or the third order that the exhibit
           13   refers to?
           14               MR. POSKUS:    The--they had actual knowledge of the
           15   amended proposed order filed on--on January 29th     and what it
           16   said; that's Exhibit 25 for the record, Your Honor.      And
           17   indeed Ms. Young even testified that Exhibit 25--I'm sorry--
           18               (Pause.)
           19               THE COURT:    Okay.
           20               MR. POSKUS:    And if you look on page 3 of 3 it says
           21   that the conservator is specifically authorized to disclaim
           22   respondent's interest as beneficiary under all payable on
           23   death or transferrable on death accounts with Vanguard and
           24   Fidelity.  And then I'll skip down, allowing respondent's
           25   share to pass under Article 4th of the last will and




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            1   testament of Renata Black.
            2              And then, Your Honor, if you look at Exhibit 17.
            3              (Pause.)
            4              THE COURT:    This is the one that didn't get signed.
            5              MR. POSKUS:    No, I agree, Your Honor, I'm not
            6   offering it for that purpose, I'm offering it to show you
            7   that there was notice given because Ms. Black--Ms. Black--Ms.
            8   DiPonio and Ms. Young had actual knowledge of what the
            9   disclaimer was going to do because they approved this form of
           10   order.
           11              If you look at Exhibit 17 it's--and none of them
           12   objected to this and Ms. Young said, yes, Exhibit 25 was the
           13   one she--the proposed order she was referring to.     Ms. Young

           14   says the proposed amended letters and amended order are fine
           15   with me.   And right below that you see an e-mail from Ms.
           16   DiPoruio to Ms. Lee arid Mr. Glatstein--excuse me--I have no
           17   objection with this just being issued.
           18             And so the fact of the matter is, Your Honor--
           19   you'll recall this is done on January 29th and then on
           20   December 9th__ i n other words, almost two months before this
           21   they were given the will.     And so they're approving the idea
                                                                               4 1
           22   that the disclaimer will act to pass the assets under the
           23   Article of the will.
           24              THE COURT:    What's the date on that second--on the
           25   third order?




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            1               MR. POSKUS:    On--on--
            2               THE COURT:    When was that transmitted?
            3               MR. POSKUS:    Oh, the one that you eventually
            4   signed?
            5               THE COURT:    Right.
            6               MR. POSKUS:    Hang on a second and I can find that.
            7               MS. DiPONlO:    Your Honor, that was in March some
            8   time I believe.
            9               MR. POSKUS:    March 2t,   Your Honor.
           10               THE COURT:    Okay.
           11                                                             5th•
                            MR. DAIN:    And the order was signed March
           12               MR. POSKUS:    And--and if you look, Your Honor,
           13   there's actually--Mr. Glatstein filed a pleading on March
           14   2nd, 2013 that was filed along with the order that you
           15   actually eventually signed asking for entry of that order.
           16   And if you look at that pleading that Mr. Glatstein filed on
           17   March 2, 2013, he--he says in paragraph four that he had
           18   previously discussed this language with Ms. DiPonio and Ms.
           19   Young.    Neither is opposed to entry of this order arid--so in
           20   other--and nobody objected to this, Your Honor, and everybody
           21   including Mr. Dain and Ms. Wrigley were given copies of all
           22   of this documentation.
           23               THE COURT:    Okay.
           24              MR. POSKUS:     So--
           25               THE COURT:    Well, Ms. DiPonio and Ms. Young have




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            1   already testified that that's not their understanding of the
            2   way this was going to work.
            3               MR. POSKUS:    Well, I--I agree that that's what they
            4   testified to and I have to tell you that I don't--then I
            5   guess I have to question what did they mean in their--in
            6   their April--or January 29th e-mail in which they say that
            7   one order you didn't sign is fine with me.      What did they

            S   mean when they said it's fine with me that the disclaimer be
            9   exercised to allow respondent's share to pass under Article
                4th
           10         of the last will and testament; that's what they were
           11   saying in writing at the time; that's a contemporaneous
           12   statement.
           13                We're now talking two and a half years later when
           14   apparently--I don't know why they're testifying the way they
           15   are, but I think it's pretty solid that they had actual
           16   knowledge because we--the record is also very clear that they
           17   had this will in their possession and they knew what the will
           18   did.
           19                THE COURT:    I mean, you know, part of the problem
           20   okay is I have my own independent memory of all this.
           21                MR. POSKUS:    And I guess--I'm dying to ask you what
           22   is it?
           23                THE COURT:    And I have to tell you it's really in
           24   accord with what everyone else is saying.       I absolutely did

           25   not have any understanding that a third of these assets were




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            1   going to go to somebody else.
            2             MR. POSKUS:    Uh-huh.
            3             THE COURT:    It was my understanding that the
            4   disclaimer would go, the money would go into the estate and
            5   then all go back out into her trust.
            6             MR. POSKUS:    And then 100 percent would go to--
            7             THE COURT:    Right.
            8             MR. POSKUS:    And I appreciate your candidly sharing
            9   that with me, Your Honor
           10             THE COURT:    And I think you also need to understand
           11   that the--when that second amended order came in that
           12   specifically said only two-thirds--
           13             MR. POSKUS:    Right.
           14             THE COURT:    --that there was a lag between the
           15   January and March because I didn't understand why that would
           16   be and that's not what was explained and that's not what I
           17   understood, so I hung on to it.
           18             MR. POSKUS:    Uh-huh.
           19             THE COURT:    And then the other order came along
           20   about the beginning of March and it said basically what I
           21   understood it to be so I signed it.    And I didn't
           22   deliberately--did not sign that second order, it was not an
           23   oversight and it was not lost in the shuffle of paperwork
           24   here at the court, it was because I didn't understand and
           25   nobody was explaining to it--explaining it to me.




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            1             So--you know, and I appreciate Mr. Black's
            2   testimony about his problems that he was having in terms of
            3   what happened with his mom and this business about why he
            4   didn't understand why she would do that and it was a last
            5   minute change relatively.   I--I do appreciate all of that
            6   information but the bear fact of the matter in terms of the
            7   disclaimer is that it was not disclosed fully or
            8   forthrightly.
            9             MR. POSKUS:   Well, and so here's my response to
           10   that, Your Honor, and I--like I said I appreciate you telling
           11   me, I've been wondering through the whole two days that we've
           12   been in Court what was she thinking.    I mean it's the natural
           13   thing to think about, so let me respond to your statement by
           14   saying this, so in your mind you didn't--you didn't think
           15   this.
           16             So I guess my point to you then is looking at it--
           17   arid I have--I have to say we--we've all said if we could have
           18   done it differently we would loved to have done it; it's kind
           19   of like spilled milk, but here's the thing, when you look at
           20   what Carl Glatstein and Bernie Black were looking at back in
           21   2012 I don't find it unreasonable that given the fact that
           22   they had submitted the will and the trust to the court file
           23   and given that these--that both Ms. Young and Ms. DiPonio
           24   said they agreed with it--and then you'll recall the
           25   testimony was the reason why they submitted the third order




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            1   was they didn't--in all honesty, Your Honor, they did not
            2   receive a directive from you saying I don't like the way this
            3   order reads, nothing happened.
            4              And then they were told by Vanguard we don't want
            5   that stuff in there.      And I can tell you from dealing with
            6   these companies they do that all the time.       They're afraid if
            7   you stick stuff in there about what happens after the one act
            8   that they're charged to perform then if it does--if the money
            9   doesn't go to the two-thirds to the Supplemental Needs Trust
           10   they're afraid they'll get sued, so they want that stuff
           11   taken out.
           12                THE COURT:   Uh-huh.
           13              MR. POSKUS:     And so that's why they changed the
           14   order.   In their minds it was reasonable for them to have
           15   assumed that everybody knew given what they said.       I mean--
           16              THE COURT:     It wasn't enough.
           17             MR. POSKUS:      Well, if that's going to be your
           18   ruling there's not much I--
           19             THE COURT:      It has to be.   I have--I have a
           20   definite memory of this and I just explained that to you.
           21             MR. POSKUS:     No, and I agree you explained it to
          22    me.
          23              THE COURT:      So--
          24              MR. POSKUS:     I'm just saying that under--at least I
          25    think--I mean to--you would certainly agree with me and maybe




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            1   you feel--and maybe you're going to tell me different--do you
            2   believe that Mr. Black and Mr. Glatstein were proceeding in
            3   bad faith?
            4               MR. DAIN:      Your Honor, before you engage in that
            5   I'd like a chance to argue to--to present the rest of the
            6   evidence.
            7                THE COURT:    Well, that's just it, I haven't heard
            8   from you directly or Ms. Wrigley as to those conversations
            9   arid I--
           10                MR. DAIN:     Those--those aside--
           11                THE COURT:     --got from all of your body language
           12   that that was not your understanding of what was going to
           13   happen, but this is the thing and this is where the piece
           14   about the change comes in, it softens it somewhat and it
           15   makes it more understandable--
           16                MR. POSKUS:     Uh-huh.
           17                THE COURT:     --arid not just a flat out grab--
           18                MR. POSKUS:     Yeah.
           19                THE COURT:     --if you will.
           20                MR. POSKUS:     Yeah.
           21                THE COURT:     Okay.    So that's why I appreciate that
           22   information.
           23                MR. POSKUS:     Uh-huh.
           24                THE COURT:     So then for me the question becomes
           25   then what to do about that and that's why it was a huge




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            1   mistake not to take this right to the Surrogate's Court in
            2   New York.
            3               MR. POSKUS:    Your Honor, I--
            4               THE COURT:    I mean it wasn't fully disclosed here
            5   and all the reasons for it.      There was never any information
            6   about what was going on with the estate, what was going on
            7   with the mom, you know, I just hear today that there was
            8   another will; that there could have--I don't know if there
            9   was a revocation or what the story is with that.
           10               So--I mean there's obviously a bigger story going
           11   on here and I'm just getting a little snippet of it.      And the
           12   tiny snippet that I got from Mr. Glatsteira and Mr. Black at
           13   the appointment hearing is woefully inadequate.
           14               MR. POSKUS:    Uh-huh.
           15               THE COURT:    I guess I'll just put it that way.     You
           16   know, based on the ramifications of what they understood--
           17   well what they wanted to do and why.
           18               MR. POSKUS:    Uh-huh.
           19               THE COURT:    Even just saying well go look at the
           20   will is woefully inadequate.      It was not full disclosure, it
           21   was not clear, it was not understandable in any easy sense;
           22   it required digging and that's not what my understanding of
           23   candor to the Court means.
           24               MR. POSKUS:    Uh-huh.
           25               THE COURT:    I don't believe that me and my staff




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            1   are supposed to go through line by line and figure out the
            2   hidden intent of something like this.     It needed to have been

            3   plain, straightforward and put out there and then we can have
            4   a discussion about it.
            5             MR. DAIN:     And, Your Honor, if--the only thing I
            6   would add because I understand so I won't belabor that unless
            7   there's other argument the Court needs, but saying that it
            8   softens it is one thing, but then when it comes to reporting
            9   an accounting there's no argument that could be made--
           10             THE COURT:     Right.
           11             MR. DAIN:     --that Mr. Glatstein and Mr. Black
           12   didn't think they had to report to you the entire assets
           13   because by not reporting that--
           14             THE COURT:     Right.
           15             MR. DAIN:     --you--absolutely what you said, you
           16   believed your order correctly allowed 100 percent to go to
           17   Ms. Black as it should because you can't allow them to act on
           18   that conflict arid they deliberately didn't report it.
           19             Now, I mean my--my point of cross-examination is
           20   perhaps Mr. Black deliberately didn't give Mr. Glatstein all
           21   the information but if he did I have no idea how Mr.
           22   Glatstein could think he didn't have to report that.
           23              THE COURT:    Well, right.   And then when it was
           24   discovered the uproar ensued.
           25              MR. DAIN:    Right.




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            1             MR. POSKUS:     Well, Your Honor, I can ask--I can
            2   have Mr. Black testify to what happened once all this started
            3   up, I'm not sure if that's the reason why Mr. Black thinks
            4   the uproar ensued, as a matter of fact I know it's not.        I
            5   mean his testimony would be that they knew about it and this
            6   dispute started up when they didn't like a request for
            7   reimbursement that Cherie Wrigley made.
            8             MR. DAIN:     Your--Your Honor--
            9             MR. POSKUS:    And that's what started the whole--in
           10   other words Cherie Wrigley wanted reimbursement for a number
           11   of expenses she allegedly incurred on the--
           12             THE COURT:    The one that was recently stipulated
           13   to?
           14             MR. POSKUS:    That was part--well, we stipulated to
           15   the parts--there was no objection--but there's--there were
           16   more reimbursement requests even beyond the ones that Ms.
           17   Peterson said we didn't agree to.    This goes back--like you
           18   said this is--we're dealing with snippets.
           19             MR. DAIN:    Your Honor, I--I--you know, and it's
           20   funny, I can put Ms. Wrigley on the stand and if we have to I
           21   will, but you don't need that, just because Mr. Black
           22   testifies as Mr. Poskus seems to imply, you don't have to
           23   believe his incredible statements.    They're not corroborated
           24   by anything.   Some of his statements just belie, you know,
           25   common knowledge and truth.




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            1             So, yes, he can say oh, I told everybody but that
            2   may be--and maybe that's in his mind, but the circumstantial
            3   evidence supports no he didn't.
            4             And the fact that after the disclaimer he didn't
            5   properly report is the key to saying it isn't that way.          And

            6   I don't know about Mr. Glatstein who clearly when he
            7   testified didn't say I had all the information or didn't have
            8   all the information; he danced around it.
            9             But there' s no question that should have been
           10   reported; there's no question.    And having not done that
           11   that--that just put a lie to everything Mr. Black is saying
           12   about I thought everyone knew.
           13             MR. POSKUS:    I--
           14             MR. DAIN:     He covered it up after the fact.
           15             MR. POSKUS:    --I think that's--that's stretching it
           16   too far, Your Honor.     I mean if they wanted to cover it up
           17   why did they say these are the values as of March 31.
           18             You know, it goes back to something I said in my
           19   trial brief, if they were trying to cover stuff up they were
           20   doing an awfully damn bad job of it.     There's better ways to

           21   have done it than the way they did it.
           22              I mean they were--they were quite--
           23              THE COURT:    Well, by reporting values in March
           24   though after the disclaimer occurred meant that there was
           25   never any indication in the documentation that there was




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            1   another million dollars sitting out there that technically
            2   were in this estate or part of this whole proceeding.
            3               MR. POSKUS:     Your Honor, I hate to say it but--
            4               MR. DAIN:     Oh, and not the Roth IRA either.
            5               MS. DiPONTO:     That--Your Honor, that's--
            6               MR. POSKUS:     Your Honor, I hate to say it but it's
            7   actually in the record that there was another million dollars
            8   out there.     And indeed I was going to ask Mr. Black--
            9               THE COURT:     It's on the inventory?
           10               MR. POSKUS:    No, it's actually in the initial
           11   petition.
           12               THE COURT:    Well, see that's the point though.
           13               MR. POSKUS:     Yeah.
           14               THE COURT:     It's in the petition; it's not in the
           15   inventory--
           16               MR. POSKUS:    Yeah.
           17               THE COURT:    --so it's like sort of here, sort of
           18   there, it's--it's sort of everywhere but it's nowhere, that's
           19   the problem.    It's never, you know, up-front straightforward.
           20   It's like well you look for a piece of it here, and you look
           21   for a piece of it there and then everybody is supposed to
           22   cobble it together and I think the intent of the statute is
           23   that it be fully disclosed, there be full candor--
          24                MR. POSKUS:    Uh-huh.
          25                THE COURT:    --and you get a ruling based on an




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            1   honest and full disclosure and that did not happen here.
            2              MR. POSKUS:    Your Honor, you know, I would agree
            3   with you on full, I don't know if I would agree with you on
            4   honesty.   I don't know if there's evidence here that you can
            5   find that Mr. Glatstein and Mr. Black were somehow trying--
            6   deliberately trying to mislead the Court.
            7              THE COURT:    Well, let me put it a different way.
            8              MR. POSKUS:    Okay.
            9              THE COURT:    The only thing that I have in the
           10   record--
           11              MR. POSKUS:    Right.
           12              THE COURT:    --even as it's developed to this
           13   point--
           14              MR. POSKUS:    Uh-huh.
           15              THE COURT:    --in writing is the order I didn't
           16   sign--
           17              MR. POSKUS:    Uh-huh.
           18              THE COURT:    --that really says what was going on.
           19              MR. POSKUS:     Right.   I agree with it.
           20              THE COURT:     That's it.   It's nowhere.   There's

           21   not--
           22              MR. POSKUS:     Well--
           23              THE COURT:    --there's not an e-mail, there's not a
           24   letter, there's bits and pieces everywhere but nowhere--
           25              MR. DAIN:     And--and, Your Honor, I'm sorry--




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            1             MR. POSKUS:    But--and I agree with that, but the
            2   question then becomes is, was it--I don't think it was
            3   deliberate; I don't think there's evidence here that you can
            4   construe it as deliberate.
            5             THE COURT:     Well, it certainly wasn't forthright.
            6             MR. DAIN:    And, Your Honor, could I just add even
            7   that proposed order if you recall still have the--item number
            8   six, the monies going into the Supplemental Needs Trust and
            9   didn't say what happened to the other one-third.
           10             THE COURT:     No.
           11             MR. DAIN:    So even if you looked at that you think
           12   okay, maybe he's putting two-thirds into a trust and holding
           13   the liquid another one-third, but it didn't fully disclose
           14   even then and that's the only piece of evidence to support
           15   that.
           16             MS. DIPONIO:    Your Honor, in addition if you go
           17   back and look at the transcript from last time, I
           18   specifically asked Mr. Black if he disclosed to us all of
           19   Joanne's assets.   I believe he said (inaudible), yes, I did.
           20             When Mr. Glatstein was on the stand Mr. Dain asked
           21   him about the Roth IRA, he had no idea about the Roth IRA.
           22   So--
           23             MR. DAIN:    That's correct.
           24             MS. DIPONIO:    --there's a disconnect somewhere; I
           25   don't know who or what but obviously Joanne Black's assets




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            1   were not fully disclosed to Mr. Glatstein when he was
            2   preparing that inventory back (inaudible) that Roth IRA
            3   (inaudible)   --




            4              MR. POSKUS:    Your Honor, I don't agree--

            5              MS. DiPONIO:    --(inaudible).

            6              MR. POSKUS:    --I don't agree with her
            7   characterization of his testimony on that point.
            8              THE COURT:     Well, the only thing that's problematic
            9   is Mr. Black's testimony about shifting the assets to make it
           10   right.
           11              MR. POSKUS:    Right.
           12              THE COURT:     And that's problematic in--in itself.
           13              MR. POSKUS:     I know.   But, Your Honor, one of the

           14   things is that--see now we're going to get into the
           15   accounting issues, but one of the assets that's in the estate
           16   that eventually needs to be part of the SNT is this McKeel
           17   Street property and there's a specific provision in the will
           18   that says that needs to--it--it--that needs to be Joanne's
           19   home.    If she doesn't want to live there then get her a
           20   substitute home, so Mr. Black decides for tax reasons why he
           21   said he did that with the IRA.       Mr. Black always had it in
           22   the back of his mind that at some point or other the SNT was
           23   going to get 100 percent of an asset.
           24               And so at some point or other there needed to be a
           25   balancing off of two-thirds/one-third provision.




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            1               THE COURT:     Well--
            2               MR. POSKUS:     And so there's--there's--once again
            3   we're dealing with snippets but that's a lot of why that
            4   happened.    I mean you can't--if you say two-thirds has to go
            5   one way and one-third another you don't split the house down
            6   at a one-third level, you've got to make up for it some other
            7   way and that's what his thought process was.
            8               MR. DAIN:     Your Honor, both accountants agree--Ms.
            9   Harper even agrees with Ms. Kerr that even with the McKeel
           10   house and even including crediting which we'll get to--it's
           11   just absurd Mr. Poskus and a sleuth of other attorneys saying
           12   that should credit the amount he's short so Ms.--Ms. Black
           13   gets punished twice.      He's still short $200,000.
           14               THE COURT:     Uh-huh.
           15               MR. DAIN:     He's still admitted on the stand if he
           16   has to he'll put in his own money; that's not the way this
           17   works.   Just as--again, we'll get to the fact that it's not
           18   the way it works that you pay all your people and then maybe
           19   you have to pay it back when the Court says that's not how it
          20    works.
          21                But the bottom line is even short of the estate--so
          22    this idea that his intent was always good and he's going to
          23    do two-thirds/one-third, even belies the argument that he had
          24    no control over the disclaimed assets, he did.
          25                HR. POSKUS:    Well--




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            1               MR. DAIN:   They were disclaimed and he gave 100
            2    percent of the Roth IRA to his children.     He shorted the

            3    estate $200,000; he had full control.
            4               MR. POSKUS:   He didn't short the estate 200,000
            5    that's not what Ms. Harper's report says, Your Honor.      And

            6    we--we're getting into that accounting issue and I guess we
            7    can have testimony on that if you want.
            8               I just want to--I just wanted to get back to this
             9   issue we've been discussing.     I understand your point and I
           10    think you and I both know that if we could do it over--and by
           11    we I mean me, Mr. Glatstein, and my client, we would do it
           12    differently.
           13                 But I guess my other point is I don't think the
           14    record has been made--I--I think it was reasonable for them
           15    to assume that they--the testimony so far has been they had
           16    everybody's agreement.     Arid--arid like I said I know what you
           17    said Ms. DiPonio and Ms. Young say they said, but they don't
           18    --they're not able to refute Mr. Glatstein's testimony about
           19    his telephone conference with them.
            20                And so my--at least in my opinion, Your Honor, it's
            21   reasonable for them to have assumed that they had everybody's
            22   agreement.     I understand your point that in your mind they
            23   didn't have your agreement, which is the most important one,
            24   and like I said I'd like to fix that but I can't go back and
            25   do that.




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            1             But at least insofar as what they did--although
            2   they--although you can argue about how they did it, but I
            3   think it's reasonable for them to assuine they thought they
            4   had everybody's agreement.
            5             THE COURT:    Well--
            6             MR. DAIN:    Your Honor, can I argue in opposition to
            7   that.
            8             MR. POSKUS:    Well, we can't--you can't even make a
            9   finding until we have all the evidence in on that, Your
           10   Honor.
           11             MR. DAIN:     Well, on the--on the first point without
           12   the accounting which is really a second question how much to
           13   surcharge, we can argue--I can argue just what Mr. Poskus was
           14   arguing what the evidence should be.
           15             THE COURT:    Right.
           16             MR. DAIN:    And what we need to make clear here when
           17   Mr. Poskus says oh we recognize there's a conflict but the
           18   statute allows him to benefit too, he's misinterpreting the
           19   statute and--and misstating it.    If there is a conflict it
           20   must be addressed to the Court as Your Honor said in a full
           21   open hearing.   So this--so the Court can determine despite
           22   that conflict does it not harm Ms. Black.    Can Mr.--like if
           23   they had a business dealing can Mr. Black also profit.      He
           24   cannot profit at the expense of Ms. Black.    Absolutely.    The
           25   statute is clear on that.    So that's misleading to say that




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            1   he was expressly authorized.
            2               MR. POSKUS:    I'm sorry which statute are you
            3   referring to?
            4               MR. DAIN:    15-14-423 does not--does not permit Mr.
            5   Black to prosper at the benefit of Ms. Black if he has a
            6   conflict.
            7               MR. POSKUS:    Where does it say that--where does it
            8   say there has to be a hearing.
            9               MR. DAIN:     I--you--a conflict--you have to have a
           10   hearing on a conflict, it doesn't need to say it in that
           11   statute.
           12               MR. POSKUS:    But the statute doesn't say that.
           13               THE COURT:     All right.   But the point here is--
           14               MR. POSKUS:     Yeah.
           15               THE COURT:     --the disclosures weren't made; it
           16   wasn't clear; it just didn't happen.        And, you know, the

           17   rationale for that or the reasons for that or whoever thought
           18   what, perhaps but I--you know, we've all worked together for
           19   a while now--
           20               MR. POSKUS:     Right.
           21               THE COURT:     --and Ms. DiPonio and Ms. Young don't
           22   get exercised about much and they're pretty exercised about
           23   this.
           24               MR. POSKUS:     Uh-huh.
           25               THE COURT:     So I'm satisfied that they really




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            1   didn't know it and neither did I.     So I cannot--I have to
            2   find and I do that the disclosure was completely inadequate;
            3   it wasn't up-front, it wasn't clear; didn't explain it, and
            4   really he obtained an order for disclaimer without disclosing
            5   the underlying reasons and what was going to happen with it;
            6   he just didn't.
            7              MR. POSKUS:    Well, if that's going to be your
            8   ruling--
            9              THE COURT:    It has to be.   And none of this
           10   documentary evidence that you've got in the notebook supports
           11   that.   There is no explicit explanation of it in any way,
           12   shape, or form.   It just doesn't exist because it isn't
           13   there; it didn't happen.
           14              Unless there's something else that you want to pull
           15   out and show, but it's just not here.     I don't have in the
           16   notebook; I don't have it in any of these exhibits, it's not
           17   in the transcript of the December hearing.     It's not in the
           18   written form of the orders that I signed.
           19              MR. POSKUS:    Uh-huh.
           20              THE COURT:    So I don't have anything to--to
           21   indicate to me otherwise that I misunderstood something or
           22   that I missed something that was said.     And basically, you
           23   know, what you're faced with is you've got the GAL, the court
           24   appointed counsel and the Court under a misapprehension.
           25              MR. POSKUS:   Uh-huh.




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            1             THE COURT:       And there was no effort made to explain
            2   it away or to do anything.
            3             MR. POSKUS:       Well, Your Honor, you're free to--I
            4   have to deal with you in more cases than this one so I'm
            5   going to--
            6             THE COURT:       I know--and I know you are under a
            7   disadvantage, Mr. Poskus, and I get that, but I mean--like I
            8   say I have my memory of it; I have the specific memory of not
            9   signing that other order because it wasn't in accord with
           10   what I understood what was going on.
           11                MR. POSKUS:    And I appreciate that, Your Honor, and
           12   I can't argue with what your perception of it was.       I--I have
           13   to say--I want to choose my words carefully--I'm disturbed--
           14   yeah--
           15                THE COURT:    You know, maybe I missecl the whole
           16   point, maybe--
           17                MR. POSKUS:    No, I--
           18                THE COURT:    --but--
           19                MR. POSKUS:    --see, Your Honor, your--your memory
           20   of what happened is something that I didn't know until this
           21   moment.
           22                THE COURT:    Right.
           23                MR. POSKUS:    But you need to know this, I did
           24   depose Ms. Young--
           25                THE COURT:    Uh-huh.




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            1             MR. POSKUS:      --and then of course we had Ms.
            2   DiPonio's testimony.      And I understand your point about you
            3   don't see them get angry about much but they're angry about
            4   this.
            5             And quite frankly this is the first I've ever dealt
            6   with them.    I've never had them in a case of mine before.
            7   But--
            8                THE COURT:   Well, that's because they're always on
            9   the guardianship cases.
           10             MR. POSKUS:      I do--
           11             THE COURT:      And the conservator--by and large--
           12             MR. POSKUS:      Yeah.
           13             THE COURT:      --their work is not in trust and
           14   estates it's in guardianships and conservatorships and
           15   looking after the physical well being of people, getting them
           16   out of hoarding situations with bedbugs and--and--
           17             MR. POSKUS:      Uh-huh.
           18             THE COURT:      --and, you know, that sort of thing.
           19             MR. POSKUS:      Yeah, I know and I--
           20             THE COURT:      It's not this sort of stuff that we
           21   deal with mostly when they're in front of me.
           22             MR. POSKUS:      And I--and I get that, I get that.
          23    But what I'm disturbed about is their refusal to concede at
          24    any point that they might have known because even as an
          25    attorney inexperienced in the area of say disclaimers, if




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            1   they're being given that will that says this is how it's
            2   going to go and then they get told and approve that order
            3   that says we're going to exercise a disclaimer that's going
                                                      4th
            4   to go--make it go under Article             ,   can't--I just cannot

            5   accept that they didn't know that's what was going to happen.
            6             MS. DiPONlO:       Your Honor--
            7             MR. POSKUS:       And they approved that.
            8             MS. DiPONlO:       --and I'm disturbed by Mr. Poskus'
            9   comments, as an officer of the court I take my job very
           10   seriously.    If I had any (inaudible) to know I wouldn't have
           11   gotten on the stand and said I had no idea.           I mean--

           12                THE COURT:   Uh-huh.
           13                MS. DIPONIO:    --to think that I would even accept
           14   the fact that my client would lose out on benefits her mom
           15   gave her and approve that is just--
           16                THE COURT:   Right.
           17                MS. DIPONIO:     The Court knows I'm not--
           18                THE COURT:     Arid the--the reason--
           19                MS. DiPONIO:     --about that.
           20                THE COURT:     --I mean the discussion that Mr. Black
           21   has never had with any Court is the one he testified he was
           22   trying to avoid.     And that's why I said at the close of the
           23   last hearing that he had big problems; that needed to be done
           24   and it still hasn't been done and apparently there's no plans
           25   to do it at this point.




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            1             So--I--I don't know what the remedy is then for
            2   that because that's the only thing that could change this is
            3   that discussion.
            4             MR. POSKUS:    You're talking about the discussion
            5   about the legitimacy of the payable on death benefit?
            6             THE COURT:    Right.
            7             MR. POSKUS:    Yeah.
            S             THE COURT:    Otherwise it's a straightforward
            9   self-dealing brief of fiduciary duty and a surcharge case.
           10             MR. DAIN:    And--and, Your Honor, I'm sorry again
           11   there's--the evidence of that is--is (inaudible)   .   But
           12   remember Mr. Black still also hasn't corrected that he filed
           13   an affidavit with the New York Surrogate Court saying he had
           14   explicit authorization from you citing an order that doesn't
           15   exist even beyond a proposed order, a third--fourth order.
           16             THE COURT:    Right.
           17             MR. DAIN:    And--and again--
           18             THE COURT:    At best that was disingenuous but that
           19   was disturbing.
           20             MR. POSKUS:    Well, I can--you know, my problem with
           21   that, Your Honor, is it goes back to what I said near at the
           22   beginning, it was an act he was explicitly authorized to do
           23   and once it happens you can't change the result.
           24             THE COURT:    Right.   But as--we're talking about
           25   right now he obtained that order for the explicit act without




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            1   full disclosure.   So the order was issued under
            2   misapprehension.
            3             MR. POSKUS:    Uh-huh.    Well, I apparently can't talk
            4   you out of that, Your Honor, so I--I guess let me--I don't
            5   know what to do at this point except maybe we ought to take a
            6   break.
            7             THE COURT:    Yeah, I think we should.
            8             MR. POSKUS:    Okay.     What time do you want us back?
            9             THE COURT:    Like we'll come back at 1:30 and--
           10             MR. POSKUS:    Can we make it--let's--since we're
           11   going a little late can we make it 1:45.
           12             THE COURT:    That's fine.
           13             MR. POSKUS:    Because we've got to--
           14             MR. DAIN:     Your Honor, given that Mr. Poskus is not
           15   going to be here, I'll rest at this point and not ask any
           16   further questions of Mr. Black because I think at this point
           17   it's beating a dead horse, riot Mr. Black but the issue.          But

           18   we could spend then the afternoon getting to the bottom of
           19   what the surcharge should be given the brief; we can address
           20   the contempt because if we're not going to be here tomorrow
           21   what I don't want to do, and I'm really afraid of, if we
           22   continue this again--we don't know what happened in July; the
           23   estate account is virtually gone.
           24             THE COURT:     Okay.
           25             MR. POSKUS:     The estate account has 70 something




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            1   thousand in it--
            2             MR. DAIN:     No, no, it does not.
            3             MR. POSKUS:    --and one other asset.
            4             MR. DAIN:     There was another 30,000 paid out.
            5             THE COURT:     And it was represented to have about
            6   100 in June.
            7             MR. DAIN:     It has 30,000--
            8             MR. POSKUS:    Well, like I said, Your Honor, my
            9   client has put--given me the 115 and by the other way the
           10   other 15 to make it 130 is in Mr. Glatstein's trust account.
           11             THE COURT:    Right.
           12             MR. DAIN:     And--and, Your Honor, doesn't that also
           13   go to credibility if Your Honor issued those orders clearly
           14   saying they're frozen to take another 130,000?
           15             MR. POSKUS:    The--
           16             THE COURT:     Well--
           17             MR. POSKUS:    --like I said I--I could argue that.
           18             THE COURT:    --we'll flush it out I suppose in the
           19   afternoon, but, you know, the other related to this is like,
           20   you know, there's been no indication from your client that he
          21    sat down with his cousins who are to be co-trustees and work
          22    with her to deal with this.
          23              MR. POSKUS:    But, Your Honor, I--I--
          24              THE COURT:    If there's only been discussions about
          25    this disclaimer aspect and what to do, but--




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            1              MR. POSKUS:     That's because that's what the issue
            2   was.   I mean remember I did make a representation to the
            3   Court that after the last hearing I'd work with Mr. Dain to
            4   start trying to smooth some of this over and make it happen
            5   and he hasn't done that.
            6              THE COURT:     Right.
            7              MR. POSKtJS:    Now, I know he said he didn't do it
            8   because he didn't want to be a party to fraud, ask him, did
            9   he ever contact me after I gave him--
           10              THE COURT:     Well, but I--I agree--
           11              MR. DAIN:      Your Honor--
           12              THE COURT:      --I mean I understand completely what
           13   Mr. Dain was saying so--
           14              MR. POSKUS:     But then he needs to tell me that.
           15              MR. DAIN:      No, no, and let me add--let me add, Mr.
           16   Poskus--I'll bring them now--I sent two c-mails, I begged Mr.
           17   Poskus to end this.       Have Mr. Black address what he owed and
           18   resolve this and twice Mr. Poskus blew it off saying, oh, we
           19   think the Court is agreeing with us on the issue of the Rule
           20   60, they want this filed.
           21              If Mr. Black is surcharged and pays back, we're
           22   fine, but that has to be part of sitting down, he can't just
           23   say I want to keep all this money.
           24              But to say I--I ignored it is absurd.      I sent him

           25   e-mails and I literally begged, I beseeched him to end this




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            1   thing.   Because we--I said it will not end well for Mr. Black
            2   to keep digging this hole.      What I didn't know is he's taking
            3   more of Ms. Black's money to pay for digging this hole, but
            4   I've reached out to Mr. Poskus twice.
            5              THE COURT:     All right.
            6              MR. DAIN:     This is just so disturbing.   Everything
            7   that's coming from their side they're trying to say, Your
            8   Honor, I don't understand, this is all good faith, we're
            9   doing everything.     No, you just spent a ton of your client's
           10   money; you fought this thing into the ground and I told you
           11   how it would end.
           12             MR. POSKUS:     Now, wait a minute--
           13              MR. DAIN:    I told you not to do it.
           14              MR. POSKUS:    --wait a minute, did you ever tell me
           15   --why didn't you come to one of the other conference calls
           16   and do this with me.
           17             MR. DAIN:     I was in Japan.
           18             MR. POSKUS:     And did you ever tell me that you
           19   weren't going to sign on as a co-trustee because you didn't
           20   want to be a party to fraud?
           21             MR. DAIN:     I didn't know then because you hadn't
           22   given that accounting to Ms. Kerr.     At the time you--you made
           23   a statement to me, Mr. Poskus, you said the professionals
           24   have to wait to get paid when I asked about Ms. Kerr.      Oh,
           25   no, no, the Court was clear the professionals have to wait to




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            1   be paid knowing you had been paid.       At that time knowing you

            2   had been paid $45,000, knowing that other people had been
            3   paid of what amounts to a total of 130,000.        You did not tell

            4   me that.
            5              So to say did I come to you and say, no, I don't
            6   want to be on the trust, once I found out that money had been
            7   stolen, absolutely I will not be on that trust.
            8              MR. POSKUS:     Well, this is the first I've heard of

            9   it.
           10              THE COURT:     All right.    So let's take a break.
           11              MR. POSKUS:     Uh-huh.
           12              THE COURT:     Everybody needs to go to a breather.
           13              MR. POSKUS:     Okay.
           14              THE COURT:     And we'll--
           15              MR. POSKUS:     Timeout, are we going to timeout, Your
           16   Honor?
           17              THE COURT:     We're all going to go to our different
           18   corners and have a break.
           19              MR. POSKUS:     So what time should we be back, it's
           20   now 12:40?
           21              THE COURT:     So 1:45--yeah--
           22              MR. POSKUS:     Can we make it two?
           23                THE COURT:   Do you want to do two?
           24              MR. POSKUS:     Yeah, just because I'm thinking it
           25   takes us awhile just to walk down the street and get lunch.




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            1             THE COURT:    All right.   Two o'clock.
            2             MR. POSKUS:   All right.
            3             (Whereupon, the lunch recess was taken.)
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            1                            AFTERNOON SESSION
            2              THE COURT:    Okay.   The record is back on.       All
            3   right.   So where are we at at this point.
            4              MR. DAIN:     Well, first I want to apologize for
            5   raising my voice before the end of the session that was
            6   inappropriate and I do apologize.
            7              Second, I have no further questions of Mr. Black.
            8              THE COURT:    All right.
            9              MR. DAIN:     And so I don't   know -- oh,   and then let me
           10   bring this up as well, I know the Court had scheduled two
           11   days.    We had anticipated two days because we thought there
           12   was no way this thing could be completed.
           13               I know Mr. Thiessen is here even if Mr. Poskus
           14   can't be--the problem is we're--now, we're going to have to
           15   schedule out again and have me flying back in at another date
           16   either--my hope is we can complete this today or not
           17   depending on what happens tomorrow.        Mr. Thiessen has filed
           18   numerous pleadings, he's been involved from day one, I don't
           19   know why some of these (inaudible)--
           20               THE COURT:    Well--all right.     Let's not--
           21              MR. DAIN:     --(inaudible).
           22               THE COURT:    --get into scheduling--let's see what
           23   we're going to do for the rest of the day and--
           24               MR. DAIN:    Okay.
           25               THE COURT:    --see where we end up with that.




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            1             MR. POSKUS:        Your Honor, for the record I don't--we
            2   have no knowledge of how this got scheduled for tomorrow in
            3   all honesty.     If you look on the transcript of the hearing
            4   that we had on the 17th       we talked--that's when we scheduled
            5   this.
            6             THE COURT:     Yeah.
            7             MR. POSKUS:        And we said August 5th    and--I don't
            8   recall anything in there that says August        6th
                                                                        Our notice of
            9                          5th
                hearing said August            If--believe me if this had been
           10   scheduled for two days I wouldn't have committed to what I'm
           11   committed to tomorrow.
           12             THE COURT:     That's okay.
           13             MR. POSKUS:        So--okay.   Well, anywhere, Your Honor
           14   --I'm sorry?
           15             MR. DAIN:     I was just wondering can we move then
           16   into the issue of the amount of the surcharge?
           17             THE COURT:     Well, that's what I'm going to--that's
           18   what we're going to figure out right now.
           19             MR. DAIN:     Okay.
          20              MR. POSKUS:        Your Honor, I think I need to make a
          21    record so I need to do redirect on Mr. Black.
          22              THE COURT:     Okay.     And how long do you think that's
          23    going to take?
          24              MR. POSKUS:        I actually don't think it's going to
          25    take very long at all?




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            1               THE COURT:    And then what do you want to do after
            2   that?
            3               MR. POSKUS:    I think at that point I'd rest and
            4   then the question is does he want to offer rebuttal.
            5               THE COURT:    Okay.
            6               MR. POSKUS:    So, Mr. Black, could you take the
            7   stand.
            8                            REDIRECT EXAMINATION
            9   BY MR. POSKUS:
           10           Q   Sir, on cross-examination you were asked about the
           11   inventory and financial plan that you filed with the Court.
           12           A   Yes.
           13           Q   Do you recall that testimony?
           14           A   Yes.
           15           Q   And let me ask you this, you had also testified
           16   that you had told Carl Glatstein all the--your testimony--
           17   well, actually I'll let you say what your testimony was
           18   about--how did the inventory and financial plan come about?
           19           A   I prepared a draft; I sent it to Carl Glatstein; he
           20   said this is not what you should be doing under the Colorado
           21   statute.    He said he or he and his paralegal would prepare
           22   the next draft.    And then we went through, you know, some
           23   delay and then eventually, you know, a draft.      And I sent

           24   some information to him and I said I sent information to Mr.
           25   Glatstein about the full three million not just two million.




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            1   And that it was Mr. Glatstein's decision to report the two
            2   million and not separately report the third million; that was
            3   his decision and not mine; I provided the information to him.
            4        Q     I believe you testified that you provided the
            5   information to him in an e-mail?
            6        A     Yes.
            7        Q     All right.
            8              MR. POSKUS:    Your Honor, if I may approach the
            9   witness.
           10              THE COURT:    Thank you.
           11        Q     (by Mr. Poskus)   Sir, I'm handing you what I've
           12   marked as Exhibit 109.     I've tendered a copy to the Court and
           13   tendered a copy to counsel.    And I'll ask you, sir, can you
           14   identify that document?
           15        A     Yes.   This is an e-mail from me to Carl Glatstein
           16   dated May 25th,   2013, subject re documents attached.
           17        Q     And go ahead and take a look through it, is this
           18   the--do you recall sending this e-mail to Mr. Glatstein?
           19        A     Yes.
           20        Q     And then down below there's an e-mail from Mr.
           21   Glatstein to you from the day before, do you recall receiving
           22   that from him?
           23        A     Yes.
           24        Q    And then before that e-mail there's another e-mail
           25   from you to him on May 13th, do you recall sending that




                                                                           BLACK000746
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            1   e-mail to Mr. Glatstein?
            2          A   Yes, I do.
            3          Q   And is this a true and correct copy of the e-mail
            4   that you sent to Mr. Glatstein?
            5          A   It's a true and correct copy of this e-mail chain,
            6   yes.
            7          Q   E-mail chain I misspoke, thank you.
            8              MR. POSKUS:       Your Honor, I move the admission of
            9   Exhibit 109.
           10              THE COURT:      Objection?
           11              MR. DAIN:       No objection.
           12              THE COURT:       Okay.   Admitted.
           13                (Petitioner's Exhibit 109 was received in
           14   evidence.)
           15              MR. POSKUS:       Just one second, Your Honor.
           16                (Pause.)
           17                MR. POSKUS:     Nothing further, Your Honor.
           18                THE COURT:     All right.
           19                MR. DAIN:     Briefly (inaudible)
           20                THE COURT:     All right.
           21                              RECROSS-EXAMINATION
           22   BY MR. DAIN:
           23          Q     Mr. Black, so what discussion did you have then
           24   with Mr. Glatstein about why he wasn't--or he didn't want to
           25   report the one million in the accounts for Bernie--the Bernie




                                                                              BLACK000747
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            1   kids and the 394,000 then in the Roth IRA?
            2        A    I did not discuss this with Mr. Glatstein; I
            3   provided him information and he decided how to report for the
            4   initial inventory and financial plan.
            5        Q    I know.     What I'm asking is when you signed it
            6   didn't you look and say there's something missing?
            7        A    No, I relied on Mr. Glatstein to know what should
            8   be reported and what doesn't need to be reported.
            9             MR. DAIN:    No further questions, Your Honor.
           10             THE COURT:    Okay.    Thank you.   Anything else, Mr.
           11   Poskus?
           12             MR. POSKUS:    Nothing further, Your Honor.
           13             THE COURT:    All right.    Thank you.
           14             MR. POSKUS:    Okay.   At this point, Your Honor, we
           15   rest about this issue.
           16             THE COURT:    Okay.    So, Mr. Dam, were you and Ms.
           17   Wrigley going to testify today originally?
           18             MR. DAIN:    No.
           19             THE COURT:    As to--but before we had our
           20   discussion--
           21             MR. DAIN:    I--I--before we had our discussion, yes,
           22   I was going to have Ms. Wrigley testify.
           23             THE COURT:    Okay.
           24             MR. DAIN:    If the Court thinks it still needs to
          25    hear from Ms. Wrigley I can put her on the stand, but from




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            1   the indication the C Durt has given I don't think (inaudible).
            2             THE COURT:     Well--
            3             MR. DAIN:     It sounds like you're concerned.
            4             THE COURT:     Well, I just want my record to be--
            5             MR. DAIN:     Absolutely.
            6             THE COURT:     --thorough.
            7             MR. DAIN:     Absolutely.    Why don't you go up and

            8   take the stand.
            9             THE COURT:     So would you raise your right hand.
           10   first please.
           11             MS. WRIGLEY:     Should I stand?
           12             (Whereupon, Ms. Wrigley was sworn in.)
           13                             CHERIE WRIGLEY,
           14   called as a witness herein, having been first duly sworn, was
           15   examined and testified as follows:
           16              THE COURT:    Thank you.
           17              THE WITNESS:    Ant I talking all right?
           18              THE COURT:    There you go.
           19              THE WITNESS:    Okay.   Okay.

           20                           DIRECT EXAMINATION
           21   BY MR. DAIN:
           22        Q     Good morning, Ms. Wrigley.
           23        A     Good morning, Mr. Dam.
           24        Q     So you heard Mr. Black testify that he had
           25   conxrersations with you about this disclaimer?




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            1        A    Idid.
            2        Q    Before--when--when was the first time that you had
            3   a conversation that you recall with Mr. Black regarding a
            4   disclaimer?
            5        A    It would have been somewhere in 2012--
            6        Q    And--
            7        A    --the words disclaimer were used.
            8        Q    --and who first brought up those words?
            9        A    Bernard Black.
           10        Q    Did you prior to that know what a disclaimer was?
           11        A    No, other than disclaim means to negate or to not
           12   allow.
           13        Q    Okay.   Why don't you tell the Court briefly what
           14   your background is in terms of education and employment.
           15        A    Yeah, I'm a retired high school resource
           16   specialist, which is a combination counselor, teacher.     I
           17   work with--I worked with--I worked with special needs
           18   children, behavioral--kids with behavioral problems, helping
           19   them find their way in life.   I had a multitude of tasks that
           20   I had to engage in.
           21             And I have two masters degrees and I do a lot of
           22   pro--not pro bono work, I do a lot of volunteering and I work
          23    with people who are mentally ill and I volunteer at the
          24    homeless shelter where my specific work is dealing with
          25    people who are mentally ill.




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            1        Q    Okay.      I've heard the word CASA before what does
            2   that mean?
            3        A    Oh, that's right and I--for two and a half years I
            4   was CASA--which is in the state of California it's similar to
            5   what a GAL is, it's a Court Appointed Special Advocate where
            6   I'm the eyes and ears of the court for a child who is being
            7   held and needs--a foster child who needs special help when
            8   they've been taken away from their parents.
            9        Q       Okay.   You've obviously known Joanne Black most of
           10   your life.
           11        A       Exactly.
           12        Q       Have you known her through childhood before she
           13   began showing signs of schizophrenia?
           14        A       Yes, I--I met her when she was like nine--I'm four
           15   years older--so I met her when she was nine.
           16        Q       And you've been involved in her life until today?
           17        A       Correct.
           18        Q       Had there been times that for instance where you
           19   and I have helped have her committed to--while she was in New
           20   York to one or more hospitals?
           21        A       Yes.    Basically, yes.
           22        Q       You've dealt with her through commitments at
           23   Bellevue Hospital--
           24        A       Yes.
           25                --in New York and other hospitals in New York and




                                                                            BLACK00075 I
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            1   New Jersey?
            2        A    Yes.
            3        Q    And in your work experience you're familiar with
            4   people who suffer from schizophrenia, the--the symptoms and
            5   the issues that--that come up?
            6        A    Yes.
            7        Q    Okay.   So now going back to when Bernard Black
            8   first brought up the word disclaimer how did he--how did the
            9   conversation come about, how did he bring that up?
           10        A    Well, he brought it up because he was very
           11   concerned, he told me that my aunt Renata, his mother, had
           12   left the entire amount of Vanguard funds to Joanne.     He
           13   didn't even mention at that time that 1 percent to each of
           14   his five older children.   And he was very, very upset.
           15             He didn't--and then that's how he first mentioned
           16   it and--and he wasn't sure what to do.
           17        Q    Was he--
           18        A    So then--
           19        Q    I'm sorry.
           20        A    --then the disclaimer later came out.
           21        Q    Okay.   When you had this first conversation was his
           22   concern that--was his main concern that the money was being
           23   left outright to Joanne or that he and his children weren't
           24   getting a part of that money?
           25        A    No, mostly that it was being left outright to




                                                                             BLACK000752
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            1   Joanne and how would she handle that.
            2        Q    And--and you were also concerned that Joanne not
            3   have $3 million outright?
            4        A    Of course.
            5        Q    At that time when Renata passed away did you know
            6   where Joanne was?
            7        A    I had suspicions that she might be in Colorado.
            8        Q    And how did you have those suspicions?
            9        A    Before Aunt Renata died she had given me some of
           10   her phone bills and it was noticed on there that she had been
           11   calling from Colorado.
           12        Q    And how did you track down Joanne?
           13        A    With a great deal of sleuthing.    I--I took those

           14   phone bills and I kind of tracked her down and I found out
           15   that she had purchased a phone and had sent it to a motel and
           16   so I was kind of following her in that way, figuring out
           17   where she was getting--she was buying new phones on a
           18   consistent basis.
           19        Q    And eventually you were involved in tracking her
           20   down and helping Mr. Esaun Pinto get her back to the New
           21   York, New Jersey area?
           22        A    Correct.
           23        Q    Where she was hospitalized for a period of time?
           24        A    Uh-huh.
           25        Q    Then in terms of the disclaimer--just getting right




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            1   to it--did Mr. Black ever have a conversation with you in
            2   which he said the intent or purpose of the disclaimer was to
            3   transfer the paid on death assets so that Joanne Black would
            4   get only two-thirds of the assets and Mr. Black and his
            5   children would get one-third?
            6        A      Never.
            7        Q      Have you looked through all the e-mails that you
            8   exchanged with Mr. Black?
            9        A      I have looked through every e-mail that I exchanged
           10   with Mr. Black and Becca and the few that I had with Sara.
           11   I've never talked to Sara on the telephone.
           12        Q      Okay.    So now when you mentioned Becca, that's
           13   Rebecca, one of Mr. Black's children by his first marriage?
           14        A      Correct.
           15        Q      And you mentioned Sara that's another child by his
           16   first marriage?
           17        A      Yes.
           18        Q      So you've gone through all those e-mails, did you
           19   find in any of those e-mails an explanation from Mr. Black
           20   that explained that one-third of the disclaimed assets were
           21   going to go to an Issue Trust for the benefit of him and his
           22   children?
           23        A      Absolutely not.
           24        Q      Did Mr. Black tell you how he came up with the
           25   concept of a disclaimer?




                                                                           BLACK000754
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            1          A    No.
            2          Q    Did he explain to you what he intended the
            3   disclaimer to do?
            4          A    No.   I mean if--if anything, I only assumed he
            5   wanted to take care of the sister and put the money in a
            6   special needs trust until she got better.
            7          Q    Now, he sent you a disclaimer for Joanne to sign.
            8   What did you understand he was asking you to do?
            9          A    I agree on that point that I was going to try to
           10   get Joanne to sign something from Vanguard.     It was a simple

           11   thing that just said you are disclaiming some assets.     And I

           12   assumed that if I could get her to sign that, Bernie would
           13   put it in the Special Needs Trust that you would have control
           14   over.
           15          Q    Arid you've seen--you've been in court when you
           16   heard the testimony--I mean the statement at the December
           17   11th   hearing in which Mr. Black explained the basic purpose
           18   was to put the money in a trust where I was the trustee to
           19   financially support Joanne?
           20           A   Right.
           21           Q   And was that your understanding?
           22           A   Absolutely.
           23           Q   Now, why did Bernie Black ask you to try to get
           24   Joanne Black to sign?
           25           A   Because I was the one--if she was going to trust




                                                                              BLACK000755
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            1   anybody in this world, it would have been me.
            2        Q    And was the idea is that you were going to come to
            3   Colorado to have her sign that?
            4        A    Yes.
            5        Q    And why is it that that never occurred?
            6        A    Well, I was going to, and then she was kind of
            7   moving from hotel to hotel, and he kind of said I've got
            8   another way I might be able to do this, and it just kind of
            9   fell by the wayside until much later.
           10        Q    And during this time was your main concern that
           11   Joanne not have all the paid-on-death assets outright but
           12   that they be placed in a special or Supplemental Needs Trust?
           13        A    I had no idea that Bernard had moved the money.       I
           14   thought they were sitting safely in Vanguard.    I didn't find
           15   out for a year and a half to two years that he had done
           16   anything with the money.   I thought they were still in
           17   Vanguard, and I have e-mails showing that I still thought
           18   they were at Vanguard.   I never knew he moved them.    Not only
           19   did I not know he disclaimed them, I never knew he moved them
           20   from Vanguard.
           21        Q    Now, did you ever have a conversation with Bernard
           22   Black's wife in which the subject of a disclaimer came up?
           23        A    I have never spoken to Kate Black--or Litvak Black
           24   except at the funeral and on the phone to say, "Excuse me,
           25   could I please speak to Bernie."




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            1          Q    Now, when you--you said you spoke to Sara on the
            2   phone, what--
            3          A    I'm not sure we did speak on the phone.     I think--

            4          Q    Oh, I'm sorry, you said you never talked to her on
            5   the phone.
            6           A   Right, we talked via e-mail.
            7          Q    E-mail.   In any of those e-mail exchanges with Sara
            8   Black did you discuss the affect of a disclaimer?
            9           A    No, we only spoke about money once that I can
           10   remember.
           11           Q    Did--and same with Rebecca Black; did you discuss
           12   the affect of a disclaimer?
           13           A    We talked about a paper that her dad wanted her to
           14   sign.
           15           Q    Tell us what that conversation was.     I said, "Your

           16   dad really wants"--something to the effect of your dad really
           17   wants to see you.     She said I don't want to go see my dad.
           18   This was a constant battle.        She didn't want to go see her
           19   dad.
           20                THE COURT:   This is Sara or--
           21                THE WITNESS:   Becca.
           22                THE COURT:   Becca.
           23                THE WITNESS:   Yeah, they did not have the best of
           24   relationships.     And I just said, okay, your dad wants to see
           25   you; he wants you to sign a paper.        I basically told Bernie




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            1   I'm not going to drag her by her hair to come see you; do you
            2   want to come to Thousand Oaks, which he usually didn't want
            3   to do.   It's an hour drive.    And I don't remember--he did
            4   come once to visit her in Thousand Oaks.     I don't remember
            5   if--I don't remember if he had her sign a paper there.       I
            6   don't think so, because it wouldn't have been notarized.         But
            7   I had no idea what the paper was.     I didn't really read it.
            8   And to be honest with you, if I had known what it was, I
            9   would have told Becca to take her one percent and run.
           10        Q     (by Mr. Dam)    And so what I'm getting at with
           11   respect to disclaimer, did you have any understanding that
           12   the disclaimer of the one percent that Becca and Sara had had
           13   any affect on the 95 percent that Joanne was supposed to
           14   receive?
           15        A     I never spoke to Bernie.   He would give me two
           16   minutes of his time, and the two minutes I had were to talk
           17   about give Joanne more money.    He started out giving her 280
           18   a week and I had him raise it to 500 a week.
           19        Q     Oh, you mean the conversation was you telling him
           20   to give Joanne more money?
           21        A     Yeah.   We didn't talk disclaimer.   We didn't talk
           22   any amount of money, about his children.    We only talked the
           23   few minutes that I could talk to him--I don't know what his
           24   200 phone calls were, but I have phone records.    We did not
           25   talk near what he's saying we talked.




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            1        Q      And--
            2        A      And it wasn't about a disclaimer or where that
            3   money would go.
            4        Q      Now, when he sent you these form disclaimers that
            5   he wanted you to have Pecca sign and Joanne sign, we've seen
            6   from the e-mails there's nothing explaining them.     Did he

            7   have any phone conversation with you in which he explained
            8   them?
            9        A      Absolutely not.
           10        Q      So in the end, did you have Joanne sign a
           11   disclaimer?
           12           A   Absolutely not.
           13           Q   Did you have Becca or Rebecca sign a disclaimer?
           14           A   No.
           15           Q   Did you have Sara sign a disclaimer?
           16           A   I've never talked to Sara.   She lives in New York;
           17   I live in California.
           18           Q   Now, in terms of Mr. Black saying it was clear to
           19   him that you understood that he was going to get one-third of
           20   the assets that were disclaimed, what's your response to
           21   that?
           22           A   Well, I would say that that is preposterous.     I

           23   didn't--I never knew that he would be getting one-third of
           24   any of Joanne's POD accounts.    All of those I would think
           25   that would be saved for her.    I did know that one of the




                                                                             BLACK000759
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            1   wills said that he would get one-third--he and his children,
            2   and I mean five children, not seven.      It was very explicit
            3   that Renata did not want his two little kids to get any money
            4   whatsoever.   Five children and Bernard would get one-third of
            5   her estate minus the MclKeel house and the Holston House,
            6   which were to go to Joanne.
            7        Q    Now, you said you understood that the assets--these
            8   paid-on-death assets were at Vanguard.      Did you have
            9   conversations with Renata Black about why she put assets in
           10   Vanguard for Joanne Black?
           11        A    Did I have--say it again.
           12        Q    Did you ever have conversations with Renata Black
           13   about why she put assets in Vanguard for Joanne Black?
           14             MR. POSKUS:     Objection.   Hearsay, Your Honor.
           15             THE COURT:    We have--
           16             MR. DAIN:     Same--I'm sorry, before you do that,
           17   same point goes to her state of mind since this is what is at
           18   issue whether she understood the effect of this disclaimer.
           19   Mr. Black has also raised that this was not his mother's
           20   intent, so I think it's important that we understand from her
           21   view what she understood his mother's intent to be.
           22             MR. POSKUS:    He needs to rephrase the question
           23   though.
           24             MR. DA]IN:   I don't know that I do.
           25             THE COURT:    Overruled.




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            1             THE WITNESS:    I do know that Renata always promised
            2   Joanne that she would be well taken care of and that she
            3   would have plenty of money for the rest of her life.     I did
            4   not know that she would leave it all to Joanne, okay, in cash
            5   without having put some of it into the special needs trust.
            6   I really thought you were going to be handling that.     So that
            7   surprised me.     But she died suddenly.   But I do know that she
            B   expected Joanne to have the huge majority of her assets.
            9             Yes, we spoke about the fact that Joanne--that
           10   Bernie was only to get $50,000; he knew that.     That only five

           11   of the grandchildren were to receive a small amount and that
           12   Joanne was to get the rest.     She--it was surprising to me, I
           13   have to say, that she would have left Joanne the money
           14   unattended.     That was a surprise, and I did speak to Bernie
           15   about that.     We both were in agreement to leave her the money
           16   outright without some kind of--
           17        Q     (by Mr. Dam)     Protection?
           18        A    --protection, of course, was--was a little off.
           19        Q    Okay.     And was your understanding of the purpose of
           20   the conservatorship to set up a method to--to marshal those
           21   paid-on-death assets and have some protection from the Court
           22   and a conservator over those assets?
           23        A    Absolutely.     That's why I've been--I was working
           24   with him all the way until he claims when it became a dispute
           25   over my asking for some reimbursement.      I worked with him all




                                                                            BLACK000761
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            1   the way because I thought he was going to take care of his
            2   sister.    When I saw that he wasn't, that's when we had a
            3   dispute.   And I begged him in phone conversations and in e-
            4   mails to please not do what he was doing, and that's when I
            5   found out he had already moved the money from Vanguard and he
            6   had done a lot of deceitful things.
            7        Q     And in terms of the wills that have come up, you're
            8   aware now that there is a will that Mr. Black probated?
            9        A     Yes.
           10        Q     That's the one you're referring to that has this
           11   article 4 and--
           12        A     Right, it's an old will from 1997.
           13        Q     And you become aware that--or became aware at some
           14   point there's a second will that Mr. Black did not probate?
           15        A     Right.   I always knew there was a second will.     I
           16   just didn't know that I would find a copy of it signed and
           17   everything.   It was in papers that I had not unearthed yet.
           18        Q     And tell us about that?
           19        A     Okay.    Well, I was helping to clean out the house
           20   as a favor to Bernie and I put a bunch of papers from
           21   Joanne's room into boxes; most I sent to his basement and a
           22   couple boxes I took because I thought, well, I'll probably
           23   see Joanne maybe before he does.     And as I was unearthing it,
           24   and that was like maybe a year later or so, I found a signed
           25   copy of the will and I told him about it and, you know, he




                                                                          BLACK000762
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            1   wasn't happy that I had it.   I don't think he knew it was an
            2   original signed will, but--
            3        Q    Where is that will now?
            4        A    It's in my home.
            5        Q    Okay.   And you know that--how do you know that Mr.
            6   Black has a copy of it?
            7        A    Well, because he--he showed it to me right after
            8   his mom died.
            9        Q    Okay.
           10        A    And he--he showed it to others too.
           11        Q      Okay.   Were you a part of the--or were you a
           12   party to the probate of the estate?
           13        A    No.
           14        Q    So were you receiving any notices from Mr. Black or
           15   the court regarding the probate of the estate?
           16        A    No, I had no idea what he was probating.
           17        Q    When did you first learn that Mr. Black had put
           18   one-third of the paid-on-death assets other than the Roth IRA
           19   into an issue trust?
           20        A    I think when Pain started uncovering all of this.
           21   didn't know any of this until right around then.
           22        Q     When you received the account and report that Mr.
           23   Black filed after the conservatorship, did you see anything
           24   in there that indicated to you that he had put one-third into
           25   an issue trust?




                                                                            BLACK000763
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            1        A    No.
            2        Q    And did you know that there was a Roth IRA that he
            3   had distributed 100 percent to his children?
            4        A    Absolutely not.     And let me just also say, Joanne
            5   when she was still in a psychotic state kept telling me about
            6   all this money that Bernie had stolen from her.    But when
            7   she's in a state--you know, she told me her mom's thing was
            8   worth eight million, so I never know what's true and what's
            9   not, so I didn't follow up on it.
           10        Q    But you did question Mr. Black when you saw in the
           11   accounting report that there was 2.4 million.     In fact, did
           12   you not question him that you thought he had lost money?
           13        A    I did.    I questioned his financial expertise and
           14   wondered what he was doing when the market had been going up
           15   20 percent year after year.    I questioned his--he calls
           16   himself a financial expert, genius, whatever, and we had some
           17   discussions about that.
           18        Q    Did he tell you at that time, well, I've
           19   transferred a third of the assets into a trust?
           20        A    Absolutely not.    And he told me it was none of my
           21   business, that he would discuss it with you, since you were
           22   the trustee.
           23        Q    Okay.    And when did this conversation take place?
           24        A    I have the e-mail.    I would say somewhere in late
           25   2013, maybe 1 14, but that--I still thought--I even wrote--I




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            1   still thought the money was in Vanguard.      Maybe 2014.    He

            2   never told me he had moved the money.
            3        Q    And obviously you're here today, but if you had
            4   known at the time that he was applying to be the conservator
            5   that he was going to take a third of those paid-on-death
            6   assets, transfer them to an issue trust, and then take the
            7   Roth IRA and transfer it to his children, would you have
            8   objected at that time?
            9        A    I would have objected immediately at that time.
           10             MR. DAIN:     Okay.    Thank you, Your Honor, I have no
           11   further questions.
           12             THE COURT:     Okay.
           13             THE WITNESS:     Is somebody going to cross?
           14             THE COURT:     Do we know what the date is on the
           15   other will?
           16             THE WITNESS:     Yes, 2010.    I have--you have a copy
           17   actually of that will, because I--when I objected, I put it
           18   in my exhibit.   I objected to one of Bernie's wanting to be
           19   the guardian.    So I--it was in February of 2015, and I sent
           20   an exhibit of the will.
           21              THE COURT:    Okay.
           22              THE WITNESS:     It's three pages and it's signed by
           23   three people.
           24        (Pause.)
           25              THE COURT:     Well, I don't know which is which.




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            1   Sorry.
            2              MR. DAIN:     It's okay, Your Honor.
            3               THE WITNESS:    I think I've only--oh, you're close.
            4               THE COURT:    That's not it.
            5               THE WITNESS:    No, that's the letter my aunt wrote
            6   to Bernie telling him that some of the jewelry is mine--I
            7   mean my mother's, which at first he said yes it was and then
            8   he said no it wasn't.      But it will be in that.    I have like
            9   four exhibits, so it's one of those exhibits.        There.
           10          (Pause.)
           11               THE COURT:   Okay.   Okay.
           12                            CROSS-EXAMINATION
           13   BY MR. THIESSEN:
           14          Q   Good afternoon, Ms. Wrigley.
           15          A   Good afternoon.
           16          Q    You testified you had a conversation with Bernard
           17   Black in the summer of 2012?
           18          A   Yes.
           19          Q   And you in fact had multiple conversations with
           20   him?
           21          A   Yeah.
           22          Q   And you testified that it was his main concern was
           23   that Joanne not receive the funds outright?
           24          A   His main concern that she not receive the funds
           25   outright, yes.




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            1        Q    And this was his main concern, correct?
            2        A    Yes.
            3        Q    When you had these discussions with Mr. Black, you
            4   specifically discussed the two-third, one-third distribution
            5   under the estate of Renata Black, didn't you?
            6        A    Not that I recall.
            7        Q    You had in fact discussed it on multiple occasions,
            8   didn't you?
            9        A    Not that I recall.
           10        Q    And you specifically discussed that of the three
           11   million, only two million was to go to the SNT for Joanne
           12   Black?
           13        A    Not that I recall.
           14        Q    And you--you did not have more than one
           15   conversation with him about the two-thirds distribution to
           16   the SNT for Joanne Black?
           17             MR. DAIN:    Well, Your Honor, I'm going to object.
           18   That's a compound sentence regarding--
           19             MR. THIESSEN:     Sure, I'll rephrase.
           20             THE COURT:    All right.
           21             THE WITNESS:    I mean if I wrote an e-mail and you
           22   have it, then apparently my memory is off, but I don't
           23   remember having any kind of conversation like that with
           24   Bernie Black.
           25        Q     (by Mr. Thiessen)    Do you recall having a




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            1   conversation about the disclaimer?
            2             MS. DiPONlO:     Your Honor, I believe this has been
            3   asked and answered.
            4             MR. THIESSEN:     Your Honor, I'm allowed to examine
            5   her on cross.
            6             THE COURT:     I thought that was your first question.
            7             MR. THIESSEN:     No, the first question was what was
            8   Bernard Black's main concern giving--
            9             THE COURT:     Right, and then you asked about--
           10             MR. THIESSEN:     --funds outright.
           11             THE COURT:     --the disclaimer.
           12             MR. THIESSEN:     I'll--I think it's fair to ask again
           13   with respect to some exhibits.        I will not belabor the issue,
           14   Your Honor.
           15             THE COURT:     All right.
           16        Q     (by Mr. Thiessen)    You in fact had a discussion
           17   with Mr. Black about the disclaimer, correct?
           18        A    Yes.
           19        Q    And in fact he sent you an e-mail with a disclaimer
           20   form for Joanne Black?
           21        A    Yes.
           22        Q    And it was your idea to go to Denver to have Joanne
           23   Black sign the disclaimer?
           24        A    I suggested--yes, I suggested that I might be able
          25    to go to Denver and have her sign something like that.




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            1        Q      And he also sent you an e-mail with respect to a
            2   disclaimer for Becca Black?
            3        A      He sent me some papers; I didn't look at it.
            4        Q      Can you turn to Exhibit 80, please?
            5        A      Sure.   I think it's right here.   Forms for Becca to

            6   sign.
            7        Q      Do you recall receiving that e-mail?
            8        A      If there's an attachment--
            9        Q      Feel free to look at it.
           10        A      Okay.   Yeah, so I probably didn't open up the
           11   attachment, but yeah, I mean--yeah, I didn't open up the
           12   attachment because he just said a form for Becca to sign, and.
           13   I think he wanted me to take her to a notary or something
           14   like that.    I don't recall.   Did I do that?
           15           Q   I don't know, did you?
           16           A   No, not that I recall.
           17           Q   Okay.   Did. he--
           18           A   I do remember, you know, yeah, I got this e-mail,
           19   but did I discuss anything further with that?      No, I didn't

           20   know--I didn't pay attention.     I don't remember opening up an
           21   e-mail, I don't remember printing it, if she did.
           22           Q    During your testimony, you said that you and Mr.
           23   Black spoke about the five grandchildren receiving a small
           24   amount from the estate of Renata Black; is that correct?
           25           A    Well, small.   I mean whatever would be left over




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            1   after all the expenses were paid, taxes and everything were
            2   supposed to be paid out of the estate, not from Joanne's
            3   part.
            4        Q    You also testified to having exchanges--at least
            5   one e-mail exchange with Ms. Sara Black?
            6        A    Oh, I had several exchanges with Sara.
            7        Q    And that would have been in the summer of 2012?
            8        A    Yeah, and maybe even one later.
            9        Q    Could you please turn to Exhibit 52?     I'm sorry,
           10   it's not--it's not 52; I'm sorry, it's 49.     And is this an e-
           11   mail from your e-mail address, cheriewrigley@yahoo.com?
           12        A    Yeah, it's one of--I have way more e-mails than
           13   this in my--
           14        Q    And is it dated July 21st,   2012?
           15        A    Yes.
           16        Q    And is it to Sara Black?

           17        A    Yes.
           18        Q    and if you'll take a look the sort of second
           19   paragraph where it starts with "I".
           20        A    Yeah.
           21        Q    Could you please--and you've scrolled to the end of
           22   that sentence it says, "1 don't want to spoil any good news,
           23   but I'm sure your dad has told you that once your
           24   grandmother's estate goes through probate shortly you will
           25   have more than enough to pay for all your schooling needs."




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            1        A     Urn-hum.
            2        Q     And so in fact you were--you were telling her that
            3   it wasn't--she wasn't going to receive a small interest?
            4        A     I thought she was going to get about $25,000,
            5   $30,000.   She was going to graduate school for a year.
            6        Q     And in your mind that was--that was sufficient for
            7   graduate school, to pay for more than enough of her schooling
            8   needs?
            9        A     Yeah, that, s what approximately I was told that
           10   they would get. Either Bernie had told me that's what
           11   Benjamin and the other one, David, were going to be getting.
           12   That that would be what he approximated they would be
           13   getting.   He didn't say to me it was one percent.    He just

           14   said that's about what it would be.      And so, you know, that's

           15   about what I thought she would get too.      You know, I'm not

           16   going to go any further than that, but--I have many more from
           17   Sara discussing things with her, but not money, just
           18   discussing her general wellbeing.      But I've never spoken to
           19   her on the phone.
           20        Q     You--and is that e-mail Exhibit 49, is that a true
           21   and correct copy of the e-mail you sent?
           22              MR. DAIN:   There's no objection if he wants to
           23   admit.
           24              THE WITNESS:      Yeah, I'm sure it is.
           25              MR. TI-IIESSEN:   I move to admit Exhibit 49, Your




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            1   Honor.
            2               THE COURT:     Admitted.
            3               (Petitioner's Exhibit 49 was received in evidence.)
            4        Q      (by Mr. Thiessen)     You also expressed that you were
            5   surprised that the--I believe these were your words, the
            6   money was left to Joanne unattended.
            7        A      Yeah, that it was left outside of the special needs
            8   trust.
            9        Q      And so you needed--you needed to speak with Bernard
           10   Black about how to arrange for those funds to be not left to
           11   Joanne outright, correct?
           12        A      No.
           13        Q      You testified that you've never had a phone
           14   conversation with Ms. Kate Litvak; is that correct?
           15        A      Yes, to the best of my knowledge.
           16        Q      One moment, ma'am.
           17               (Pause.)
           18        Q      Sorry.     You testified that Renata expressed concern
           19   about Joanne's ability to manage the funds on her own; is
           20   that correct?
           21        A      Yes.
           22        Q      And when you talk about a trust for Joanne, what do
           23   you mean?
           24        A      Renata had wanted to have a special needs trust
           25   that my brother would help take care of.




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            1        Q    Well, you also exchanged e-mails with Mr. Black
            2   around--in 2012.   You testified specifically you reviewed all
            3   the e-mails.
            4        A    Of course.
            5        Q    Do you recall an e-mail from November of 2012 where
            6   Mr. Black would have explained to you with respect to Becca's
            7   disclaimer the reasons that Becca should disclaim?
            8        A    No, I don't, so you would have to show that to me.
            9        Q    Sure, I would be happy to do that.
           10             MR. THIESSEN:    Your Honor, I apologize, but we do
           11   only have it on the laptop.     We'll certainly print it.   We
           12   can admit it later, but I think it's fair for her to at least
           13   view the e-mail.   If Mr. Dain wants to view it, certainly.
           14             THE COURT:    And what is this?
           15             MR. THIESSEN:    This is an--this is an e-mail from
           16   Mr. Black to Cherie Wrigley dated November        2012.
           17             MR. DAIN:    Yeah, I mean is this the total of the e-
           18   mail?
           19             MR. THIESSEN:    Yes, it is.
           20             MR. DAIN:    I have no objection as long as he prints
           21   out whatever it is--
           22             THE COURT:    Okay.
           23             MR. DAIN:    --and show it to the Court too.
           24             MR. THIESSEN:    Sure.
           25             THE COURT:    Show it to Ms. Wrigley.




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            1              THE WITNESS:     Could you make it a little bit
            2   bigger?
            3        Q     (by Mr. Thiessen)    Certainly.   I'll try.
            4        A     You can read it.
            5        Q     Is that better?
            6        A     Urn-hum.
            7        Q     Do you recall?
            8        A     Did I respond to this e-mail?
            9        Q     Did you?
           10        A     I don't remember reading this e-mail.    So did I
           11   respond to it?   You know, I do get, you know, e-mails not
           12   necessarily from Bernie a lot, but I don't remember getting
           13   that e-mail because I do remember informing him about his
           14   daughter having issues with a therapist and I don't remember
           15   --I don't remember that e-mail though.
           16        Q     And just for the record, I'll read the relevant
           17   portion.   I'm not--I don't have very much further, Your
           18   Honor.
           19              THE COURT:   What's the date?
           20              MR. THIESSEN:    The date is November 5th,    2012.    It
           21   is an e-mail from Bernard Black to Cherie Wrigley.       The
           22   subject line is "Becca documents."     There is no one copied.
           23   The second paragraph is, "For the waiver, please stress to
           24   Becca that this is for her benefit and her siblings period
          25    which is, because with no waivers, 95 percent goes to Joanne.




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            1   I'll make sure she gets the benefit of her one percent share,
            2   and more, this is for her benefit."    Do you recall that

            3   explanation Bernie Black gave you?
            4        A     I don't, but it still doesn't negate the fact that
            5   95 percent would have gone to Joanne.
            6        Q     Right, but--but specifically with respect to the
            7   statement Becca would receive one percent--her one percent
            8   share and more; that's consistent with Mr. Black's testimony
            9   that you arid he were attempting to convince Becca to sign the
           10   disclaimer so that all funds could be disclaimed and funded
           11   two-thirds, one-third into the estate?
           12        A     No, it doesn't.   First of all, I don't remember
           13   that particular e-mail, and it doesn't say two-thirds, one-
           14   third, it just says that Becca is going to (inaudible) one
           15   percent.
           16        Q     But what--
           17        A     What I'm more concerned about is how he was about
           18   the therapist.     That his own daughter was suicidal and he was
           19   disregarding it.    Read the part about the therapist.
           20        Q     With all due respect, that doesn't have anything to
           21   do with today's proceedings.
           22        A     Of course it doesn't.
           23              MR. DAIN:    Wow, wow, wow, why don't we just have
           24   the--
           25              THE WITNESS:    Because that's all Bernie--that's




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            1   what I talk to Bernie about.     Whether I read any of the rest
            2   of that, let me tell you, when his daughter was suicidal,
            3   that's all I cared about.     I didn't read the rest of that.
            4              MR. THIESSEN:    Thank you, Your Honor.     Nothing
            5   further.
            6              THE COURT:    Okay.
            7              MR. DAIN:    If you would just leave that up there,
            8   so I can--
            9              MR. THIESSEN:    Oh, certainly.     Certainly.
           10              THE WITNESS:    I don't remember reading the rest of
           11   it, and I don't remember responding to the rest of it.          I do
           12   remember having conferences with him and his therapist--about
           13   her therapist.
           14              MR. DAIN:    Thank you.
           15              THE WITNESS:    That's the important issue.
           16                           REDIRECT EXAMINATION
           17   BY MR. DAIN:
           18        Q     While we're waiting on that e-mail, you were aware
           19   that Renata had real property, correct?
           20        A     Yes.
           21        Q     And Mr. Black sending you an e-mail saying that
           22   Rebecca will get one percent and more.       Did you have any
           23   understanding whether she was going to get anything from the
           24   remainder of the estate of Renata Black?
           25        A     Yeah, I assumed that she was going to get something




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            1   from--the estate included like three houses--I mean she had
            2   five houses; two were supposed to go to Joanne outright, a
            3   condo and McKeel, that's still in the possession right now.
            4   The three houses, one that she lived in and I think two
            5   others, were supposed to be then divvied up two-thirds/one-
            6   third.
            7        Q        Okay.    So let's read the whole e-mail; it's not
            8   very long.      I'll read it to you.    It's Monday, November 5th,
            9   2012.       So this is now just three weeks before this hearing on
           10   the conservatorship.        First line, "I will bring Becca's birth
           11   certificate and SS card.        For the waiver, please stress to
           12   Becca that this is for her benefit and her siblings."        And

           13   you understood her siblings to be her brothers and sisters?
           14           A      Yeah, I mean--
           15        Q         Bernard's other children?
           16           A      Yeah, I really don't remember reading that.
           17           Q      Okay.
           18           A      Okay.
           19           Q     "Which it is, because with now waivers 95 percent
           20   goes to Joanne.        I'll make sure she gets the benefit of her
           21   one percent share and more this is for her benefit"--all one
           22   sentence.       Mr. Black says, "I'll make sure she gets the
           23   benefit of her one-percent share."         Did Mr. Black explain to

           24   you why he couldn't try to explain this to Rebecca himself?
           25           A      No, other than the fact that they had a very poor




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            1   relationship.
            2        Q    But again, as you said before, this says nothing
            3   about one-third of--
            4        A    No.     No.
            5        Q    --the 95 percent going to a--an issue trust?
            6        A    And I had no idea what one percent he was talking
            7   about even.
            8        Q    Okay.    Now, the paragraph you mentioned that you
            9   were focused on is "Separately, if the therapist is in fact
           10   saying the things that Becca reports based on very partial
           11   information after one visit, this is a very bad sign.     I'm
           12   willing to believe for a little bit that Becca is
           13   misreporting, but I will need comfort on this soon or else we
           14   will need a new therapist.    Bernie."
           15             That's what you're saying you were concerned about,
           16   that part of the e-mail?
           17        A    That--I remember vaguely that part, but we had
           18   numerous conversations about Becca, therapy, and how he was
           19   treating his daughter.
           20        Q    So assuming this is the e-mail that Mr. Black was
           21   talking about that conveyed what his intent was for the
           22   disclaimer, my first question is to you: you understood there
           23   were disclaimers that the children were executing, right?
           24        A    No.
           25        Q    Okay.    So even with respect to that, with respect




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            1   to the first paragraph, do you recall any e-mail or
            2   conversation with Bernard Black in which he explained exactly
            3   the purpose of the disclaimer?
            4          A      No.
            5          Q      So the only thing he's conveyed to you here is that
            6   he'll make sure she gets the benefit of her one-percent
            7   share?      Do you know whether you ever conveyed that to her?
            8          A      I don't think Becca was willing to listen to me
            9   about anything regarding her dad.         She did not want to go.
           10   She didn't want to hear about what her dad was going to give
           11   her.       She--it was a very difficult relationship.
           12          Q       So at this time, when they're talking about a
           13   therapist, you had conveyed to Mr. Black that she was
           14   suicidal?
           15          A       That she had been suicidal.    She complained about a

           16   lot of other things too.
           17          Q       And his response was to you--was for you to try to
           18   get her to waive her one percent?
           19          A       Yes, apparently.     There were other things.   He

           20   would say she's making this up, numerous things.
           21                  MR. THIESSEN:   Okay.    I have no further questions.
           22                  THE COURT:   Okay.
           23                  MR. THIESSEN:   Just one more, Your Honor.
           24                  THE COURT:   Okay.
           25                  MR. THIESSEN:   I would move to admit that November




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            1   5, 2012 e-mail--
            2             THE COURT:     All right.
            3             MR. THIESSEN:     --and make it Exhibit 111.    Exhibit
            4
            5             THE COURT:     Okay.
            6             MR. DAIN:     No--no objection, Your Honor.
            7             MS. DiPONlO:     And, Your Honor, just so the record
            8   is clear, I wanted to state this for the record that the date
            9   of the will that has been referenced, this other will, is
           10   January 316t, 2010.
           11             THE COURT:     Right.
           12             MR. DAIN:     Is that a copy?
           13             MS. DiPONlO:     This is a copy, yes.
           14             MR. DAIN:     Would the Court like that copy?
           15             THE COURT:     I actually have it.
           16             MB.. DAIN:    Oh, okay.   I have no further questions
           17   for this witness.
           18             THE COURT:     All right.   Thank you, ma'am.
           19             MR. DAIN:     Then, Your Honor, in terms of my
           20   testimony, how do you want to do this?      I obviously can
           21   either give you a narrative or--
           22             THE COURT:    If you wouldn't mind, I'll just swear
           23   you in and you can sit in the witness box and give me the
           24   narrative and that will facilitate any cross-examination that
           25   they want to provide.




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            1             (Whereupon, Mr. Dain was sworn.)
            2                             ANTHONY DAIN,
            3   called as a witness herein, having been first duly sworn, was
            4   examined and testified as follows:
            5                          DIRECT EXAMINATION
            6             THE COURT:   Go ahead, Mr. Dam.
            7             THE WITNESS:    So, firstly, with respect to the
            8   issue of having a phone conversation with Mr. Black regarding
            9   his intent on the disclaimer, I've had very few phone
           10   conversations with Mr. Black over the years.    In fact, I've

           11   had very few e-mails with Mr. Black over the years, and this
           12   goes back probably 20 or 30 years.    We haven't had a close
           13   relationship.   We don't--we don't call each other; we don't
           14   communicate.
           15             There've been times when I'm traveling or in trial
           16   that I end up in the same city where he is.    One happened in
           17   Austin, Texas when he was at the University of Texas, so we
           18   had dinner--he and his wife and me and my wife--and we just
           19   talked generally.   But I don't recall any conversation in
           20   July of 2012.   It's possible there was a phone call.     I don't

           21   recall it, but what I know for sure is we never had a
           22   discussion about a disclaimer or the effect of a disclaimer.
           23   I'm an attorney.    I've been an attorney for 34 years.    I

           24   don't have an understanding of probate law of guardianship or
           25   conservatorship law.     I didn't understand the term disclaimer




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            1   other than I've seen it in my experience in litigation, which
            2   is that you would indemnify someone or not sue them for some
            3   reason.   So the--I never had a conservation with Mr. Black
            4   about a disclaimer.
            5              What I did get is the filings that Mr. Black and
            6   Mr. Glatstein made, not all of them, and I complained to Mr.
            7   Glatstein that I wasn't being served with everything and
            S   absolutely not timely.    Sometimes eight days would go by,
            9   sometimes two weeks.     I called Mr. Glatstein twice; one to
           10   explain that neither Ms. Wrigley nor I had received certain
           11   of their filings, and another time to complain that they were
           12   coming--the ones that were were coming late.
           13             Mr. Glatstein--and I believe he testified to that--
           14   got back to me on the 1st one saying he apologized, it was
           15   inadvertent and he sent me whatever that pleading was.
           16              THE COURT:   And what kind of law do you practice?
           17              THE WITNESS:   Litigation, mostly--
           18             THE COURT:    Like civil litigation?
           19             THE WITNESS:    --patent litigation.
           20             THE COURT:    Patent litigation.
           21             THE WITNESS:    I'm a registered patent attorney, so
           22   mostly patent litigation, but also banking.      I represent the
           23   FDIC, so it's technically not banking, it's violations of the
           24   regulations.
           25             THE COURT:    Okay.




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            1               THE WITNESS:   And when I received--I recall
            2   receiving the order.   Actually I recall I think receiving the
            3   first and the third order, and I call them that because the
            4   second one never was issued by the Court.     I don't ever

            5   recall seeing the proposed order, but my take on what Mr.
            6   Black was doing was that--and in fact I have to say I didn't
            7   even focus on the words disclaimer in that order.     My

            8   understanding on reading that order was all of the money that
            9   had been left to Joanne, paid on death was going into a
           10   Supplemental Needs Trust of which I and Mr. Black would be
           11   trustees.
           12               I had no conversation with Mr. Black about the
           13   issue trust.    I had assumed during--I had assumed that with
           14   respect to the probate that at some point some of the money
           15   out of the residual estate would go into an issue trust, but
           16   Mr. Black never informed me that he had transferred that or
           17   that he had funded that, so I wasn't even aware lie had funded
           18   the issue trust.    I had thought all of the money had gone
           19   into Supplemental Needs Trust pursuant to the order Your
           20   Honor had issued.    And so my understanding was the same I
           21   think as the Court's understanding, and that is whatever
           22   authorities you gave him, the result was he was going to
           23   transfer everything on paid-on-death benefits into a
           24   Supplemental Needs Trust release, hold it for Joanne's
           25   benefit.




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            1               I was under the impression that there was only two
            2   million, or thereabouts in those assets because Mr. Black had
            3   never given me a copy of an account statement, had never told
            4   me how much was in there, and I did request to know that.       I
            5   saw the account and report and my thought was that it had
            6   gone from about two million to 2.4 million, so I thought it
            7   had increased in value.    I had discussions with Ms. Wrigley
            8   where she was saying she thought it had gone down in value.
            9   But I had no idea there was $3 million in the paid-on-death
           10   accounts.    I had no idea there was a Roth IRA.   I had no idea
           11   that Mr. Black had transferred the Roth IRA assets to his
           12   children, and he never told me anything about that, never
           13   explained ever that he was going to take those paid-on-death
           14   benefits and transfer a third of them to his and his
           15   children's benefit or to an issue trust.    I know conflicts,
           16   and I would have told him immediately you can't do that.
           17               The first I learned that he had transferred money
           18   into an issue trust was in 2014, and I actually think it was
           19   late 2014, when suddenly he started sending me e-mails asking
           20   that I improve--I approve reimbursements to him for his
           21   children's tuition, student loans--no, actually not tuition,
           22   I'm sorry student loans and other expenses.    And he--he
           23   didn't actually--I think what he said was out of the Issue
           24   Trust.   And that's the first time I had heard of it, so I
           25   think I inquired internally.   I might have called Cherie.     I




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            1   might have called Ira Salzman at the time, because I was
            2   confused.   I didn't even know there was any money in an Issue
            3   Trust.   So I e-mailed Bernie--Bernard Black back saying I
            4   don't approve of this because I don't think there should be
            5   any money in these trusts and--because I thought all of the
            6   money had gone into a Supplemental Needs Trust, and I never
            7   heard back from him.
            8               I know that I've never had an e-mail exchange with
            9   him regarding his transfer of those paid-on-death benefits to
           10   himself or his children, and I know what my intent was.          My

           11   wife and I had made a number of trips in the years before
           12   Renata had died to visit Renata.      And almost every one of
           13   those trips, including just a few months before she died, she
           14   wanted to discuss how Joanne would be taken care of in the
           15   event of her death.
           16               MR. POSKUS:    Objection, Your Honor, he's talking--
           17   it's hearsay what his wife would have heard from Joanne.
           18   That's actually double--from Renata.      That's actual double
           19   hearsay.
           20               THE WITNESS:    No, I'm saying my wife was with me on
           21   those trips.    I'm saying what I heard, not what my wife
           22   heard.
           23               THE COURT:    Okay.
           24               THE WITNESS:    Not from my wife; from Renata.
           25               MR. POSKUS:    Okay.   I misunderstood that.




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            1               THE WITNESS:   And this is my understanding from
            2   what Renata conveyed to me.     She told me when I--we had a
            3   discussion, I asked her why she hadn't funded the
            4   Supplemental Needs Trust, and she told me that--that
            5   eventually she would get around to it but that she had the
            6   assets in Vanguard.    And she told me that she had left them
            7   100 percent to Joanne Black.     I on two occasions, two of the
            8   visits, I told her that that--that she has to move those into
            9   a Supplemental Needs Trust.    I mean I didn't want to discuss
           10   with her, you know, you're going to die.    But I said, look,
           11   at some point if you pass away and those aren't in a
           12   Supplemental Needs Trust, they'll go out right to Joanne.
           13               On all of those occasions, she made it clear that
           14   she wanted to make sure the money went to Joanne.     She didn't
           15   want it to go to Bernie.    She didn't want it to go to his
           16   children.    And ask Ms. Wrigley testified, she especially
           17   didn't want it to go to the two youngest because that was a
           18   second marriage and she believed both Bernard and his wife
           19   could take care of those children.
           20               On the very last visit, which was just I think two
           21   or three months before she died, I had told her she needs to
           22   --she needs to do something about those paid-on-death
           23   benefits.   And after that, I think it was two weeks before
           24   she died, she--we had a phone call.    We told her we're coming
           25   out again and we talked about, you know, we would go for long




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            1   walks.    She liked to walk.   She mentioned--or not mentioned,
            2   she stated to me that she had changed the designations from
            3   100 percent to Joanne Black to 95 percent to Joanne Black and
            4   left one percent to each of the five children from his first
            5   marriage.     I told her that I--while I appreciate she's
            6   leaving one percent to each of those children, the bigger
            7   issue is that she shouldn't leave that outright to Joanne,
            8   and she was just adamant that she wanted to make sure Joanne
            9   had it.     She said if I die, you'll take care of it, Cherie
           10   will take care of it.     You'll make sure she won't waste that
           11   money.    And then of course we made plans to go out there.
           12                But my understanding--that's what I was working off
           13   of is that she actually had changed it from 100 percent to
           14   Joanne Black to 95 percent, and I think that's consistent
           15   with the Roth IRA.      She just hadn't changed that one; it was
           16   still    100 percent.   So I never had a concept that any of that
           17   money was going to go one-third to Bernard Black.      And if he
           18   had ever mentioned that to me in a phone call afterwards, I
           19   would have told him what his mother had said.      The times when

           20   I went out to help also clean out the house after Renata
           21   died, we discussed it, and I told him that his mother wanted
           22   to leave all that money to Joanne Black.      And frankly, I also

           23   didn't think it was all that fair.      I thought that he--you
           24   know, that--that she should trust Bernard more.      But she made

           25   it clear to me in all our conversations she did not trust




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            1   him; she did not trust his wife.     She thought they would find
            2   a way to take that money from Joanne and protect them and
            3   their children, and that's why she had left the money in
            4   Vanguard outright.    That was my understanding, so I know if
            5   we ever had a discussion about a disclaimer that would have
            6   given Bernard and his children one-third, I would have not
            7   gone ballistic, but I would have absolutely told him that's
            S   not true.    That's not what your mother wanted.   And again, I
            9   didn't disagree--I didn't agree with her, but I know that's
           10   what she told me she wanted.
           11               And so, again, I had no concept of where that money
           12   went.   And when I saw the pleadings, I absolutely read those
           13   as all of the money is in--is being transferred to Joanne one
           14   way or another.    It wasn't until Ms. Young started
           15   questioning some of the accounts--accountings and reports of
           16   Mr. Black that I started getting suspicious.    And I even
           17   remember having conversations where I said he wouldn't do
           18   that; there's no way he would do that.    And then when Ms.
           19   Black--when Ms. Young hired Ms. Kerr, that was absolutely the
           20   first time I realized he had taken one-third of those assets
           21   and put them into an Issue Trust, because again I never
           22   received a statement.   That was the first time, and I was
           23   astonished that he had done that.    And even then I didn't
           24   know about the Roth RA--when--IRA.    When I found out about
           25   that, again, that was the first time I learned of that.




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            1               With respect to the will, I had also known there
            2   was another will because in the last--one of the last visits
            3   to Renata Black, she had my wife and I sign an addendum.       She

            4   hadn't shown me the will, but she showed me the addendum.
            5   And the one discussion I had with Mr. Black is I signed that
            6   addendum, my wife signed that addendum, but I did tell him I
            7   don't understand it.    I still don't quite understand the
            8   addendum, but she wanted us to sign it and we did sign it.
            9               Subsequently, I saw a copy of--and maybe even the
           10   original when we were--I think I saw the original of the will
           11   that went with the addendum.     I was not part of the estate
           12   process.    Mr. Black--you know, that was him, so I have no
           13   idea how he decided which will to probate or why the one he
           14   probated.    I had no part in that.   Nor did I really have an

           15   issue with whatever the residue of the estate was.     If that's

           16   to go two-thirds/one-third, I think that's fair.     I had no
           17   issue with that.    Or whatever the other will said; I hadn't
           18   looked at it in quite a while.    My understanding is whatever
           19   the property that was left over, any other assets, that can
           20   go whatever the will says.     If that's two-thirds/one-third,
           21   that's fine.    I didn't really pay attention to that.   But I

           22   knew those paid-on-death assets were supposed to go, the last
           23   time I talked to Renata Black, 95 percent to Renata Black and
           24   I never had another understanding about that until Ms. Kerr's
           25   account.    So with that, I'll take your cross-examination




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            1   questions.
            2                THE COURT:   Okay.   Questions?
            3               MR. POSKUS:   Sure, Your Honor.
            4                             CROSS-EXAMINATION
            5   BY MR. POSKUS:
            6        Q      Let me just make sure I got your testimony
            7   straight.     I believe you said you never had a concept that
            8   any of the Vanguard money would go one-thirds, did I hear
            9   that correctly?
           10        A      Never had a concept after I found--
           11        Q       That's what I think you said.     I'm just trying to
           12   clarify that you said that.
           13        A      Not until we discovered it had gone that way.
           14        Q      Not until you discovered after the disclaimer was
           15   exercised?
           16        A      Yes.
           17        Q      Okay.
           18        A      Yes.
           19        Q      And you also testified that your mother--your
           20   mother, I'm sorry, your aunt told you that she left the
           21   Vanguard and the Fidelity 100 percent to Joanne Black?
           22        A      Not quite.
           23        Q      Okay.   I'm just--
           24        A      I didn't know about Fidelity.      I didn't know she
           25   had assets with Fidelity.     I only knew she had assets at




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            1   Vanguard because I also have assets at Vanguard and so I knew
            2   just from conversing with her that we had the same person
            3   that assists you there.      There's people that they assign to
            4   you.
            5          Q      When did you have this conversation with Renata?
            6          A      I had a number of conversations with Renata over
            7   probably the years 2010 to--well, let me back up.       From the

            8   Lime we did the estate plan, I was part of that estate plan.
            9          Q      Well, let me--let me just interrupt and say I meant
           10   your conversation when she said I made the POD on the
           11   Vanguard 100 percent to Joanne.      When did you have that

           12   conversation?
           13           A     Probably like maybe late 2011, early 2012.
           14           Q     So not too long before her death?
           15           A     Probably--it was definitely within a year before
           16   her death, I'm pretty--well, no, I shouldn't say I'm pretty
           17   sure.       I think within a year before her death, but we
           18   probably had a total of five to ten conversations about it.
           19           Q     So--
           20           A     She called me all the time, by the way.
           21           Q     So at the time of her death, it would have been
           22   pretty fresh in your mind that she had said that, right?
           23           A     Time of her death--
           24           Q     Let's state on the record, when did she die?
           25           A     I think it was May 1   or 2, 2012.




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            1        Q      I'm told it's May lst, so--
            2        A      Yes.
            3        Q      Okay.
            4        A      Yeah, I think it would have been pretty fresh.       In
            5   fact I know we had that conversation two weeks before she
            6   died.
            7        Q      Okay.   So let me ask you to take a look in the
            S   exhibit notebook at Exhibit 106.
            9        A      Yes.
           10        Q      And can you identify this document?
           11        A      It looks like an e-mail from Bernie to me.
           12        Q      All right.And that's the one at the top from
           13   Bernie to you, Wednesday, May 2nd at 7:33 p.m.?
           14        A      Yes.
           15        Q      Okay.   And then below that there's what appears to
           16   be an e-mail from you to Bernie May 2, the same date,
           17   indeed just nine minutes before that.       Do you see that?
           18        A      Yeah.
           19        Q      And then before that, there's an e-mail from Bernie
           20   from earlier that afternoon.
           21        A      Yeah.
           22        Q      Do you recall participating in this e-mail
           23   exchange?
           24        A      No, but I have no idea I did.    I'm not denying
           25   that's an e-mail exchange we had, so--




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            1          Q   Okay.
            2          A   --yeah.
            3              MR. POSKUS:      Your Honor, I move to admit Exhibit
            4   106.
            5              THE WITNESS:      And I don't object.
            6              THE COURT:      Okay.
            7              THE WITNESS:      And in fact that--now that brings to
            8   light the eyewitness handwritten addendum last December.
            9                (Petitioner's Exhibit 106 was received in
           10   evidence.)
           11          Q     (by Mr. Poskus)       So this e-mail was sent the day
           12   after Renata's death?
           13          A     Yes.
           14          Q     And at this time, it was fairly fresh in your mind
           15   that she had sent 100--she had delineated 100 percent of the
           16   Vanguard over to Joanne; is that correct?
           17          A     No, that's not correct.
           18          Q     I said it was fairly fresh in your mind?
           19          A     No, no, no.    What she had told me is she changed
           20   the designations, that she was leaving one percent to each of
           21   his children.       And as a matter of fact, let me add to that.
           22          Q     Oh.
           23          A     I objected that the other children should also get
           24   some money, and I didn't agree with the one percent.          But she

           25   told me I changed it to one percent to each of the children,




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            1   the adult children, and 95 percent to Joanne.
            2        Q      Okay.     So and--so that knowledge was on your mind
            3   on May 2nd,   2012, when you sent this e-mail; is that correct?
            4        A      Apparently--that's not the subject of this, but
            5   yeah I--I knew that, yes.
            6        Q      And you didn't think to tell Mr. Black that the
            7   Vanguard funds had been changed, at least to the best of your
            8   knowledge?
            9        A      I had no way of knowing whether Mr. Black knew it
           10   or not.    I assume he would know that.    That's not the subject
           11   of this e-mail.
           12        Q     And indeed--
           13        A     And by the way, let me add, this was--this then is
           14   the day after she died.
           15        Q     Urn-hum.
           16        A     So actually we were probably making plans to go out
           17   for her funeral.      So, yeah, I knew that.   Did I include that
           18   in this?   I'll read it, but maybe not.
           19        Q     Indeed, the third to the last sentence says,
           20   "Generally, Joanne has a life estate in a fixed amount and
           21   then there appears to be a two-thirds/one-third split between
           22   Joanne and your first five children with some conditional
           23   provisions for you."      Do you recall writing that?
           24        A     Yeah, this is related to the will.     I'm telling
           25   him--I'm essentially reading it out to him in an e-mail.




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            1        Q    But you left out the fact that Joanne was going to
            2   get 95 percent of the Vanguard; is that correct?
            3        A    That wasn't even part of this discussion.     Yeah--

            4        Q    Okay.
            5        A    --I mean I guess--let me say that to be fair, yes I
            6   did leave that out.     What this is, is I'm asking him if he
            7   has a copy of this, because just--we're now talking May.        So

            8   six months before that she had my wife and I sign this
            9   handwritten addendum, and I'm explaining to him her
           10   handwriting isn't clear to me.     And I was explaining to him
           11   what was in that, because I didn't know he had it.
           12        Q    Let me ask you something else.     This is another
           13   part of your testimony, and tell me if I've got it wrong.
           14   You said the first time you heard of the Issue Trust was when
           15   you got the tuition--
           16        A    No.
           17        Q    --request from Bernie Black?
           18        A    No, no, no.
           19        Q    Okay.    So--
           20        A    That--
           21        Q    --tell me what your testimony was.
           22        A    I knew about the Issue Trust in 1997.     I was part

           23   of the process of setting up the estate plan.     What Renata

           24   had not done--and again, my wife and I made so many trips out
           25   there and variably in many of them it would come up, are you




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            1   ever going to fund these things.       And so my understanding
            2   was, from what she told me, she had minimally funded them
            3   just to keep them active in accounts at Vanguard.       But--so I
            4   knew about the Issue Trust.       What I'm telling you is the
            5   first I learned that Bernie had funded that Issue Trust, that
            6   he had put this paid-on-death a third of those assets into
            7   it, was when he started sending me e-mails asking me to
            8   approve reimbursements.
            9         Q      I see.
           10         A      So that's the first I knew he had transferred, but
           11   I knew about the Issue Trust in 1997.
           12         Q      Okay.    Then I misunderstood your testimony.   Let me
           13   ask you this: So did--you said you had no idea that he had
           14   funded the trust; am I correct?
           15         A      I had no idea, frankly--no, that's correct.     Yeah,
           16   I'm sorry.
           17         Q      And did you know--have any idea of where the Issue
           18   Trust accounts were?
           19         A      Absolutely not.
           20         Q      Absolutely not, okay.    Let's take a look at Exhibit
           21   68.   I'll ask you, sir, do you recognize that document?
           22         A      Yeah, I absolutely recognize that document.
           23         Q      What is this document?
           24         A      That's a document--and there's--
          25          Q      Just tell me do--tell me what the document is.




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            1          A    It's a document I received from Chase which would
            2   allow Bernard and I, as I understood it, to open up an
            3   account, and there should be another one for the Supplemental
            4   Needs Trust.
            5          Q    But is that your signature there?
            6          A    That--yes, that's my signature.
            7          Q    So a moment ago when you said you had no idea where
            8   the accounts were for the Issue Trust, would you want to
            9   change that testimony?
           10          A    No, I don't want to change that testimony.
           11          Q    And did you sign this document on May 4, 2013?
           12          A    I absolutely--well, I doubt it would have been May
                4th,
           13          because that's not my handwriting on the date, but
           14   probably around then.
           15          Q    Around then?
           16          A    Yeah.
           17          Q    All right.     So this is the document that you
           18   signed?
           19          A    Yes.
           20          Q    And that's your signature?
           21          A    Yes.
           22               MR. POSKUS:     Your Honor, I move to admit Exhibit
           23
           24               THE COURT:     Admitted.
           25               (Petitioner's Exhibit 68 was received in evidence.)




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            1               THE WITNESS:     But this isn't an account opening
            2   document.
            3               MR. POSKUS:     Excuse me, Your Honor, move to strike,
            4   non-responsive.
            5               THE WITNESS:     I guess I'll do it in a narrative
            6   when you're done.
            7               THE COURT:     That's fine.
            8               MR. POSKUS:     Thank you, Your Honor.
            9          Q    (by Mr. Poskus)     What's your--what's your mailing
           10   address, sir?
           11          A    My home mailing address?
           12          Q    Well, what--well, perhaps I ought to ask it this
           13   way.
           14               THE WITNESS:     And, Lisa, would you get me my tea?
           15   Thanks.
           16               THE COURT:    I'm sorry?
           17               THE WITNESS:     My tea.
           18               MR. POSKUS:     My tea.
           19               THE WITNESS:     Yeah, thanks.   I just would get out,
           20   but I'll probably trip getting out of this thing.       I didn't
           21   mean to make you a--thank you.
           22          Q    (by Mr. Poskus)    Mr. IDain, my question is, if I
           23   were to send you mail to 13272 Capstone Drive, San Diego,
           24   California 92130; is that--would it get to you?
          25           A    I don't know.    That's the point I had with Mr.




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            1   Glatstein.     You can say you're sending it, but Mr. Glatstein
            2   admitted to me that they had omitted sending me something,
            3
            4        Q       Well, hold on.    That's not--
            5        A       --it should get there.
            6                MR. POSKUS:    Your Honor, move to strike; non-
            7   responsive.
            8                THE COURT:    Let's just assume for the moment.
            9                THE WITNESS:     Okay.   It should get there, yes.
           10        0       (by Mr. Poskus)     It should get there.   That's your

           11   correct mailing address?
           12        A       It is.
           13        Q       All right.     Now, did you receive a copy of the
           14   initial petition that was filed by Mr. Glatstein?
           15        A       To be honest with you, I don't recall receiving
           16   that.    I--my recollection is of the order.
           17        Q       You received the order but you didn' t receive the
           18   initial petition; is that correct?
           19        A       No, not--not correct.      I don't recall receiving the
           20   petition.     I could have received it; I'm not going to say I
           21   did or didn't. What I--my memory is of reading particularly
           22   the March 5-h order.
           23        Q       So you're--we're talking about stuff that happened
           24   now, like two years and eight months ago, so your memory of
           25   that wouldn't be clear?




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            1        A      No, I'm just saying I don't recall receiving the
            2   petition.     I do recall the order.   That I remember.
            3        Q       Did you receive anything else other than the order?
            4        A      Oh, I received--I believe I received that account
            5   report.   The first one I know for sure.
            6        Q      Okay.   Did you receive an amended petition for
            7   appointment of special conservator?
            8        A       Don't have a recollection of that.
            9        Q      You don't have--
           10        A      I don't know whether I did or not.
           11        Q      --a recollection of that.   Let me ask you this.
           12   Let me ask you to turn to Exhibit 10.      Did you receive that
           13   pleading?
           14        A      I have no recollection of that.
           15        Q      Okay.   Turn to page 2 of Exhibit 10.   And would you
           16   agree with me that under Certificate of Service the address
           17   that's listed for your name is the address you and I just
           18   discussed?
           19        A      Yes.
           20        Q      So you were receiving pleadings sporadically.     Did
           21   you--strike that.    Strike that.   You began your testimony by
           22   saying you don't recall having a telephone conference with
           23   Bernie Black in July of 2012, as he testified to.     Do you
           24   recall--do you remember that testimony?
           25        A      Yeah, I don't have a recollection of any phone call




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            1   in July of 2012.
            2        Q     All right.   Okay.   Now I'm going to read to you a

            3   question and answer that you had with my client on the l6'
            4   of June, and I'll ask you if you'll recall this exchange.
            5        A     Okay.
            6        Q    The question from you--and for the record, this is
                                                         16th hearing
            7   on page 29 of the transcript of the July
            8   starting at Line 17.    Question, "Okay.   And how did that

            9   first come to you that you decided to seek court approval to
           10   disclaim assets so they would go into the estate of your
           11   mother?"   Answer, "So, again, I don't want to think about
           12   this as just how did it come to me.     This evolved out of a
           13   series of discussion with partly my question, partly with
           14   Cherie Wrigley.    I had one conversation with you that I
           15   recall as to what the alternatives were and what the--what
           16   the consequences to Joanne were of different alternatives."
           17   Question, "And you recall from your conversation with me that
           18   I said you should go to court and ask the court to freeze or
           19   block the assets, correct?"
           20              Does that refresh your memory regarding having that
           21   conversation with my client?
           22        A     That wasn't a conversation we had in July.
           23        Q     Okay.   But was it--
           24        A     I can tell you when that conversation was.
           25        Q     Okay.   Tell me when that conversation was.




                                                                              BLACK00080 1
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            1        A    It was shortly after either--I think it was a
            2   little after the funeral for Renata, when we were discussing
            3   that there was money that had been left outright to Joanne.
            4   I didn't know where Joanne was.    And we discussed a concern
            5   about how to protect that money.    And my only concept--I
            6   didn't think guardianship, conservatorship particularly, was
            7   you should go to court and get the money frozen so that it
            8   doesn't go directly to Joanne.    That was not a July
            9   conversation to my knowledge.    And again, my focus was more
           10   on just making sure Joanne was protected, so that's what--
           11        Q    But you did have--
           12        A    --that conversation was.
           13        Q    --But did you have a conversation with Mr. Black,
           14   as he testified, that you discussed what the alternatives
           15   were and what the consequences to Joanne were, the different
           16   consequences?
           17        A    Not alternatives.
           18        Q    Okay.
           19        A    Not alternatives.    The only thing we discussed was
           20   going to court to freeze the assets.    And in fact that was
           21   my--that would--that's my kind of a concept, because I don't
           22   know how you do it, but you could get them frozen.      I was
           23   thinking a blocked account or a frozen account of some kind.
           24             MR. POSKUS:   Just one second, Your Honor.
          25              (Pause.)




                                                                           BLACK000802
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            1        Q      (by Mr. Poskus)    And a moment ago you said that the
            2   funeral you were talking about how Joanne had gotten money
            3   directly, outright.    And who did you have those conversations
            4   with?
            5        A      I know I had a conversation with Bernard, but. here
            6   --you want to know the exact conversation?
            7           Q   Well, no, I want--first of all, answer my question.
            8   Who did you have the conversation with?      You said you had one

            9   with Bernard.
           10           A   For sure with Bernard.
           11           Q   And anyone else?
           12           A   I don't know.     I don't know whether I discussed it
           13   with my sister or not, but I--if you want to know the
           14   conversation, I can explain it to you.
           15           Q   But--and so at that--at that time, I believe your
           16   testimony a moment ago is you said that Joanne was going to
           17   get money outright; am I correct?
           18           A   That was my assumption.     I hadn't seen the
           19   accounts, didn't know how much was in there, didn't have
           20   access to them, couldn't verify--as I said, I knew nothing
           21   about Fidelity.    But I discussed with him what Renata had
           22   discussed with me.
           23           Q   And you did that, and you did that based solely on
           24   your discussion with Renata, as you've testified to, right?
           25           A   Discussions.




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            1        Q    Okay.   Discussions.    But yet you didn't raise it
            2   with Mr. Black in your May 2nd    e-mail, which would have been
            3   sent just a few days before the funeral?
            4        A    No, and that was because--
            5        Q    Okay.
            6        A    --I was concerned--I knew he was the executor.       I
            7   was not the executor of her estate, so that would have been a
            8   conversation about does he have a will.
            9             MR. POSKUS:    Nothing further, Your Honor.
           10             THE COURT:    Okay.
           11             THE WITNESS:    Can I respond then?
           12             THE COURT:     Just one second.
           13                          REDIRECT EXAMINATION
           14             THE WITNESS:    So Exhibit 68--an let me give you the
           15   kind of background of that.     As Ms. Wrigley testified, I
           16   understood the paid-on-death accounts with Vanguard, so what
           17   I was understanding is that Mr. Black wanted to open up new
           18   accounts at Chase that would be used--and this one I think is
           19   the trust for the benefit of the issue of Renata Black and
           20   one for the Supplemental Needs Trust.
           21             This was, in my understanding, for two things.
           22   This Issue Trust was for his estate, the estate of Renata
           23   Black, because he wanted the money at Chase, not at Vanguard.
           24   So this is not actually an account opening statement; it's
           25   just--




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            1              THE COURT:   I see it.    I see that at Paragraph 3.
            2              THE WITNESS:    Yeah.    And so what he never did was

            3   show me any evidence that he actually opened one; that was my
            4   point.   So I'd assumed when this probate--when the probate
            5   estate closed, there would be some money that would go into
            6   the Issue Trust, but this doesn't in any way reflect that I
            7   knew he would open up an account where he would put a third
            8   of the assets.
            9              THE COURT:     Right.
           10              THE WITNESS:     The other thing, with respect to the
           11   conversation, I think the reason--and I can't remember the
           12   details of why the will came up on May 2", but I think what
           13   was worrying me was six months before we had signed that
           14   addendum--and I don't know if Renata had ever given it to
           15   Bernard or if he knew what was in it, and I thought--I forget
           16   what our exchange was, but I know at some point I told him we
           17   just talked to her two weeks ago and--and so I can't remember
           18   if there was something that prefaced this, but this was more
           19   to tell him just in case you need to know, there is a will--
           20   there's a will and an addendum and we had just signed it.
           21   And I think if you read that I was explaining to him that.
           22   That in this addendum and the will that I recalled that's
           23   where the two-thirds/one-third is being discussed, and then
           24   he responded to me about that.
           25              But then when we came out for the funeral, I know I




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            1   discussed with him my concern that there was some money I
            2   understood at Vanguard had been left primarily to Joanne and
            3   in small part to his children.         So I may have said 95
            4   percent/5 percent or I may have just in general, but we did
            5   talk about how to protect that money from going outright to
            6   Joanne.      And I know that refreshes my recollection.      I would
            7   have used the word "freeze" or "block," because those are two
            8   things I would have thought of; can we block those accounts
            9   or freeze those accounts.
           10                 THE COURT:    All right.
           11                 THE WITNESS:    Okay.
           12                 THE COURT:    And--and--so based on what you're
           13   saying then, there really isn't any question about whether
           14   your aunt made a mistake?
           15                 THE WITNESS:    Not in my mind.    Absolutely not.
           16   Now, understand, when you're saying mistake, do I think it
           17   was fair?      I really didn't at the time.      I understand it now.
           18   I do, but not a mistake.       She absolutely was in her right
           19   mind and she knew what she was doing.         And she was upset with
           20   Bernie.      She didn't like his new marriage.     She didn't like
           21   his wife.      Frankly, she didn't like his old wife either.         And
           22   I mean part of that's on her.         I don't think--I don't want to
           23   blame-   -




           24                 THE COURT:   Has nothing to do--
           25                THE WITNESS:    Yeah.




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            1               THE COURT:    --particularly with Mr. Black or his
            2   wives.
            3               THE WITNESS:     Right.    And I was telling her, I
            4   don't think--I told her, you're micromanaging these things.
            5   I don't think it's fair.       And I know she said, you know, I
            6   want to leave something to--to Bernie's children by the first
            7   marriage.    I told her I thought that was mean, she should
            8   leave something to all her--all his children, but she did
            9   make it clear to me that she had done that.         That went from
           10   100 to 95.    And again, I don't want to say what my wife told
           11   her, but I told her two things.         One, I didn't think that was
           12   fair; I thought it should have been more.         I didn't tell her
           13   how much more.    And--but I understood why she was worried
           14   about Joanne, and I understand it more now.         But I also told

           15   her she should put it into the Supplemental Needs Trust, and
           16   two weeks later she died.
           17                THE COURT:    Okay.    So you were saying you thought
           18   the grandchildren should have gotten more?
           19                THE WITNESS:    I do, but again I--
           20                THE COURT:    I mean in terms of what you told her
           21   that day?
           22                THE WITNESS:    Yes.     Yeah, I can--okay.
           23                THE COURT:     And you were talking about all her--the
           24   seven grandchildren?
           25                THE WITNESS:    I can tell you, I could--I remember




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            1   it so vividly because my wife and I had just pulled into a
            2   Costco where we live and we were talking to Renata.     We--she
            3   called me all the time and we called her.     We were worried
            4   about her.     She was in her SOs and she lived alone, and her
            5   boyfriend was older than she was.     So we were talking and we
            6   were in the parking lot stopped and we were having this
            7   conversation.     And we said we were going to come out there
            8   and she mentioned that she had taken our advice and had
            9   changed the designations.     And she told me, "I left one
           10   percent to each of the adult children."     That's what she
           11   said.   And I said, okay, I appreciate that you've done that.
           12   I don't think it's fair.     I won't say what my wife said,
           13   although it was supportive of me.     I said I don't think it's
           14   fair that, you know--we never discussed how much she had in
           15   there, by the way.    But I said, you know, one percent just to
           16   me didn't sound right.
           17                She never--by the way, this was all part of it, she
           18   did not want to leave any money to Bernie; that's why it was
           19   always the kids.    And I said, but you should also leave it to
          20    all seven.    And she explained to me why she's--she said
          21    Bernie and his wife can take care of their children.     They
          22    both have teaching jobs.    Those children are protected.     I'm
          23    worried about the five other children, that they should get
          24    something.    But again, the discussion then went on about
          25    where is Joanne and how worried she was about Joanne and




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            1   could she--and then she said, don't worry about me.     If

            2   anything happens, I know you or Cherie will make sure that
            3   Joanne doesn't squander the money.     And then we talked about
            4   we would be out there in two--we were going to come out there
            5   I think it was about two or three weeks, so she died right
            6   around the time we were planning to come out there to visit.
            7              But it was not a mistake.    I know--I know Renata.
            8

            9              THE COURT:    Okay.   Any other questions based on
           10   what I've just asked?
           11              MR. POSKUS:    Yes, Your Honor, real briefly.
           12                            RECROSS-EXAMINATION
           13   BY MR. POSKUS:
           14        Q     Would you agree with the statement that Joanne
           15   shouldn't manage money on her own?
           16        A     Absolutely.     Well, wait a minute, let me back up.
           17        Q     Sure.
           18        A     Today or then?
           19        Q     Well, let's start with then.
           20        A     Then, absolutely.
           21        Q     Absolutely she should or should not manage?
           22         A    Should not have.
           23        Q     Okay.   And was Renata aware of Joanne's
           24   difficulties, her mental difficulties?
           25         A    Yes, Renata was aware.




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            1        Q    And you testified that she said you guys will make
            2   sure Joanne doesn't squander the money.       But even on this
            3   other will you talk about, who did she name as the personal
            4   representative or executor?
            5        A    At my insistence, Bernard.
            6        Q    I see, it was at your insistence?
            7        A    Same reason he's also a trustee on these trusts.
            8        Q    Okay.
            9        A    I believed in him more than she did.
           10             MR. POSKUS:    Nothing further, Your Honor.
           11             THE COURT:    Okay.
           12             THE WITNESS:    Thank you, Your Honor.
           13             THE COURT:    Okay.   Any further evidence at this

           14   point?
           15             MR. DAIN:    Your Honor, I'm going to call for a
           16   brief surrebuttal.    First of Bernard Black.
           17             THE COURT:    Okay.
           18                            BERNARD BLACK,
           19   called as a witness herein, having been previously sworn, was
           20   examined and testified as follows:
           21                          REDIRECT EXAMINATION
           22   BY MR. POSKUS:
           23        Q    Mr. Black, you just heard Mr. Dain testify that he
           24   told you, and I believe it was at the funeral or right after,
           25   about these POD designations.    Do you recall that testimony?




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            1        A      I recall the testimony.
            2        Q      And tell me what your side of that story is.   Did

            3   you have the conversation with him that he says you had?
            4        A      That testimony is a complete fiction.
            5        Q      Okay.   Did you have any kind of a conversation with
            6   him at the funeral over what was going to happen to Renata's
            7   funds?
            8        A      Yes, I did.
            9        Q      And what was that conversation at--arid by the way,
           10   at the funeral, you testified earlier that you didn't know
           11   about the POD designations until you heard from Vanguard.        Sc

           12   at the funeral, what was your conversation with him at that
           13   time?
           14        A      So his--his conversation with me was that he felt
           15   bad that two-thirds of my mother's estate was going to go to
           16   Joanne, arid he always thought it should be 50/50.    And I
           17   said, no, I knew about two-thirds/one-third.     I agreed with
           18   two-thirds/one-third.     I thought Joanne needed to be taken
           19   care of first because I was fine on my own and I was
           20   perfectly happy with two-thirds/one-third.     There was no

           21   mention of POD benefits.     I had no knowledge of POD benefits.
           22   His recollection is a complete fiction.
           23           Q   Was there anything else in his testimony that you--
           24   with regard to at least his interactions with you that you
           25   feel you would like to respond to?




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            1        A     Yes.   So I spent three-plus months in 2013 trying
            2   to get Anthony Dain to sign forms, among other things, to
            3   open up bank accounts at Chase so that I could move funds
            4   from Vanguard to Chase and put money into the Supplemental
            5   Needs Trust and the Issue Trust, because they were at Chase.
            6   My mother had put them at Chase.     The trusts were at Chase,
            7   and I decided to leave them there.
            8              And I had a series of e-mails, phone calls saying,
            9   "Tony, I need you to move, right."     At this point we were
           10   spending huge amounts of money on--mostly on Esaun Pinto, on
           11   a rescue of Joanne, and that money was supposed to come out
           12   of the Supplemental Needs Trust.     And I was leaving messages
           13   saying I need you to sign the account open forms so that I
           14   can move money from Vanguard to the trusts at Chase.     This
           15   was a reference to trusts plural, to the Supplemental Needs
           16   Trust and the Issue Trust.
           17        Q     So let me ask you this.   Take a look at Exhibit 68
           18   that we've been referring to.
           19        A     Yes.
           20        Q     There's a signature on there that appears to be
           21   yours.   Is that yours?
           22        A     Yes, it is.
           23        Q    Was that one of the forms you were trying to get
           24   Mr. Dain to sign?
          25         A    Yes, this was an account opening form that Chase




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            1   needed for the Issue Trust, and it was a similar form for the
            2   Supplemental Needs Trust, and it was a similar form for the
            3   Joanne Black 2013 Trust.
            4        Q     Did he sign those?
            5        A     Yes, he did.
            6        Q     Did he sign any other documents to enable you to
            7   open up the accounts for those three trusts?
            8        A     So we also went through creating the Joanne Black
            9   2013 Trust, which is a little bit off to the side, and adding
           10   Samuel Black as a co-trustee to the Supplemental Needs Trust
           11   and then having the same three co-trustees of the Joanne
           12   Black 2013 Trust.
           13              I'm not recalling other account opening documents.
           14   No, yeah, there was.      And I don't know what there was, but I
           15   remember it was this and then Chase wanted something else, so
           16   I had to send him more documents to sign, and that was
           17   another big hassle to get him to sign.      I just don't remember
           18   exactly.
           19        Q     So who sent him Exhibit 68?
           20        A     Idid.
           21        Q     It was you?
           22        A     Yeah.
           23        Q     Did he call you back or contact you and say what's
           24   this for because I don't know about any Issue Trust?
           25        A     No.




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            1        Q    And were you able to have any discussion with him
            2   about what that was all about?
            3        A    No, just a series of pleading e-mails and phone
            4   calls saying please sign this; I've got to get the accounts
            5   open; I've got to get the money moved from Vanguard into the
            6   trust at Chase; please sign this, we're running out of time
            7   to do this.
            8        Q    And did he do it?
            9        A    Eventually he did, after many urgent requests.
           10        Q    Okay.    Anything else in his testimony you would
           11   like to respond to?
           12        A    I was just listening and thinking this guy is such
           13   a slippery liar.    This is such a complete pack of fiction.
           14   His sister is as bad or worse.    We worked with Cherie
           15   extensively on the disclaimers, on what we should do about
           16   the POD designation.    We did this in 2012.   I remember a
           17   letter that I wrote to Vanguard on July 2Oth , 2012, shortly
           18   after I got the July 11th   letter from Vanguard about the 95
           19   percent POD basically saying to Vanguard we're either going
           20   to challenge the POD or, in effect, a little bit less
           21   clearly, but we're going to go get--you know, get a
           22   disclaimer in--of the POD benefits.    This was an attempt to
           23   get Vanguard to freeze the accounts.    In that letter, I say
           24   the most likely conservator or was guardian--I forget the
           25   term--is Anthony Dam, and that was based on my phone




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            1   conversation with Anthony Dain where I asked him to be the
            2   conservator so that he could petition to disclaim Joanne
            3   Black's assets into the Renata Black estate.    And he knew

            4   perfectly well how the Renata Black estate worked; it went
            5   two-thirds/one-third.
            6             I'm also remembering that he testified in New York
            7   --or he didn't testify; he got up and made a speech saying to
            8   the New York Court, we all understood that the Supplemental
            9   Needs Trust was only going to get two-thirds.     He then went
           10   on and said we thought Joanne would get the third third in
           11   some other way.    But he was very clear in New York.      He

           12   understood that the Supplemental Needs Trust was only going
           13   to get two-thirds of the disclaimed assets.     And it's readily

           14   apparent from the documents that he received that there is no
           15   other third.     There is two million plus market appreciation
           16   in the Supplemental Needs Trust.     There is no third million
           17   anywhere else.     My account inventory shows two million in the
           18   Supplemental Needs Trust.     There is no third million.        He
           19   received that inventory.     He didn't raise an objection.
           20   Cherie Wrigley received that inventory; she didn't raise an
           21   objection.     They received the probate petition that said
           22   three million payable-on-death benefits.     They received the

           23   inventory that said two million in the Supplemental Needs
           24   Trust.   Nobody raised an objection.
           25              Gail Young knew about three million in POD benefits




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            1   and two million in the Supplemental Needs Trust, didn't raise
            2   an objection.      Lisa DiPonio knew about three million in POD
            3   benefits, two million in the Supplemental Needs Trust; she
            4   didn't raise an objection.      All of this is consistent with
            5   everybody understood and I believe that everybody understood
            6   that under the disclaimer the assets would go into the
            7   estate, they would go under Article 4th      And then as it says
            8   very clearly in the proposed order, two-thirds will go into
            9   the Supplemental Needs Trust.     So I'm just puzzled as to how
           10   anyone could possibly think that three-thirds would go into
           11   the Supplemental Needs Trust.     That doesn't make any sense as
           12   an explanation of what we wrote in the proposed order.
           13                If three-thirds were going to go to Joanne, we
           14   would have said three-thirds were going to Joanne.     I
           15   explicitly wanted to say two-thirds to make it doubly clear
           16   that Joanne wasn't going to get 100 percent; she was only
           17   going to get two-thirds.     And Anthony Dain saw the two-thirds
           18   language, otherwise he wouldn't have spoke the way he did in
           19   New York.     I don't understand how he can ever think that
           20   three-thirds was going to go into the Supplemental Needs
           21   Trust.
           22        Q       Let me ask you something about Ms. Wrigley's
           23   testimony.    Ms. Wrigley did testify that you and her had
           24   talked about Joanne exercising the disclaimer; am I correct?
           25        A      Yes.




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            1        Q    Okay.    And she also testified that you had some
            2   conferences regarding money payments that you were making I
            3   believe either weekly or monthly for--so that Joanne would
            4   have some money to live on?
            5        A    Yes.    So at the time of her death, my mother was
            6   sending $280 a week to Joanne.    And I continue that initially
            7   and then decided $280 a week really isn't that much, okay,
            8   plus Social Security Disability.    And I chose on my own--this

            9   was not Cherie asking; this was me doing it--I chose--like I
           10   want Joanne to have more money to live on, so I raised that
           11   amount to $500 per week, and that would have been sometime
           12   during 2012.     I don't remember exactly when.
           13        Q    Now--now, Ms. Wrigley cast some doubt on the idea
           14   that this whole dispute arose when you denied a reimbursement
           15   request for her.     Do you recall that testimony?
           16        A    Yes, I do.
           17        Q    Okay.     So tell us first of all what the
           18   reimbursement request was and why did you deny it.     First of

           19   all, let me ask you this.     Is that when all this started when
           20   you denied that particular reimbursement request?
           21        A    Yes.     Until I denied Cherie Wrigley's reimbursement
           22   requests, I was working with Cherie Wrigley, not always
           23   without conflict but cooperatively.     I was concerned about
           24   the level of spending on Esaun Pinto, but I was working with
           25   Cherie Wrigley.




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            1        Q      And indeed she made some trips from California to
            2   New York to help Joanne out; am I correct?
            3        A      So Joanne was hospitalized in June of 2013--
            4        Q      Um-hum.
            5        A     --and remained hospitalized until late October of
            6   2014.    For a long part of that period, she didn't want to see
            7   anybody.   As she gradually improved, and Joanne's history is
            8   it takes a long time for the medication to get hold--take
            9   hold, then she gradually gets better.       Then she gets out and
           10   eventually goes off medication and spirals down again.        But
           11   she was gradually improving.    And I arranged with Ms. Wrigley
           12   and with Esaun Pinto for Cherie to go out and visit Joanne in
           13   July of 2013.     This was a short visit.    She spent three days
           14   in New York, and she did that with my approval, that I would
           15   fund it out of Joanne's assets.
           16              And maybe a month later, she sent me back a--let me
           17   call it an expense demand, and I would have looked at that,
           18   you know, some number of days after she sent it.        And frankly
           19   that expense demand completely floored me.      She--
           20        Q     What floored you about it?
           21        A     She wanted reimbursement of almost $7,000 for a
           22   three-day trip.    She wanted reimbursement of $2,600 for first
          23    class travel.   I was paying Esaun Pinto 8,000 a month, which
          24    I thought was crazy and was trying to bring down over his
          25    objection and her objection.    She wanted to pay Esaun another




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            1   $2,300 on top of the 8,000 basically for going with her to
            2   visit Joanne and being her chauffeur in New York for three
            3   days.       That was at least as outrageous as the first class
            4   travel.      She wanted $200 in unallocated per diem.      And then

            5   she wanted some more reasonable things, like hotel and, you
            6   know, taxis and so on.         The total was $6,900.   And I wrote

            7   her when I saw this--she was about to take a second trip
            8   again with my approval, and I wrote her an e-mail on
                               1st
            9   September            saying I will not approve first class travel.
           10   I think, you know, more to come, but I didn't want her to be
           11   any doubt that her second trip I was willing to pay for first
           12   class travel.
           13                  We have not had a civil conversation since.       I

           14   attempted initially in September to say to Anthony Dain let's
           15   talk.       I thought he was a reasonable person.      Cherie

           16   Wrigley's expense demand nobody as a conservator can pay
           17   that.       That's just crazy.
           18           Q      Tell me, when was the trip Cherie Wrigley made that
           19   this dispute arose out of?          When was that?
           20           A      Late July of 2014.
           21           Q      Okay.    And was there any dispute about how you were
           22   handling things prior to that?
           23           A      There was no dispute about what I was paying for
           24   and what I was not paying for.          In late June, Cherie got
           25   upset that the trusts were at Chase instead of at Vanguard,




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            1   and so she had--you know, let me call it a screaming phone
            2   call with me where she claimed that this was completely wrong
            3   and it was against my mother's will and how dare you move the
            4   money from Vanguard to Chase, and Renata would never have
            5   wanted this, and I can prove it in writing.        All of that is
            6   complete fiction too because the trusts were at Chase.          And
            7   what I did is I took the assets, which were at Vanguard, and
            S   moved them in kind to sit underneath the trusts.
            9        Q     Let's be clear, because I'm not sure if this came
           10                 16th and   17th
                out on June                     Who is Esaun Pinto and how is he
           11   involved in all of this?        And before you answer, let me see
           12   if I've got the spelling correct.       Is it E-S-U--A-N?
           13        A     E-S-A-U-N.
           14        Q     And then P-I-N-T-O?
           15        A     Yes.
           16        Q     Okay.   Just so that the record is clear.        And who
           17   is he and how is he involved in this?
           18        A     He is a private investigator of some sort.        He has
           19   his own firm called CPI Investigations in New York.         And from
           20   somewhere in the past he apparently had some connection with
           21   Joanne.   And Ms. Wrigley found Esaun Pinto and arranged for
           22   Esaun to go out to Denver and basically talk Joanne into
           23   coming back to the East Coast.       And then I just started
           24   getting let me call them astronomical bills from Esaun Pinto
           25   and I engaged in a year-and-a-half fight to try to bring him




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            1   down to a reasonable level.    I learned afterwards that on top
            2   of his outrageous bills he was stealing money from Joanne.
            3   learned that on top of his outrageous bills, which were
            4   supposedly for visiting three times a week, he was actually
            5   only visiting about once a week.
            6             I was fighting during that entire period to bring
            7   his expenses down.
            8        Q    Were you fighting with Mr. Pinto or were you
            9   fighting with anybody else?
           10        A    I was fighting with both Mr. Pinto and Mr. Wrigley.
           11        Q    Ms. Wrigley?
           12        A    Ms. Wrigley.     And I now thing that, you know, he
           13   was just a scam artist from day one and I was never going to
           14   succeed until I just cut him off.
           15        Q    And when Ms. Wrigley--Ms. Wrigley testified that
           16   she never--that you never told her during your--that two or
           17   three month period where she was helping you get the
           18   disclaimers from the kids and she was trying to--she was
           19   considering helping you get a disclaimer from Joanne, she
           20   testified that you did not tell her about the two-thirds/one-
           21   third division.   What is your response to her testimony?
           22        A     That's false.    We discussed it.   The disclaimer

           23   plan as an alternative to litigation was a joint plan.      We

           24   discussed it extensively.     We had multiple phone
           25   conversations over a period of months.     And with regard to




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            1   Rebecca, we had multiple phone calls over Rebecca because
            2   Rebecca was a linchpin of the whole plan.     Because if Rebecca
            3   wouldn't sign her one percent down to zero, there was going
            4   to be no disclaimer, right.     I couldn't--I needed all five
            5   older children to go down from one percent to zero or nothing
            6   was going to happen.     So that was a difficult conversation it
            7   was hard for me to have directly with Becca, so I asked
            8   Cherie to intercede.     I then sent Cherie, here's the
            9   disclaimer.     Then I think a day later I sent her this talking
           10   points e-mail.     This was in early November of 2007.    And as
           11   part of that, we arranged for Rebecca to take the train down
           12   from Santa Barbara to Thousand Oaks, where Cherie was, and
           13   the Cherie drove Rebecca to meet me in Los Angeles, because I
           14   was at a business meeting in Los Angeles.     And so Cherie
           15   brought Rebecca to me.     I brought, as the e-mail said, her
           16   Social Security card and her birth certificate.
           17              Cherie came--Cherie and Becca came to the law firm
           18   office where I was.     I had her come there because there was a
           19   notary there and I needed to get Rebecca to sign and then get
           20   her signature notarized.    And we were able to get Rebecca to
           21   sign the disclaimer, to sign the disclaimer of her one
           22   percent.  And then I confirmed that in an e-mail to Cherie on
           23   November 7th talking about, you know, difficult conversation
           24   with Rebecca.    But the most important thing that had to
          25    happen happened, which was the disclaimer.




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            1        Q    And then this e-mail that we're going to have to
            2   print out, Exhibit 111.    When you said to Cherie, "Get her to
            3   sign so she'll get more--her one percent and more," what did
            4   you mean by that more?    What was more?
            5        A    More was her share of the Issue Trust, because
            6   under the overall disclaimer plan, the Issue Trust was going
            7   to one-third of the Vanguard assets.    So I've got seven kids;
            8   she's going to get one-seventh of one-third, so call that
            9   five percent.    And five percent is more than one percent.    So
           10   the argument for Rebecca, and this is partly in an e-mail and
           11   partly in phone calls, was the way we persuade Becca is you
           12   can get one percent now, but if you wait you'll get more, and
           13   I promise you you won't lose the one percent.
           14        Q    Did Cherie call you and say what do you mean by
           15   that and more?
           16        A    No, we had conversations about how Cherie was going
           17   to get Becca to me in Los Angeles, you know, whether it made
           18   sense for me to conic up to Thousand Oaks, and it didn' t
           19   because we didn't have a good way to get a notary in Thousand
           20   Oaks, but we thought about that as a possibility--discussed
           21   that as a possibility, and then we decided it was better to
           22   bring Becca down to Los Angeles because I had a notary on
           23   premises at the law firm in Los Angeles.
           24             MR. POSKUS:     Nothing further, Your Honor.
           25             THE COURT:     Anything?




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            1              MR. DAIN:   Yes, Your Honor.
            2                          RECROSS-EXAMINATION
            3   BY MR. DAIN:
            4        Q     Now, you're testifying today under penalty of
            5   perjury?
            6        A     Yes.
            7        Q     You said I made a statement in New York that the
            8   disclaimed assets were going to go two-thirds into a
            9   Supplemental Needs Trust and one-third into an Issue Trust;
           10   you said that just now?
           11        A     No, that's not what I said.
           12        Q     Please again say it.
           13        A     You made a statement to the New York court that, as
           14   I recall--and we can pull up the New York transcript if you
           15   like--"We all understood that the disclaimer and the two-
           16   thirds," and then you continued, "we all thought the third-
           17   third was going to go to Joanne in another way." But you
           18   specifically referred to two-thirds in your statement to the
           19   New York court.    You said, "We all understood."   Now, I don't
           20   know who "we all" is, but we all certainly includes Cherie,
           21   given the overall context of this case.
           22        Q     So let's start with you weren't there, correct?
           23        A     I was not physically there, that's right.    This is
          24    from the transcript.
          25         Q     Okay.   And you have the transcript?




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            1              MR. DAIN:    Counsel, do you have the transcript?
            2              MR. POSKUS:    Yes, it's Exhibit 107, and the
            3   exchange that he's referring to I believe is on page 18.
            4              THE COURT:    Okay.    I don't have that part of it.
            5              MR. POSKUS:     You don't?
            6              MR. DAIN:     Say exhibit what again?
            7              MR. POSKUS:     107.
            8              THE COURT:     This book only goes up to 78.
            9              MR. POSKUS:     Your Honor, we've added some exhibits
           10   since the last hearing, and that's why we keep coming up.         If

           11   I may approach, Your Honor.       Actually, Mr. Black, do you have
           12   a copy in your notebook?
           13              THE WITNESS:     Yes, I do.
           14              THE COURT:     Thank you.
           15              MR. DAIN:     I'm trying--do you have it there?   Thank

           16   you.
           17              (Pause.)
           18              MR. DAIN:     The exchange is where?
           19              MR. POSKUS:     I believe it's   page 18, but you'll
           20   have to ask the witness.      That's my guess.
           21          Q   (by Mr. Dam)      Oh, my--this--on page 18, do you
           22   understand--you weren't there, so you don't know what the
           23   reference was to when you took this little paragraph out of
           24   context, did you?
           25          A   Do you want to give me the context by--




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            1        Q     Sure.
            2        A    --going back to page 17?
            3        Q     Yeah, let's--what Mr. Black did say is two-thirds
            4   is going into Supplemental Needs Trust.       This is the
            5   statement you made to the Court; that's what we're talking
            6   about.   That in your proposed order, the one that you're
            7   saying disclosed everything, you said two-thirds are going
            8   into the other--into the Supplemental Needs Trust.       The
            9   statement goes on. 'Implying the other third, as we all
           10   thought, would be maintained for the use of Ms. Black's needs
           11   outside of the Supplemental Needs Trust," meaning you told
           12   the Court in a proposed order that two-thirds was going to
           13   Supplemental Needs Trust.       You did not tell the Court that a
           14   third was going into an Issue Trust.
           15             In your earlier testimony--
           16             MR. POSKUS:    Excuse me, is there a question in
           17   there?
           18             MR. DAIN:     Yes.
           19        Q     (by Mr. Dam)    In your earlier testimony, do you--
           20   did you imply to this Court that I made a statement to the
           21   court in New York that I understood one-third was going into
           22   the Issue Trust?
           23        A    That was not my testimony.
           24        Q    Let me just read exactly what is here, and I do
           25   want to get the preface.       Going back to page 17, on Line 17--




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            1   I'm sorry, let me even go back.            Do you see up here--I want
            2   you to look at this so I can ask you a question about it.
            3   Page 17, Line 10.   Are you there?
            4        A     Yes.
            5        Q     The statement, Mr. Lamberti actually has provided
            6   your court with what Mr. Black told the Colorado court, and
            7   it's very deceptive.   What he stated was, "I want to disclaim
            8   those assets so that I can place them in the Renata Black
            9   estate where two-thirds of the funds will go into a
           10   Supplemental Needs Trust for the benefit of Joanne Black."
           11   That's what he told the court.            This was in the affidavit you
           12   filed in the New York court.            Do you recall that?
           13        A     I'm not recalling specific affidavit, but I'm not
           14   disagreeing with what Mr. Lamberti said on page 17.
           15        Q     What you told the New York court was that you
           16   intended to place two-thirds of the assets into a
           17   Supplemental Needs Trust, correct?
           18        A     No.
           19        Q     What did you tell the New York court?
           20        A     So I'm not remember the affidavit, but the powers
           21   that I asked for and believe that I received in Colorado were
           22   to disclaim Joanne's POD so that the money would go back into
           23   the estate, it would go under Article 4th of Renata Black's
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           24   will.    And under Article       t1 ,   two-thirds would go to the
           25   Supplemental Needs Trust and one-third would go to the Issue




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            1   Trust.
            2        Q      Let's--let's break that down, because I want to ask
            3   you questions about reading this in context and not taking it
            4   out of context.     You told this court in your petition, the
            5   one you're saying--never mind, sorry petition, my--withdraw
            6   that.    In your proposed order to this court, the one you
            7   testified about earlier--do you recall that?
            8        A      Yes, I do.
            9        Q      You use the word two-thirds of those funds will go
           10   into a Supplemental Needs Trust for Joanne Black; do you
           11   recall that?
           12        A     I--the proposed order says that two-thirds of
           13   Renata Black's estate will go into a Supplemental Needs Trust
           14   for Joanne--
           15        Q     Right.
           16        A     --Black.
           17        Q     And you said--
           18        A     I agree with that.
           19        Q     And you said it couldn't have been clearer that
           20   that meant only two-thirds, and the other one-third was going
           21   into an Issue Trust.     You testified to that just earlier?
          22         A     No.   I said I thought it was clear, and I agree
          23    that in hindsight it could have been clearer.    I regret that
          24    it was not made clearer.    But I thought it was really clear
          25    because you disclaim--you go into the estate, Article    4tn,




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            1   here's what Article 4    says.   So if there was any doubt, all
            2   anybody needed to do, all Joanne's counsel needed to do, all
            3   Joanne's GAL needed to do, all you needed to do, you're all
            4   lawyers, is go look at the will.    And they had to look at the

            5   trust to see who the beneficiaries were, but you didn't even
            6   need to do that.    You knew who the beneficiaries were.
            7        Q    Let me know when you're done.    You finished?

            8        A    I'm done.
            9        Q    Okay.    But you told this Court, you took out of
           10   context, you said Mr. Dain made a statement to the New York
           11   court.   Your purpose in telling the court today in your
           12   testimony was that I stated to the New York court that I
           13   understood the disclaimer would be two-thirds to the
           14   Supplemental Needs Trust and one-third to the Issue Trust.
           15        A     That's not what I said in my testimony.    Do you

           16   want--do you want to have me restate what I said?
           17        Q     No, I don't want you to restate it.    The record is

           18   clear.   What you're--when you read this--read page 17 and
           19   page 18, what that statement was is saying that you lied to
           20   the New York court and that what you told this court was that
           21   two-thirds would go into Supplemental Needs Trust, but you
           22   didn't tell the court that the other one-third was going into
           23   the Issue Trust.    That was the statement I made.   Go ahead

           24   and read it and tell me if I'm wrong.
           25        A     That is not the statement that you made.




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            1        Q     What Mr. Black did say is two-thirds is going into
            2   the Supplemental Needs Trust, implying the other third, as we
            3   all thought, would be maintained for the use of Ms. Black's
            4   needs outside of the Supplemental Needs Trust.      The point is,
            5   nobody on this side of the room was under any illusion that
            6   the other one-third was going into an Issue Trust.      You knew
            7   that when you made this--when you testified today.      You knew
            8   that everybody on this side of the courtroom believed that
            9   all of the money was going to be held for Joanne Black's
           10   benefit, didn't you?
           11        A     I have heard testimony to that effect.    I do not
           12   believe that is honest testimony, not coming from you and not
           13   coming from Cherie Wrigley.      And I do not understand how Ms.
           14   Young can look at a disclosure that says two-thirds is going
           15   to the Supplemental Needs Trust and think three-thirds is
           16   going to the Supplemental Needs Trust.     She's a lawyer.
           17   She's Joanne's GAL.    If she has any doubt about this, she
           18   ought to figure it out.      She gave testimony that's frankly
           19   incredible.   It says two-third and I thought it meant 100
           20   percent.   I don't get it.
           21        Q     So Ms. Young is a liar, Ms. DiPonio is a liar, I'm
           22   a liar, Ms. Wrigley's a liar?
           23        A     Ms. DiPonio just said she didn't remember.    Ms.
           24   Young said she assumed that all of the money was going to go
           25   into the Supplemental Needs Trust.     I don't see how that is a




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            1   plausible reading of the proposed order that we asked for
            2   that she said she was fine with.    That's just not a plausible

            3   reading.   It says two-thirds goes to the Supplemental Needs
            4   Trust.   At least in New York you're saying you understood
            5   that two-thirds was going to the Supplemental Needs Trust and
            6   saying some other way Joanne was going to get the third
            7   third, right?   You're not saying three-thirds was going to go
            S   into the Supplemental Needs Trust.
            9        Q     This is an argument.    You understood--you read that
           10   and understood that I was accepting that only two-thirds was
           11   going to go to Joanne?
           12        A     No, you said--
           13        Q     That's what you--
           14        A     --that only two-thirds was going to go into the
           15   Supplemental Needs Trust.    And you were imagining that the

           16   third third was going to go to Joanne in some other way.
           17   That's what this says.
           18        Q     The point is, you even--when you were testifying
           19   today, you understood my position is all of the money was
           20   going to Joanne, all of the paid-on-death benefits, that 95
           21   percent was going to Joanne?
           22        A     That is consistent with your testimony to New York
           23   and that is consistent with my testimony in this court.        My

           24   testimony was that you understood that only two-thirds would
           25   go to the Supplemental Needs Trust, which is consistent with




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            1   your having read and understood at least that much of the
            2   proposed order.
            3        Q       Could you go to Exhibit 68 and tell the Court what
            4   the date of that document from Chase is.
            5                (Pause.)
            6        A       May 4th,   2013.
            7        Q       So only two months after you received the March 3'
            8   order, correct?
            9        A       Approximately, yes.
           10        Q       And you said you--months and months you were going
           11   --having this argument with me over signing documents; two
           12   months after you received that order?
           13        A       I was trying to get you to sign documents from May
           14   --from February into June.
           15        Q       Why would you have--
           16        A       Certainly into late May.
           17        Q       You wanted me to sign documents in February, before
           18   you had received an order from the Court?
           19        A       Yes.
           20        Q    And would that have been for the estate?
           21        A       Now, I would have to go figure out which documents
           22   I asked you to sign and when.       That might have been for the
           23   2013 trust.     I don't remember which documents I asked you to
           24   sign when.     I just remember a series of e-mails and phone
          25    calls trying to get you to sign documents.      Chase didn't give




                                                                            BLACK000832
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            1   me all the documents all at once, and just follow-up after
            2   follow-up after follow-up, which started in early February
            3   and didn't end at least until late May or early June.
            4        Q      Okay.   That document signed in May, right?
                                                          4th
            5        A      That document is signed May
            6        Q      Do you remember the document that I didn't want to
            7   sign was the one where you wanted to add Samuel Black as an
            B   additional trustee; do you recall that?
            9        A      No.
           10        Q      You don't recall adding Samuel Black as an
           11   additional trustee?
           12        A      I don't recall your not wanting to sign that
           13   document.    I recall that you signed it.
           14        Q      Do you remember--remember sending me an e-mail in
           15   which you said Sam's only for backup in case you or I are not
           16   available?    Do you recall that?
           17        A      I believe that was with regard to the 2013 trust,
           18   but yes I recall that e-mail.
           19        Q      And do you recall that the reluctance was adding
           20   Samuel Black as a third trustee given that he was also
           21   conflicted?
           22        A       No, I never got anything back from you other than
           23   not returning e-mails and not returning phone calls and not
           24   returning documents.
           25        Q       By the way, have you yet filed anything with the




                                                                            BLACK000833
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            1   New York court in which you've correct your statement that
            2   this court gave you specific authority and quoting that that
            3   authority was to transfer two thirds into a Supplemental
            4   Needs Trust and one-third into an Issue Trust?
            5        A      That's the authority that I believe I received from
            6   this Court.
            7        Q      No, no, no.   You quoted an order.   Did you correct
            8   that in the New York court to this date?
            9        A      I haven't filed anything recently in New York
           10   because New York is on hold.
           11        Q      When you quote something, do you attribute that to
           12   an exact statement by someone else?
           13        A      I'm not sure I understand the question.
           14        Q      In the affidavit which is of record here, you told
           15   the court in New York in your affidavit that you received the
           16   following order, and you quoted it.     You gave a date of
           17   November 2013--or 2000--I don't remember.     It's 2012 or 2013.
           18   You quoted it and said this is the order I received.      You
           19   said it was specific authority granted by the court in
           20   Colorado.    Have you corrected that?
           21        A      This was the authority that I believed that I
           22   received from the Colorado court.
           23        Q      No, no, no.   You're not answering my question.
           24        A      The Court can decide that I didn't receive that
          25    authority, but that's what I thought I received.      And so in




                                                                             BLACK000834
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            1   my mind, I'm not sure what it is I'm supposed to correct in
            2   New York other than a statement this the authority I believe
            3   I had in Colorado.
            4              MR. DAIN:       Do you know what exhibit that is, the
            5   affidavit in New York?
            6              (Pause.)
            7        Q     (by Mr. Dam)         So when you told the Court I
            8   received an order and you quoted an order, now you're saying
            9   that that's just based on what you believed you got?
           10        A     That's what I believed at the time, yes.
           11        Q     Okay. You've seen the March 5th, 2013, order, the
           12   one that actually issued?
           13        A     Yes, I have.
           14        Q     Doesn't say anything that you put in those quotes,
           15   does it?
           16        A     I'm not recalling the exact quotes, but what I'm
           17   suspecting is I quote from the fuller proposed order arid riot
                                  5                 That's my best speculation as to
           18   the final March       th   order.
           19   what your line of questioning is about.
           20        Q     So let's get back to what I was saying.         Just so I
           21   know, you have not filed anything in New York that in any way
           22   corrects the affidavit you filed in New York regarding the
           23   authority you've received, yes or no?
           24        A     I have not.
           25              MR. DAIN:        Okay.   I have no further questions, Your




                                                                                 BLACK00083 5
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            1   Honor.
            2             THE COURT:    All right.
            3             MR. POSKUS:    No redirect, Your Honor.
            4             THE COURT:    Thank you.
            5             All right.    Thank--
            6             MS. DIPONIO:    Your Honor, may we take a five-minute
            7   recess?
            8             THE COURT:    --Mr. Black.
            9             Yeah, that's fine.
           10             MS. DiPONlO:    Thank you.
           11             (Whereupon, a recess was taken.)
           12             THE COURT:    Do we have further witnesses?
           13             MR. THIESSEN:    Yes, Your Honor, we would call Ms.
           14   Kate Litvak.
           15             THE COURT:    Raise your right hand.
           16             (Whereupon, Ms. Litvak was sworn.)
           17                           KATHERINE LITVAK,
           18   called as a witness herein, having been first duly sworn, was
           19   examined and testified as follows:
           20                           DIRECT EXAMINATION
           21   BY MR, THIESSEN:
           22        Q    Would you state your name, please?
           23        A    My name is Kate Litvak--Katherine Litvak.
           24        Q    And what's your profession?
           25        A    I'm -a professor of law at Northwestern University




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            1   School of Law.
            2        Q      What's your relationship to Bernard Black?
            3        A      I'm his wife.
            4        Q      How long have you been married?
            5        A      For about 12 years.
            6        Q      Did you ever meet Renata Black?
            7        A      Yes, I have met her many, many times.   I have also

            8   spoken on the phone with her almost weekly for as long as we
            9   were married arid she was alive.
           10        Q      what did you talk about?
           11        A      All kinds of things.   She liked to talk.    We were--
           12   she loved me because I was Ukrainian Jew and she was
           13   Ukrainian Jew, so she often liked to tell stories about her
           14   past, and I like to tell stories about my past, and we
           15   compared.    She was from a small town in Ukraine where I've
           16   been many times, so we really had a lot in common.       We often

           17   spoke in Russian.    I--when our grandmother was alive, I--I'm
           18   sorry, when I say our mother arid our grandmother, I'm
           19   referring to Renata Black and her mother.
           20        Q      Sure.
           21        A      Renata Black specifically requested as soon as we
           22   got married that I call her mother.     She insisted that I do
           23   and I always did.    So when I say our mother, that's mother.
           24   And my own mother is mom for me.
           25               So we often--so when--I spoke with our grandmother




                                                                             BLACK000837
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            1   in Ukrainian.    I spoke with Renata in Russian.   We discussed
            2   all kinds of things about the past.      She liked to talk about
            3   children and my children how I'm raising them properly.       She
            4   loved to talk about nutrition and health and what I should be
            5   eating.   And every now and then she would call just to say
            6   that she just read some popular magazine that I should eat
            7   almonds and not other nuts and such, so we were very close.
            8             She also liked to give me various advice, including
            9   financial advice.   And one of the things we discussed many
           10   times is her estate and her disposition of assets.
           11        Q    What was your understanding of her intent with
           12   respect to her estate?
           13        A    She told me that her estate will be divided two-
           14   thirds to her disabled daughter and one-third to the
           15   grandchildren from--from her son.     She said Bernie had
           16   repeatedly asked her not to leave anything to him because he
           17   is making a good living and he doesn't need this, and so he--
           18   and I think everyone believed it would be tax preferential to
           19   have a generation skipping tax, not leaving any money to
           20   Bernie directly and instead leave it directly to
           21   grandchildren.   So that was her plan.
          22              And she also told me that she had already set up
          23    two trusts; one for her disabled daughter and one for the
          24    grandchildren but didn't fund them.    And so of course I asked
          25    why you didn't fund your trust, and she said basically




                                                                             BLACK00083 8
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            1   because I don't trust Tony.    She said Tony is the only co-
            2   trustee on the trust.    Bernie was not a co-trustee.   Bernie

            3   was a replacement trustee for the time when she dies.     So her

            4   only co-trustee on the trust was Tony, and she says if I put
            5   money in a trust, I lose control, because he's a co-trustee.
            6   He can--they--they veto every decision I make.     Why should I

            7   lose control over my money if I instead can keep full control
            8   of my money.
            9             And so I told her that if she's certain that the
           10   money that she has is going to go to trust after she dies,
           11   and she says, Sure.     All of my money are (sic) in unallocated
           12   assets.   That is what she--that's how she called it.    She

           13   said non-allocated assets.     She said I specifically keep it
           14   non-allocated so that when I die that it will go to the trust
           15   under my will and so I will get exactly the same outcome this
           16   way as I would have gotten if I directly funded the trust.
           17   But the attraction of doing what I'm doing is that I keep
           18   full control of my money and I don't have to be at mercy of
           19   Tony because I don't know what he would do if he becomes a
           20   co-trustee and he will be able to veto every decision I want
           21   to make with my own money.     And that's what she was saying,
           22   my own money, my trust, my decisions.
           23              I actually asked her why she wouldn't put Bernie as
           24   a co-trustee instead of putting Tony, and she said there is a
           25   law in New York that if she wants--if you want the trust to




                                                                           BLACK000839
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            1   be tax preferential then at least one co-trustee has to be a
            2   non-beneficiary.   So she says that if she puts Bernie on the
            3   trust, Bernie is a beneficiary on the children's trust and a
            4   residual beneficiary on Joanne's trust.    If she puts Bernie
            5   as a co-trustee, then they could lose the tax preferential
            6   treatment at death.    So she said I have to keep Tony; I don't
            7   have anybody else.    I don't have any other family member who
            8   knows financial affairs or is a lawyer, and I don't trust
            9   outsiders to be trustees.    And so because she didn't trust
           10   Tony, she didn't fund the trust and she specifically told me
           11   the scheme of estate planning was not to allocate any assets
           12   directly so that upon her death they will go under the will
           13   directly into the trust as she had planned all along.
           14          Q   And when was the last conversation you had with
           15   her?
           16          A   Shortly before her death.
           17          Q   And did any of these topics come up?
           18          A   Not in a conversation shortly before her death, but
           19   we had discussed these topics maybe a month before her death
           20   or two months and she had not made any indication that she
           21   had made any changes in her estate planning.
           22          Q   Did she discuss the allocation between the trusts?
           23          A   Excuse me while I get some water.   Well, one trust
           24   gets two-thirds of the estate and the other gets one-third of
           25   the estate.




                                                                           BLACK000840
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            1        Q    Did she tell you that specifically?
            2        A    Yes, this was well known in the family.      The kids

            3   knew this.    I knew this.   This was not a secret.
            4        Q    And what was her--did she tell you anything about
            5   the trust for the grandchildren and how it was to be used?
            6        A    She specifically wanted it to be used for
            7   education.    She was very high on education.   She particularly

            8   wanted at least some grandchild to be a doctor.       She had told

            9   me a very sad story about her life, how she--when she escaped
           10   the Holocaust and lived in Germany for a very short amount of
           11   time immediately after the war she studied to be a doctor and
           12   then she immigrated to the United States and then the
           13   doctor's credit of education that she collected in Germany
           14   did not transfer to the U.S.     So she could not become a
           15   doctor, or at least not easily.
           16                However, she could easily become a dentist, so she
           17   had become a dentist.    Arid this was a pain of her life that
           18   she never became a doctor.     She insisted that every child in
           19   the family becomes a doctor.     It turns out that only one
           20   wanted to do it.     Then she started insisting that every other
           21   child in the family becomes a lawyer.     For example, she--so
           22   for the doctor, the one who decided to become a doctor, she
           23   specifically promised she would pay for the medical school.
           24   She paid for a year of his preparatory studies to qualify for
           25   the medical school admissions.     She paid a lot of his




                                                                             BLACK00084 1
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            1   expenses when he was preparing to become a medical student.
            2                For the other son, she just badgered him into going
            3   to law school.     She gave him the money to take a preparatory
            4   test for LSAT.     When that result was not quite good, she was
            5   very upset.     She kept saying, you know, if he gets his
            6   results better, you know, she would pay him a lot more money
            7   to do it again.     So her view was the entire grandchildren's
            S   trust is to be spent on education.
            9                She also promised to pay down all student loans for
           10   all of Bernie's adult children, and that is hundreds and
           11   thousands of dollars for each, I believe.
           12        Q       Did you attend Renata Black's funeral?
           13        A       Yes, I did.
           14        Q       And did you have any conversations related to
           15   Renata's estate?
           16        A       Yes, I did.   We held the funeral at our mother's
           17   house and we were there the entire day except the day where
           18   we were at the cemetery.     And at some point during that day
           19   at our mother's house, Anthony--Anthony Dain approached me
           20   and said that he wanted to talk to me about an important
           21   matter, and so we stepped outside.     And he said you should
           22   know how Aunt Renata's estate is distributed.     It's one-third
           23   to the grandchildren and two-thirds to Joanne.     And I said I
           24   knew that.    Everybody knew that.   That's not news.   And so he
          25    just kept poking.    He kept saying, Don't you think it's




                                                                             BLACK000842
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            1   unfair.    I just want to make sure you don't think it's
            2   unfair.    I just want to make sure you're not upset.      And I

            3   said I cannot understand why I should be upset.        And he said

            4   I just want to make sure there would be no litigation, that
            5   you will not be challenging the will, you will not be
            6   challenging any estate matters.      And I kept saying no I'm not
            7   upset.    He said you know Bernie doesn't inherit directly.        I

            8   said I know, everybody knows this.      He specifically told her

            9   that he does riot want to inherit because that would just be
           10   inherits from her and then that same money would then be
           11   passed to his children and taxed, so why.      So we had

           12   discussed this.    I assured him that I had no interest in
           13   suing anybody.    I was not upset.    He said great.    We parted

           14   friends.    He offered to take me to the airport, and he did.
           15        Q      Did Mr. Dain raise an issue with respect to Renata
           16   Black's beneficiary designations on any of the account?
           17        A      He had riot said a word about this, no.
           18        Q      And did your--did you--what was your understanding
           19   later with respect to the beneficiary designations on the
           20   Vanguard accounts?
           21        A      I--as I said, our mother told me her estate plan
           22   was to leave all assets unallocated and funds unfunded and so
           23   that when she dies funds get funded automatically from the
           24   estate.    That is the only reason--this is the reason why she
           25   was able not to fund the trust, because she was not worried,




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            1   they would trusted--funded exactly the same way anyway.
            2               So when--sometime in mid-July of 2012, we received
            3   a letter from Vanguard saying that 95 percent--the account
            4   was actually allocated, contrary to everything she's ever
            5   told me and contrary to every detail of her estate plan that
            6   the account was allocated.       And only five weeks before she
            7   died the allocation was made.       And the allocation was made 95
            8   percent to Joanne and five percent to the adult children from
            9   the first marriage; one percent each.
           10               THE COURT:     You got a letter from Vanguard?
           11               THE WITNESS:     We received a letter from Vanguard in
           12   mid-July of 2012.
           13               THE COURT:     So you did know about it?
           14               THE WITNESS:     In 2012, but I did not know about
           15   this before then.    Yeah, before then she--
           16               THE COURT:     So you knew that the allocation was
           17   made in 2012 and that there was a change five weeks before
           18   she died?
           19               THE WITNESS:     Correct, that's what I said.    I'm
           20   sorry if I'm not clear.
           21               THE COURT:   Okay.
           22               THE WITNESS:    So I did not--I apologize if I
          23    misunderstood the question.      Before we received the letter
          24    from Vanguard, I was certain that all assets are not
          25    allocated and they're not allocated on purpose.        That is how




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            1   she planned to fund the trust.
            2             THE COURT:      Right.     But you got the letter in 2012?

            3             THE WITNESS:       Correct.    And when I received the
            4   letter in 2012, I said, oh, oh, when did this allocation
            5   happen, and the only thing Vanguard would tell us is that the
            6   allocation happened only five weeks before she died.
            7             THE COURT:      Okay.      That's not--that's not making

            8   any sense.
            9             THE WITNESS:       This is--
           10             THE COURT:      I'm sorry, you're saying first that you
           11   knew--
           12                THE WITNESS:    I'm not sure I--
           13                THE COURT:   --in 2012, that you got a letter from
           14   Vanguard which said the accounts were allocated?
           15                THE WITNESS:    Correct.
           16                THE COURT:     Then you're saying that it got changed
           17   five weeks before she died?
           18                THE WITNESS:    That's what Vanguard letter told us.
           19                THE COURT:     Right.
           20                THE WITNESS:     Yes.
           21                THE COURT:     I'm missing something.
           22                MR. THIESSEN:     What's the exhibit?
           23                THE WITNESS:     I'm not sure I understand the
           24   confusion.
           25                THE COURT:     Well, what I'm understanding from what




                                                                                BLACK000845
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            1   you're telling me is that you knew about the account
            2   designations from 2012.
            3             MR. THIESSEN:    In--
            4             THE WITNESS:    I don't--
            5        Q    (by Mr. Thiessen)   Would you want to turn to
            6   Exhibit 42, which is the Vanguard letter.    Perhaps we can
            7   clear it up.
            8        A    Okay.
            9             (Pause.)
           10        Q    Are you there?
           11        A    Yeah, I'm there.
           12        Q    I believe it's been admitted.    Did you ever see
           13   this?
           14        A    Yeah.   Yeah, I saw this when I received it.
           15        Q    Is this the letter you're referring to?
           16        A    Yeah.
           17        Q    And--
           18        A    Yeah.
           19        Q    And would you mind elaborating on your testimony
           20   with respect to what you knew about the beneficiary
           21   designations?
           22        A    Yeah.   So as I said, I believed from our mother's
           23   statements to me that the--the assets were unallocated so
           24   they can flow into the estate.    And in July of 2012, we
           25   received this letter from Vanguard, and it says assets are




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            1   allocated; 95 to Joanne, 5 to children.          And the allocation--
            2   I was looking at this, "Our records indicate that on March
            3   23   we received a request to designate the (inaudible)
            4   beneficiaries."     So this is what I meant.       I thought the

            5   assets were not allocated until March 23. I didn't know
            6   differently, but this was my belief at the time that the
                                                                      23rd
            7   assets were allocated in this matter on March                 and I
            8   found out about this in July of 2012 when we received the
            9   letter.
           10                THE COURT:   Okay.
           11                THE WITNESS:   Am I clear?
           12                THE COURT:   Urn-burn.
           13                THE WITNESS:   I'm sorry, sometimes I get too fast
           14   or confused or something.
           15        Q       (by Mr. Thiessen)        Thanks, Ms. Litvak.    And so when

           16   you received this July lltl__or when you learned of the July
                12th__11th
           17                 2012 notice, what was your response?
           18        A       I said this is obviously a mistake by our mother,
           19   because at this time in March 23', 2012, Joanne was in a
           20   state of profound psychiatric disarray.           She was living on
           21   the street.     She was unable to understand who she was, who
           22   her family was.     She believed she was married to a mobster.
           23   She believed that the mob kidnapped her husband and demanded
           24   ransom.      She was running away and hiding.       How could anybody
           25   in her right mind leave that much money directly at that time




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            1   to a person who is so profoundly mentally ill.    This makes no
            2   sense.
            3             Now, I will tell you honestly I thought sure it is
            4   possible, although I think not likely, but possible that our
            5   mother decided to disinherit everybody.     It's possible.     I
            6   think not likely, but possible.   But it is absolutely not
            7   possible that she would leave this money directly to Joanne
            8   at that time.    That was absolutely not possible.   Our mother
            9   was a wise and very cautious woman.     If she had made any
           10   changes at that time to her designation of beneficiaries, no
           11   matter what the designation was before that, she would have
           12   made sure that money does not go to a woman who lives on the
           13   street and believes she's married to a mobster.      That is
           14   absolutely not possible.   So I thought it was a mistake.      I
           15   thought our mother clicked the wrong button somewhere and
           16   misunderstood something and clearly that could not be what
           17   she intended.
           18        Q    Did you--
           19        A    I--go ahead.
           20        Q    Did you have any telephone calls with respect to
          21    what you believed to be this mistake?
          22         A    Yes.   So in mid-July, we were all in kind of a
          23    frazzled state of how could our mother possibly do this; it's
          24    obviously a mistake.   And so before I go to phone calls, my
          25    immediate reaction was there has to be some legal doctrine to




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            1    invalidate this.   I don't know this body of law.   I'm not a

            2    practicing attorney.   I am an academic studies, (inaudible)
            3    at the law school, but I know some law.    And in other bodies
            4    of law, if you make a material mistake, that material mistake
            5    invalidates the document.    So, for example, in the contract
            6    law, if you make a material mistake of fact, then the
            7    contract is invalid.   In securities law, if you make a
            8    material mistake in the public offering, then the public
             9   offering maybe invalid.     So I said to myself, that's okay.
           10    This designation is insane in such profound way that it is
           11    obviously a mistake, so there has to be a body of law
           12    somewhere in trust and estate doctrine that invalidates
           13    obviously erroneous assignments of beneficiary.
           14              So I said, you know, we should sue.     You know, I

           15    wasn't serious at the time, but I thought I was going to sue.
           16    Arid then I had a conversation with Cherie.    And, Your Honor,
           17    I am stunned that Cherie would testify that she had not
           18    spoken with me on the phone because she actually has.     And

           19    she had also talked on the phone with Bernie's son Ben and
           20    Bernie's daughter Sara.     So the first time Cherie called us
           21    and I picked up the phone and she said, Oh, it's you.     I need

           22    to talk to Bernie, but, you know, can you believe the
           23    designation.   And so we went through this sort of puzzled
           24    exchange, I can't believe it.     So Cherie was equally puzzled.
           25    She said, you know, Aunt Renata has done a lot of strange




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            1   things in her life, but this so far beyond anything one could
            2   imagine.   You know, leaving that much money directly to a
            3   person on the street at the time when she was already on the
            4   street is simply, clearly a mistake.    And so we spoke
            5   shortly, but we both agreed it was a mistake.
            6              And they said, you know, I'm glad everybody agrees
            7   it's a mistake.   I talked to everybody.   Everybody says
            8   mistake, so I'm going to sue.    And so that was the--that was
            9   the first conversation.
           10        Q     And when was that?
           11        A     Shortly after we received the letter sometime in
           12   July, mid-July probably.
           13        Q     What did you do next?
           14        A     I had gone to conduct legal research, preliminary
           15   research before I decide to hire a lawyer.    So I went on
           16   (Inaudible) Law or I don't recall Lexus or Cornell database
           17   of legal documents.   And I have researched what happens when
           18   the designation of beneficiary is made in mistake.
           19              And I was wondering what the remedy is for mistake.
           20   I have no doubt that we can establish mistake.    I was
           21   wondering about remedy.    I thought maybe if the remedy is
           22   that the court will try to do what the beneficiary--what the
           23   assigner might have wanted, then it will be protected in the
           24   complaint in the complex litigation.    But all research that
           25   I've done shows that the remedy is if the assignment is a




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            1   mistake, then the assignment is removed and the assets flow
            2   back into the estate.
            3              And I said, well, this is an easy law case.
            4   Everybody agrees this is a mistake.      I have not seen anybody

            5   who didn't.     Tony today testified he thought it wasn't.     This

            6   is the first time ever I hear anybody saying that when a
            7   woman at the time when her daughter is living on the street
            8   makes an assignment to her directly, it's not an obvious
            9   mistake.   I thought this was completely insane and everybody
           10   thought it was insane.     And remedy for mistake is that assets
           11   flow--the designation is removed and assets are flowing into
           12   the estate.
           13              I said great.    Let's hire a lawyer.   So I went on

           14   to investigate lawyers.     We needed to figure out where to
           15   sue, in which court and in which state.      It could have been

           16   in New York; it could have been in Pennsylvania where
           17   Vanguard was.     So it took me some time.   I had to ask a
           18   couple people.     I asked colleagues.   We started collecting
           19   information.     And then I decided it was important for me to
           20   obtain an agreement from Bernie's adult children for what I'm
           21   doing.
           22              When I say I was going to sue, I meant I was going
           23   to sue on behalf of my minor children, who are the
           24   beneficiaries in an Issue Trust, so they would have been
           25   harmed by this designation.




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            1                So I wanted to see whether Bernie's adult children
            2   would support me in litigation, so I called them.        I called
            3   Sara, I called Ben.     I had a lengthy discussion with Ben.
            4   told him about the content of the letter.      And he was deeply
            5   puzzled and outraged--
            6              MR. DAIN:    I'm going to object with this long
            7   narrative.    I'm not sure what the relevance is anymore.      What
            8   is the relevance of her going through all these discussions
            9   she's saying she had with other children?      Is her state of
           10   mind at issue here?
           11              THE WITNESS:    I'm planning--I was planning to sue
           12   and I wanted to show that I believed I had a very strong
           13   claim.    And I believe my plan to file a lawsuit was the
           14   single most important reason why Bernie and Cherie obtained
           15   the disclaimer.    So let me show you--
           16              MR. THIESSEN:   Your Honor, I'll direct the witness
           17   more specifically.
           18              THE COURT:   Okay.
           19         Q    (by Mr. Thiessen)    What was the outcome of your
           20   call with Ben Blake?
           21         A    Ben very enthusiastically supported litigation.        He
           22   said let's go right away, right now.      Let's do it.   Let's do
           23   it.
           24         Q    Did you have any further conversations with Ms.
           25   Cherie Wrigley?




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            1        A    Yes.   A few days later, she called again.      And I

            2   said, "Great news.    We are suing.   I already have an

            3   agreement from Ben and I'm going to talk to other children
            4   and litigation is happening."    This is--you know, and I think

            5   everybody agreed that money needs to be removed from Joanne's
            6   hands so I thought everybody will think great plan.       And at

            7   this time, Cherie said, "Well, this is what I wanted to talk
            8   to you about.    It's really not a great plan.   You know, think

            9   about what happens if you sue.    If you sue, then the estate
           10   is frozen and the money is frozen in Vanguard and, you know,
           11   everything is frozen, there is no money.     And you should

           12   understand that Joanne lives on the street and there is no
           13   money to save her.    It will take us tens of thousands and
           14   maybe hundreds of thousands of dollars to save her.       And if

           15   you freeze all this money for years of litigation, Joanne
           16   will live in terrible state on the streets and she might as
           17   well die on the streets."    And so I said, "I don't understand
           18   what you want me to do.    I feel very bad about Joanne, but I
           19   have responsibility to my minor children.     And if I don't sue

           20   now, then they will lose their inheritance, so what can I do
           21   that will be better than suing?"      And Cherie said, "Well,
           22   Bernie and I have discussed this great plan about
           23   disclaimers."    This was no about complicated disclaimers in
           24   court.   Cherie said I can simply go to Colorado and convince
           25   Joanne to disclaim.    And I said, "This makes no sense.      How




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            1   are you planning to convince Joanne to disclaim the money?
            2   Why would she disclaim the money voluntarily?"     And Cherie
            3   said, "Trust me, I know how to talk to people and I know
            4   Joanne and I know Joanne's weaknesses and Joanne is very
            5   concerned with her appearances.     And if I go to Colorado and
            6   take her to a nice store and show her nice things and tell
            7   her sign this piece of paper and you can have this
            8   immediately, and if you don't sign it then there will be
            9   litigation frozen and you will get no money."     And I thought
           10   this was unclean.    I thought convincing a crazy woman to sign
           11   significant documents was bizarre, but Cherie was convinced
           12   she can get it signed.    But I thought this was bizarre.    It
           13   was conduct unbecoming.     And I also thought this would be no
           14   successful with Joanne.     And I also thought that no court--if
           15   sometime later this would come up in court, no court would
           16   ever consider that signature of an insane woman to be a valid
           17   legal disclaimer, so I said this plan is absurd.
           18               And Cherie just started putting this guilt trip on
           19   me.   She says she and Bernie has a great plan about
           20   disclaimers, you know, they will get Joanne to disclaim in
           21   some way.   If--you know, I can get what I want and Joanne
           22   will get money immediately and how can I be such a heartless
           23   person who doesn't care about Joanne and just wants to sue.
           24   And I just wanted to sue.    I thought we had an excellent
          25    claim and I wanted it to be a litigation.    And she was




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            1   playing the thing, you are the younger second wife.       You

            2   don't know this family.     People don't like you already.      If

            3   you do this, then everybody will hate you.       Family litigation
            4   is terrible and how can you put this family into months and
            5   maybe years of litigation when Joanne is in such state.         I

            6   said, you know, fine.     I can give you a few--maybe a couple
            7   months delay.     I'm not going to not sue.   I'm just going to

            8   give you a chance to do something else.
            9              Arid she said she and Bernie together will get the
           10   disclaimers and these disclaimers will produce what I want.
           11   They will put money into the estate and distribute a third to
           12   grandchildren so that I get what I want and Joanne gets what
           13   she needs.     It will be now.   It will be fast and nobody will
           14   be hurt.   And I said, okay.     I'm not losing anything if I'm
           15   only waiting a couple of months.      So I said fine.
           16        Q       Arid specifically did you discuss what would happen
           17   with the assets if they were disclaimed?
           18        A     Absolutely.    That was the whole point.     The

           19   disclaimer discussion was a specific substitute to
           20   litigation.     I thought I had a claim.   I'm now very

           21   disappointed that I didn't just say to all of them forget it,
           22   I'm going to sue.     I had the perfect claim.    I could have

           23   been done in a few months.       Joanne was not able to defend
           24   that claim; she was living on the street.      She did not have

           25   court appointed counsel.     She did not have money to pursue




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            1   this litigation.      She was not entitled to any money to any
            2   money to pursue litigation.      I would have won back then, I
            3   have no doubt.      And I only deferred for a few months because
            4   I thought I don't want to be the evil bitch young wife who
            5   puts the family through litigation.      And I thought if I only
            6   wait for a couple months, maybe they'll succeed and the
            7   family will not hate me.      And if they don't succeed, I can
            8   still sue and I will win.
            9        Q      What if anything did Ms. Wrigley say specifically
           10   about her understanding of the effect of the disclaimer?
           11        A      She told me that she was going to fly to Colorado
           12   and get Joanne to disclaim her part in the account and then
           13   these--this designation will not exist and then the money
           14   will go to the trust.
           15               And by the way, Ms. Wrigley had been telling me her
           16   extensive expertise in courts in the matters related to
           17   disabled persons and otherwise incapacitated persons, that
           18   she was very proud, that she's also part of a legal
           19   (inaudible)   .   She had been telling me that she knows all ins
           20   and outs on how these things are done and because she was a
           21   court appointed--not court appointed counsel, she was a
           22   Guardian ad Litem for years and she had to supervise disabled
           23   children for years.     Joanne--I'm sorry, Cherie had asked us
           24   to help her become a Guardian ad Litem for Joanne in
           25   Colorado.   So I assumed she understood exactly what was going




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            1   on.   This was not a random high school teacher.      This is a

            2   person--Cherie is a person who is very well familiar with the
            3   legal system.      She wanted to be Guardian ad Litem for Joanne.
            4   She knew how things worked.      She was very convincing.
            5         Q     Did you specifically discuss anything with respect
            6   to the two-thirds/one-third distribution?
            7         A     Yes.    I specifically told her that my interest in
            8   this litigation is a third of the account that will go into
            9   the grandchildren's trust.      Arid she had told me, "Don't
           10   worry.    We will get what you would have gotten to you--what
           11   you would have gotten through litigation but without
           12   litigation."       She was completely clear.   She said, "When this
           13   assignments are invalidated, everything goes to the estate.
           14   It's as though this assignment doesn't exist."        At the time,

           15   we had not thought about the five other grandchildren; we
           16   just talked about Joanne.       She said the minute Joanne
           17   disclaims, it's      as though this assignment never existed.
           18         Q     And what did you do following this phone call?
           19         A     I now had to convince Ben and Sara not to sue.         And

           20   Sara was fine.       Ben was very upset.   He wanted to sue.    He

           21   did not like this plan.       He was gung-ho, wanted to sue, not
           22   going to stop.       And so I had to convince.   I said we are not

           23   stopping.    We are not giving up our legal right to this
           24   excellent legal claim.       We are simply postponing.   It's okay

           25   to postpone by a couple of months, and he agreed to postpone




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            1   by a couple of months.
            2          Q    What happened next?
            3          A    We had more conversations with Cherie.    I was
            4   waiting and waiting and waiting for the developments in
            5   Colorado.    I thought--I frankly did not think it was likely
            6   she would have obtained a signature of Joanne.     I did not
            7   think that she had magic powers of convincing.     But sometime
            8   in August we had another conversation and she said, "Oh, that
            9   didn't work.    Joanne on the phone did not agree to sign and I
           10   don't want to go to Colorado because we're going to spook
           11   her.   She's going to be afraid and run away and we don't want
           12   her to run away, so change of plans.    Instead of getting
           13   Joanne to sign anything, we are going to have the court
           14   announce her to be incapacitated and have her guardian to
           15   sign the same thing that Joanne would have signed on her
           16   behalf."
           17               So--and she had gazillion different plans.       Her
           18   other plan was to have Joanne involuntarily committed into a
           19   mental institution or threaten and Joanne will be so
           20   terrified of this that she would sign anything.      And I
           21   listened to this stream of plans, and there were some other
           22   plans I don't remember, and I thought this is just--you know,
           23   I like it less and less.   I have a perfectly good legal
           24   claim, why am I sitting on it.    But she said, "But we already
           25   put these things in motion.   We're already looking for an




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            1   attorney in Colorado.    We're already looking for--you know,
            2   to appoint a Guardian ad Litem, et cetera, for Joanne.      Just

            3   wait a little bit more, just a little bit more."     And I said,
            4   well, okay, I guess I'm going to wait a little bit more.
            5   That's okay.   So I waited more.
            6        Q      What happened next?
            7        A      And next we had another conversation in October.
            8   In October--
            9        Q      What year?
           10        A      2012.   In October, we learned that it's not enough
           11   for Joanne to disclaim, it also was required that all other
           12   listed beneficiaries would need to disclaim, which means
           13   every one of the five grandchildren listed would also have to
           14   disclaim.    At this point, I was just absolutely livid.    I was

           15   so mad that I allowed them to drag this process for so long
           16   and stop me from filing a lawsuit that I had.     It was clean;
           17   it was good.    Now I also--they also had to convince Bernie's
           18   five children to disclaim and some of them were more
           19   reasonable and would disclaim and some were less reasonable
           20   and would not disclaim.     And meanwhile, this process had
           21   extended for very long.     And, you know, I just thought this
           22   was infuriating.     And I thought at least one of the five is
           23   going to say no I'm not disclaiming and then the entire
           24   system is going to break down.
           25        Q      Specifically with respect to this adult child




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            1   disclaimer issue, did you have any conversations with Ms.
            2   Wrigley about that issue?
            3        A      Yes.   The biggest worry was Rebecca Black, the
            4   youngest.    Rebecca was an 18-year-old party girl.     She was
            5   just in a constant state of partying, and she had all kinds
            6   of other problems.    She barely finished high school.    She,
            7   you know, went to community college and was partying day and
            8   night and not studying and claiming that she--you know, when
            9   her bad grades came in, she was claiming it was all her
           10   father's fault or else she was depressed.
           11               And I said why in the world would Rebecca Black
           12   disclaim $40,000 cash falling on her lap.     This is an 18-
           13   year-old party girl.    She wants money today.   If you tell her
           14   that in exchange for $40,000 she can get more money in trust
           15   controlled by her father, who she thinks is the problem of
           16   her life, she would never agree to that exchange.       So Rebecca
           17   was the big worry.    I was--I thought she would not sign.      I
           18   thought she just wants the money and run.
           19        Q      So in your conversation with Ms. Wrigley, what was
           20   her response with respect to this specific issue with Becca?
           21        A      We--again, Cherie said she's highly experienced in
           22   dealing with difficult teenagers.    This is her job.    She
           23   knows how to deal with them.    She believes she can establish
           24   a rapport with Rebecca.    She--she said she can convince
           25   Rebecca to do--to sign the disclaimer.    And I said how?      This




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            1   is an 18-year-old looking at $40,000.    And Cherie said I will
            2   explain and tell her the truth.    I will explain to her that
            3   if she disclaims, she will get a lot more money in trust.       So
            4   we actually talked about the way to explain it to her.     So
            5   the way I would explain it to Ben, for example, or to Sam, I
            6   would have said, Look, today you're getting one percent.       If
            7   you disclaim, you're getting one-seventh of one-third, which
            8   is 1/24ths, which is five percent.    It's better to get five
            9   percent than one percent so disclaim.
           10              Rebecca is not quite that sophisticated, or at
           11   least at he time she was not, so it was difficult to discuss
           12   specific numbers with her.   And so we would try to come up
           13   with some explanation for how if you give up cash today you
           14   will get so much more in trust that it would make sense for
           15   you.   So as you understand, exchanging $40--$40,000 in cash
           16   today for $40,000 in trust sometime later under control of
           17   your father, that is not the kind of exchange doesn't make
           18   sense to her. And it was completely clear.
           19              So we had to explain that in trust she gets five
           20   times as much and so these--we did not say, you know, please
           21   let's do the calculation.    We had to say you will get a lot
           22   more in trust.   That is the only reason why a party girl, 18-
           23   year-old would give up $40,000 in cash.
           24          Q   Did you specifically discuss the one percent versus
           25   the five percent--




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            1          A     Absolutely--
            2          Q     --issue with Ms. Wrigley?
            3          A     --we did.   Absolutely we did.    Of course.    We had
            4   to explain to Rebecca why she's giving up one percent,
            5   $40,000.     I was just totaled when Cherie said, "Oh, I just
            6   told her give away $40,000 in exchange for nothing."          What--
            7   like who possibly would do that?       Who would agree to that?
            8   Or even give away $40,000 in cash today for $40,000 in trust
            9   controlled by your father sometime in the future.        Who would
           10   possibly disclaim on those terms?      It makes no sense.     The
           11   only way to convince was to say there will be a lot more in
           12   trust waiting for you, and that is exactly the conversation
           13   we had.    At every moment in this process Ms. Wrigley was
           14   referring to this as think of it as a settlement.        You have a
           15   good claim.    We care about Joanne.      If we just do it
           16   together, we will get what you want.        You will get exactly
           17   what you think you will get in litigation without litigation.
           18   Think of it as a settlement.     And this was exactly how we
           19   proceeded.
           20              And, Your Honor, I'm just--I was just shaking when
           21   I heard her say that she didn't know.       I'm completely
           22   astonished.    How could she possibly convince an 18-year-old
           23   party girl to give away $40,000 in exchange for nothing or in
           24   exchange for $40,000 in trust?     How?    There is no way.    No
           25   way.




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            1                 MR. THIESSEN:   Thank you, Your Honor.   Nothing

            2   further.
            3                 THE COURT:    All right.
            4                               CROSS-EXAMINATION
            5   BY MR. DAIN:
            6        Q        Ms. Litvak, you said you had a lot of conversations
            7   with Renata Black?
            8        A        Yes, I did.
            9        0        In fact you said you had one just a few weeks
           10   before she died?
           11        A         I don't recall how many weeks, but shortly before
           12   she died, yes.
           13        Q         And what was that conversation about?
           14        A         Nothing significant.
           15        Q         No, just--about what?
           16        A         How are you?   How is the weather?   I'm not feeling
           17   well.       I think I'm riot feeling well.   Let me talk about--on

           18   her part, let me tell you how I'm not feeling well.         On the

           19   other hand, you should eat more green vegetables.         This kind

           20   of conversation.
           21           Q      She was--you were discussing with her her health,
           22   right?
           23           A      Yeah, sort of--unremarkable things.
           24           Q      And then the conversation--last conversation you
           25   had before that one, how many weeks or months before she




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            1   died?
            2        A    We spoke almost weekly or biweekly, so that was--
            3   you know, so a couple of weeks or three weeks before she
            4   died, so another couple of weeks before then and then--
            5        Q    You had good conversations with her?
            6        A    Yes, I did.
            7        Q    And what kinds of things would you discuss?
            8        A    Usually I just keep quiet and she talks about
            9   health and well-being and sometimes money management.     And
           10   let me let you know--let me tell you how to live your life.
           11   Sometimes she was talking about Joanne.     Sometimes she was
           12   talking how she was very proud of her grandchildren and her
           13   son and just all kinds of things.
           14        Q    So she wasn't crazy?
           15        A    She was not crazy, no.
           16        Q    No.     So her decision then to leave 95 percent to
           17   Joanne, you didn't think she was crazy?
           18        A    I did not plan to argue incapacity.     I was planning
           19   to argue mistake.
           20        Q    Okay.    So then she just made a mistake in--
           21        A    Correct.
           22        Q    --designating it?
           23        A    I--
           24        Q    Okay.
           25        A    --believe she did not understand what the




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            1   consequences were of her actions.
            2        Q     Did you know what the designation of the paid-on-
            3   death accounts were before she changed it to 95 percent/five
            4   percent?
            5        A     I did not know firsthand, but she had told me it
            6   was not designated.
            7        Q     How old are your children?
            8        A     They are now seven and nine.
            9        Q     So at the time that Renata Black signed this
           10   January 25, 2010 will, your children were already born?
           11        A     Yes, of course.      They were five and what--
           12        Q     And you know--yes.
           13        A     I'm sorry, four and six.
           14        Q     Do you know that at the time--I mean you've seen
           15   this will where she leaves residual money only to the five
           16   grandchildren, riot to your two grandchildren?
           17        A     Yes.   I'm glad you asked this.     I don't know how
           18   much the Court wants to hear of this discussion, but--
           19        Q     No, I'm just asking did you know about this.
           20        A     Yes.   Yes, I did.     And I actually had detailed
           21   discussion about that will with our mother.       She had
           22   explained to me why she had written this.       This was her tax

           23   evasion scheme.    Do you want me to tell you more?
           24        Q     No, I don't.
           25        A     Yes.




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            1        Q      what I want you to tell me is that you knew about
            2   this will--
            3        A      Yes, I did.
            4        Q      --before she died?
            5        A      Absolutely I did.    She had told me about it.
            6        Q      Did you discuss with Mr. Black that you should tell
            7   the Court in New York about this will?
            8        A      I'm--I'm thinking, but I should say we consulted a
            9   counsel whether this would waive some kind of privilege of
           10   somebody, but yes absolutely we had discussed this with a
           11   counsel who had told us this will is legally invalid in New
           12   York.
           13        Q      And you knew that in this will there was specific
           14   statements about not wanting to leave you money or the
           15   children money?
           16        A      Correct.   It's even better.   If Bernie divorces me,
           17   he gets all the money directly.
           18        Q      And she loved you dearly?
           19        A      Yes, she absolutely--do you want me to tell you
           20   what it was?    It was a tax evasion scheme.    I can tell you a
           21   lot more.    Do you want me to tell you?
           22        Q      Did you think she was mentally ill?
           23        A      No, I did. not.   I thought she was gullible.    She
           24   was trying to evade estate taxes.     She went on crazy websites
           25   of crazy tax avoidance people and she thought that she had




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            1   come up with a perfect scheme in which she would leave a
            2   bunch of money directly to Bernie in some strange tax hidden
            3   account and that money would go to our minor children.     And
            4   the money for the big children will go to some other thing
            5   that is in her will.   I had told her that I wanted to take no
            6   part in this crazy scheme.   And I also told her it's invalid
            7   and illegal.   And I had told her that--oh, and the reason she
            8   put in that will that she wants--if we get divorced, he gets
            9   all the money is because she wanted to make sure that I don't
           10   grab the money in case we get divorced, because he had a bad
           11   experience with his prior wife.    The money was supposed to be
           12   left to him in an account that nobody should know about.
           13        Q     The first you learned about this will was when
           14   exactly?
           15        A     I believe in 2010, or something like this.    I don't
           16   recall exactly.
           17        Q     Did you know there was an addendum to the will?
           18        A     She had told me some details.   She apparently wrote
           19   multiple drafts and she had started consulting me on multiple
           20   drafts, and I kept telling her this is illegal on multiple
           21   ways and I don't want to discuss the details.     So I don't
           22   remember if she told me about the addendum.
           23        Q     And when--your plan was to take advantage of the
           24   fact that Joanne was incapacitated, wouldn't understand your
           25   lawsuit, didn't have money to hire an attorney, and then you




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            1   would win?
            2        A      Absolutely not.   I would go to court in front of a
            3   judge and I would litigate the case against an opponent who
            4   cannot defend herself, but I am not (inaudible) to my
            5   opponent.     And I felt bad for Joanne, but what was I supposed
            6   to do.    People litigate against people who are much less
            7   sophisticated all the time.
            8        Q      Much less sophisticated?
            9        A      Yes.
           10        Q      She is mentally ill?
           11        A      She was, but she was not helpless.      She was, for
           12   example, able to get $80,000 out of Fidelity against Bernie's
           13   opposition.    So a law professor, crazy woman; crazy woman
           14   wins.    She was able to get herself out of a criminal charge
           15   in Colorado all by herself.     She was schizophrenic; she's not
           16   retarded.    She knows how to--she's trained as a paralegal.
           17   She knows where to (inaudible)     .   She knows how to sue.    She
           18   managed to get her law firm in Connecticut terrified and drop
           19   the--what is it, worker's compensation claim by making magic,
           20   saying magic words.    I'm not your client; I will sue.        And
           21   then she knew exactly on what grounds she would sue.         So,
           22   yes, I thought I had a superior hand.        I felt uncomfortable,
           23   but she was not helpless.     She's not retarded.    She's
           24   schizophrenic.
           25        Q      But you intended by that to sue and you said--I




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            1   thought you said she would default.
            2        A     I thought she--it was very likely that she would
            3   default, yes.
            4        Q     And what did you want the outcome to be?
            5        A     The designation of beneficiaries invalidated as a
            6   mistake, money flowing into the estate and funds trusted--or
            7   trusts are funded exactly as our mother intended.
            8        Q     As our mother intended?
            9        A     Joanne--I'm sorry, she had requested I call her
           10   mother, and I call her mother by habit.
           11        Q     And you say you called Ms. Wrigley and said great
           12   news; I'm going to bring litigation?
           13        A     I don't recall who--I don't recall who called whom.
           14   It's possible that Bernie called her and talked and then he
           15   gave me his phone and I spoke with her after that.
           16        Q     Arid I'm just curious, though, do you use e-mail?
           17        A     Yes, I do.
           18        Q     Why is it that all of these things that you're
           19   talking about now and that Mr. Black is talking about there
           20   are no documented e-mails of that?     All these conversations,
           21   did you ever send an e-mail in which anything you just said
           22   is set forth?
           23        A     Let me honestly tell you Ms. Wrigley is not an
           24   important part of my life and was never an important part of
           25   my life.   These conversations were mostly in difference to




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            1   her in trying to keep a family member happy with me the
            2   young, evil wife.     So I didn't actually need to talk to her,
            3   but I felt that it would be nice to talk to her, so I did.
            4        Q    Did you just say you were the young, evil wife?
            5        A       Well, this is a cultural stereotype to which I was
            6   referring.     I am not evil, I am relatively young, definitely
            7   wife.
            8        Q    Okay.     I'm just--I'm stunned.   How--how which you
            9   were going to do benefit Joanne?
           10        A    As it was explained to me--and I actually thought
           11   it was plausible--if I file a lawsuit, the estate is frozen,
           12   Vanguard account is frozen, everything is frozen.     There is a
           13   nasty, big extended litigation that might--I believed it was
           14   short and simple, but you know that no litigation is every
           15   short and simple.     And I kind of knew this too in the bottom
           16   of my heart.     It could have easily lasted year or two years
           17   or three years.    For these years, Joanne will have no money
           18   at all.
           19             Another point was--
           20        Q    Wait, wait, let me stop.
           21        A    Yes.
           22        Q    Let me stop.    Joanne would have no money at all.
           23   So you wanted that because you wanted to sue?
           24        A    I did not .want the outcome.   I wanted to win the
           25   litigation so that my children would get what they're




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            1   entitled to under the will.    I did not want Joanne to suffer.
            2   And because I did not want her to suffer, I agreed to
            3   postpone a litigation which I believed I would win easily.
            4        Q    Okay.    So now we're getting to it.   What you wanted

            5   was what your children--that your children would get what
            6   they were entitled to; that was your motivation?
            7        A    Of course, it's always been my motivation.
            8        Q    It wasn't to help Joanne?
            9        A    Absolutely not.
           10        Q    Okay.
           11        A     There was another--
           12             MR. DAIN:    I have--I have no further questions.
           13              THE WITNESS:   There was another important
           14   motivation for why I postponed litigation.
           15              MR. DAIN:   Thank you, I'm good.
           16              THE WITNESS:   No, okay.
           17              MR. DAIN:   Thank you.
           18              No further questions.
           19                          REDIRECT EXAMINATION
           20   BY MR. THIESSEN:
           21        Q     And, Ms. Litvak, if Ms. Joanne Black didn't default
           22   with respect to the litigation, what were your plans?
           23        A     Well, I was planning to sue to invalidate the
           24   assignment of beneficiaries.     So if she didn't default, that
           25   means we have litigation, and then we go to litigation and I




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            1   may win, I may lose, but I thought I would win.           I thought I
            2   had a very strong case.
            3        Q      On what grounds?
            4        A      On the grounds that everybody I knew agreed it must
            5   have been a mistake to leave that much money to a mentally
            6   ill woman living on the street believing she's married to a
            7   mobster.
            8               MR. THIESSEN:     Nothing further.
            9               MR. DAIN:     Okay.   Sorry, just on that question I
           10   had a question.
           11                             RECROSS-EXAMINATION
           12   BY MR. DAIN:
           13        Q      The mistake was leaving her money outright--
           14        A      Correct.
           15        Q      --not--not giving your kids some of that money?
           16        A      Correct.     I've actually talked about this in the
           17   middle of my testimony.       The mistake was leaving her money
           18   outright.    But as my legal research has shown, the only
           19   remedy in mistake for the assignment of beneficiary is
           20   invalidation of the assignment.        When the assignment is
           21   invalidated, the money flows into the estate.
           22               MR. DAIN:    Okay.    No further questions.
           23               THE COURT:    Okay.    Thank you.
           24               THE WITNESS:    Thank you, Your Honor.
           25               MR. POSKUS:    Your Honor, I think we're done.




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            1             THE COURT:    Okay.
            2             MR. DAIN:     Okay.    So phase one we've all rested on?
            3             THE COURT:     I think so.
            4             MR. DAIN:     Okay.    Now I know you want to stop

            5   (inaudible) before.     It's 20 to six.    What do you want to do?

            6             THE COURT:     I know.    So we have to talk about it
            7   now, right.   All right.    And so and there's--there's a real
            S   disagreement about the amount of money we're talking about
            9   here?
           10             MR. POSKUS:     I think so, yes.
           11             MR. DAIN:     There isn't a disagreement about the
           12   amount of money; there's a disagreement of what credits Mr.
           13   Black should get.     The money everyone knows.    But what

           14   apparently this accounting is saying--Ms. Parker's accounting
           15   says, well, let's assume that everything Mr. Black did was
           16   appropriate, give him credits for everything tie's spent,
           17   including (inaudible), and here's what's left.
           18              THE COURT:    Okay.     But that's not really what we're
           19   doing.
           20              MR. DAIN:    Right.     That's why the only--the next

           21   step I think is you either need--we either need to go from
           22   Ms. Kerr's report--
           23              THE COURT:    Right.
           24              MR. DAIN:    --and get to the numbers.     We can do

           25   that by testimony or if the Court has her report, if the




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            1   Court has questions, but that should be the next step.
            2              MR. POSKUS:     I agree that should be the next step,
            3   but I think I should be allowed the opportunity to call Ms.
            4   Harper and refute the parts of Ms. Kerr's report.
            5              THE COURT:     About what parts of her report?
            6              MR. POSKUS:    Of a variety of them.   There are some
            7   errors in her reports.     There are some major disagreements,
            8   but I have to be honest, Your Honor, I have to go back and
            9   (inaudible).
           10              MR. DAIN:     You see the disagreements are not on the
           11   numbers.   The numbers are what they are.     The disagreements
           12   are--
           13              THE COURT:    About the assumptions that went into
           14   it?
           15              MR. DAIN:    Exactly.   The disagreement is the
           16   assumption from Mr. Poskus and Ms. Harper is that Mr. Black
           17   didn't breach his fiduciary duties, the--the disclaimers were
           18   all appropriate, everything including the account should have
           19   gone two-third/one-third, and then any discrepancies in the
           20   estate, well, let's give him all these credits for paying his
           21   attorneys to fight this.     Once we do that, we're left with
           22   120-some thousand.     Mr. Black will pay that back in and
           23   we'll--
           24              MR. POSKUS:    That's not a correct statement of her
           25   report or the testimony.




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            1               MR. DAIN:     It's pretty good.    Pretty close.

            2               So--so I guess the issue is do we go through all of
            3   that again or, again is this just digging--
            4               MR. POSKUS:    Well, we haven't been through it once
            5   yet, so--
            6               MR. DAIN:     Well, we went through this whole
            7   exercise of making this record on the first portion.           It's up

            8   to you, Your Honor.       If you want to hear from Ms. Kerr, we
            9   can do that.    I think you have all the evidence, but I--I
           10   don't want to belabor that point.
           11               THE COURT:     Right.   Right.    It's not helpful for me
           12   at this point to go through a report that isn't just a
           13   straightforward accounting; it's just not.          That's not what
           14   we're trying to do here.       That's not what this case is about.
           15   The case is about determining how much money was left and
           16   where it went, and that's it.        And there's not supposed to be
           17   any assumption about who was right, who was wrong or anything
           18   else like that.
           19               MR. POSKUS:     So, Your Honor, if you're telling me
           20   that there will be no--I guess the question I've got to ask,
           21   perhaps I need to ask Mr. Dain this as well--is the issue
           22   then is just going to be how much Joanne Black should have
           23   gotten had the disclaimer not been exercised?
           24               THE COURT:     Right.
           25               MR. POSKUS:     And that's it?




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            1              THE COURT:    That's all it is.
            2              MR. POSKUS:    That's all it is.
            3              MR. DAIN:     Well--
            4              THE COURT:     And, you know, what's happened to the
            5   money since then is part of it--
            6              MR. DAIN:     Thank you.
            7              THE COURT:    --but it's not a question of should it
            8   have happened or should it have not happened.       That should
            9   not be an accounting.     There's no point to an accounting like
           10   that.
           11              MR. DAIN:     Well, there is that issue about what
           12   should have happened to it afterwards, but that's--
           13              THE COURT:    But that's not to come Out through an
           14   accounting.
           15             MR. DAIN:     Pardon?
           16              THE COURT:    It shouldn't be coming out through an
           17   accounting.
           18              MR. POSKUS:    Well, I'm not sure how else it would
           19   come out what's happened to the estate.       And I will say this,

           20   the issue of what happened to the money I think is an issue
           21   for the estate, the court that has jurisdiction over the
           22   estate.   You'll recall at the very beginning of June 16th I
           23   said I think it's clear that this Court has jurisdiction over
           24   the conservatorship.
           25             THE COURT:     Urn-hum.




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            1             MR. POSKUS:    But I'm not sure if you have
            2   jurisdiction--subject matter jurisdiction over how Mr. Black
            3   discharged his duties as personal--as executor.
            4             THE COURT:     Well--
            5             MR. POSKUS:    And I actually see a lot of what Ms.
            6   Kerr said and what Ms. Harper responded to as dealing with
            7   that issue.
            8             MR. DAIN:     Your Honor, actually if he sits as
            9   conservator, wherever the money is he still owes a fiduciary
           10   duty.   He also has a fiduciary duty as executor.
           11              THE COURT:    Yeah.
           12             MR. DAIN:     If the fact that these are Ms. Black's
           13   assets, this Court has jurisdiction over that and has
           14   jurisdiction over Mr. Black.      So we--the point is, we
           15   shouldn't be accounting as--or they shouldn't be accounting
           16   as if they're right because now that the Court has decided,
           17   as I understand, they're wrong, there was a breach of
           18   fiduciary duty and we are going to have to find out just how
           19   much is properly transferred, then only Ms. Kerr's accounting
           20   is valid, because that strictly shows where all the money
           21   went, how much is left, how much was paid to attorneys, how
           22   much was paid for personal expenses of Mr. Black, and that
           23   helps the Court get to the bottom line, which is how much is
           24   owed.
           25              MR. POSKUS:    So basically what Mr. Dain has just




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            1   said, he gets to have Ms. Kerr testify regarding the
            2   accounting issues because that's what she's qualified to do
            3   theoretically, but I don't get to call my own expert to
            4   refute anything that she says.      And he's saying--
            5              THE COURT:    Well, is she--
            6             MR. POSKUS:    --there's nothing--
            7              THE COURT:   --is she refuting the accounting or is
            8   she doing something else on her own?
            9             MR. POSKUS:    She's refuting some of the accounting
           10   data.   Yes, she is.
           11             Ms. DiPONIO:     Your Honor, we stipulated.    The
           12   parties stipulated to Ms. Kerr's and Ms. (Inaudible)
           13   accounting.   This is just a waste.      This is a waste of the
           14   Court's time as well as a waste of everybody's time.
           15             THE COURT:    You know, I guess at the end of the
           16   day, if Mr. Black wants to pay someone out of his own money,
           17   not coming out of the estate to do this, I suppose he has the
           18   right to do it.    But he doesn't have the right to use
           19   Joanne's money--
           20             MR. POSKUS:    I agree.     Then he's--
           21             THE COURT:    --to do it.
           22             MR. POSKUS:    We've fixed that, Your Honor.
           23             THE COURT:    How did you fix that?
           24             MR. POSKUS:    Well, I've got the money that he paid
          25    Ms. Harper in my client trust account.      So he's not using




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            1   his--any estate money, because that's what was used estate
            2   money.
            3               MR. DAIN:     No, no.
            4               MR. POSKUS:     Yes.

            5               MR. DAIN:     Joanne's money.

            6               MS. DiPONlO:     That's right.
            7               MR. POSKUS:     No, no, no.    No, that's not--that's

            8   not the case.    There's no order yet that's been entered that
            9   says that's Joanne' s money; that's the estate's money.
           10               MR. DAIN:     Ms. Harper agrees it's--
           11               MS. DiPONlO:     That's right.
           12               MR. DAIN:     Let's not play word games here.     That's
           13   the--
           14               MR. POSKUS:     Oh, I'm not.
           15               MR. DAIN:     But I accept it now he was paid 150,000
           16   back, and Mr. Glatstein is saying he's holding 15,000.          If
           17   the Court trusts that that 130,000 remains stable, I don't
           18   know how the Court can now trust that Mr. Black won't spend
           19   the other 38,000 left of Joanne's money.
           20               THE COURT:     Right.   Well, I'll   attempt to remedy.
           21   But okay.    So basically we'll pick a date, it's       going to be
           22   another day, to deal with the accounting piece of it.          But--
           23   and I intend to file a written order on this, but basically
           24   I--based on this testimony, the elements of the breach are
           25   met resoundingly so.




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            1                Mr. Black is a fiduciary specifically to Ms. Black;
            2   he breached his duties.        There have been damages and losses
            3   and his breach has been the cause of her injuries and
            4   damages.
            5                I think Ms. Litvak had the right instinct and I
            6   tried to say this multiple times throughout these
            7   proceedings.        This should have never come this way.     It
            8   should have gone right back to the probate court in New York
            9   at the very first instance to hash this out.         And this
           10   (phonetic) with the disclaimer and all the rest of it has
           11   really served to muddy the water, create a significant amount
           12   of family discord when it could have been just a simple
           13   dispute over whether or not she had an intent to do these POD
           14   designations.        I'm not satisfied that there has been full
           15   disclosure.     And as we indicated before around the noon hour,
           16   I find that there has not been full disclosure to this Court
           17   as to what the intent was, what the effect was going to be,
           18   and that is what candor to the Court is supposed to be all
           19   about.   The Court is not supposed to try to figure out from
           20   myriads of documents what it is that everybody means and what
           21   is intended.
           22                The Court's not supposed to have their staff do all
           23   the legal research for the lawyers or the parties or force,
           24       know, oort arpointed counsel to do it or the GAl.              And
           25        tiest   ncs'    I, frarklv, is    sccept   d5J iss'   bEll   eve    it




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            1   that all of this was up front and it was just, you know, a
            2   way to effectuate the terms of the will.       I just don't find

            3   that credible.    And I do not find credible this testimony
            4   that everything was disclosed, everybody knew, everybody was
            5   on the same page.    Then if everybody was on the same page,
            6   why does nobody seem to know about it?     And as I said, I will
            7   go through and I will make specific findings on all of the
            8   elements.   But the thrust of my order is that he's definitely
            9   breached his duties and that there--and that a surcharge is
           10   appropriate.     Because, based on your disclaimer argument, I
           11   am left with no other option to remedy the situation.
           12               So--and I will get an order out.     It's in October.
           13   I do not--I am very dismayed that what I would do or so is
           14   misrepresented to any other court.     I was extremely dismayed

           15   to hear this half truth given to the court in New York.         And
           16   it was demonstrated again on the record just a little while
           17   ago with the transcript colloquy between Mr. Dairi and Mr.
                                                                            19th
           18   Black about the hearing, it looks like it was February
           19   of 2015.    I mean Mr. Black clearly did not represent to the
           20   court in New York that he understood--or Mr. Dain did not
           21   represent to the court that he understood what Mr. Black was
           22   trying to do.     That's not what the transcript shows.    And
           23   it's the same sort of thing that went on with my order.
           24               So in order to try to prevent all of this, to the
           25   extent that this court has authority to do so, I am ordering.




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            1   And to the extent that this court may not have authority, I
            2   am recommending to another court that Mr. Black--he's revoked
            3   as conservator.    That he should not have any other fiduciary
            4   responsibilities at all with respect to any money which may
            5   come into Joanne Black either through the estate, through
            6   guardianship, through conservatorship, through any other
            7   proceeding.
            S               There is some conflicting evidence about it in
                terms of who called what--who called who and who said what to
           10   who and what the time periods were, but the bottom line is
           11   that there was not disclosure to this court and this court
           12   entered an order approving the disclaimer under false
           13   pretenses, and that is unconscionable, especially from a man
           14   of this stature and attorneys of the statute that we had in
           15   this court as well.   It's just unacceptable and it cannot be
           16   condoned.
           17               So Ms. Peterson, at this point, is the Colorado
           18   conservator, and she has the only fiduciary duty, as far as
           19   I'm concerned, with respect to Joanne Black's funds in this
           20   state or in any other state where Joanne Black has money.      If
           21   the court in New York chooses to appoint someone out, I am
           22   making this my recommendation and suggestion then.    But it
           23   should not be her brother, Bernard Black.    There's a clear
           24   conflict of interest, there always was as demonstrated by the
          25    testimony from his wife.   You know, there was a problem with




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            1   the two younger children; she was upset about it.     I agree

            2   that the 2010 will is difficult to understand, if it can be
            3   understood, but there was clearly another will that she tried
            4   to revoke the '97 will.   The probate court in New York wasn't
            5   told about that will.   The decisions were made.    There hasn't

            6   been candor to any court as far as I can tell at this point.
            7   So it's just not--it's riot right.
            8               And the other part of it is, is that whatever went
            9   on in the family, it was clearly no family agreement about
           10   what was fair, what wasn't fair, what grandma meant, what she
           11   didn't mean, whether or not she made a mistake or any of it.
           12   And if there was an agreement, because heirs and
           13   beneficiaries can override these instruments.      And if there

           14   was a full agreement, they would have done that.      They would

           15   have gone to the court in New York and said, okay, this is
           16   what she said and this is why we don't agree and this is what
           17   we want to do and this is what fair to everybody, but no one
           18   did that.
           19               And that's why I've been trying to probe whether or
           20   not there was any intention to do that.    And I find that

           21   there wasn't.    There just flat out wasn't.   So whatever was
           22   said or not said, it did not result in a family agreement
           23   about what to do about the POD designations.     And there was

           24   no family agreement about what to do about the POD
           25   designations.    And there was no family agreement that I'm




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            1   able to discern as to what to do about the effect of the POD
            2   designations.   And I don't know that there's really
            3   disagreement that Joanne Black in a psychotic state on the
            4   streets in Denver should have been the recipient of 3 million
            5   in cash.   I also wonder how Vanguard would have known--would
            6   have known where to pay it to her, but I suppose as a
            7   practical matter how she would have gotten it.    But anyway,
            8   the bottom line is there's no family agreement on this and
            9   this court wasn't told.    So for those reasons, generally, I
           10   am revoking Mr. Black's appointment as conservator for his
           11   sister and I'm ordering that he not have any fiduciary
           12   responsibilities whatsoever with regard to any of her money
           13   or the determination as to what should be part of her money.
           14              Whether or not I think I have any other authority
           15   in terms of it, you know, I'll keep mulling that over as I go
           16   through my written order, but I'm hoping to a written order
           17   out that's fully detailed before this scheduled hearing in
           18   October or whenever it is.   So that the court in New York
           19   there won't be any question about what I thought or what I
           20   did or what I ordered.
           21              We will set the hearing at this point to determine
           22   what the amount of the surcharge should be.
           23              MS. DiPONlO:   Your Honor, I also have a motion
          24    pending for (inaudible) damages. I would ask that the Court
          25    consider that as well with the surcharge.




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            1               THE COURT:    Okay.
            2               MR. CAIN:    Your Honor, at least as to the--well, I

            3   shouldn't say that.      But with respect to the Roth IRA, I
            4   think there's (inaudible) of that, but additionally I want to
            5   ask the Court one more thing, and I know the Court has been
            6   patient, but Ms. Kerr needs--absolutely needs to get paid.
            7   She's been doing this without any compensation.       It's

            8   basically breaking her in terms of her ability to continue
            9   functioning--
           10               THE COURT:    Okay.
           11               MR. CAIN:    --not just in this case but in her
           12   practice.    I mean this is a huge amount of her time and
           13   effort.   And if you read the objections, there's nothing in
           14   there that specific saying this amount of time should be
           15   reduced to this or anything else.      And again, I--as a trustee

           16   of the trust, I would have otherwise paid this.       It's

           17   absolutely reasonable.       The accounting is, again, detailed,
           18   it's--she' s persistent in getting all the information.        She
           19   needs to get paid.       I mean she can't--she can speak for
           20   herself, but she can't continue practicing like this.
           21               THE COURT:    Urn-hum.
           22               MR. DAIN:     And again I state, you know, even though
           23   they gave the money back, the attorneys had no problem; we
           24   pay ourselves.    But she's been doing this for months.        I mean

           25   I assume that Ms. DiPonio and Ms. Young will submit their




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            1   requests.    I also--I don't know--okay, I know Ms. Wrigley
            2   hasn't been paid.     I'm going to submit at least a request for
            3   Mr. (Inaudible), but just Ms. Kerr.        Maybe we could get Mr.
            4   Poskus to agree that even though he doesn't like the
            5   accounting--her efforts given the outcome that the Court has
            6   come to, were beneficial to Ms. Black.
            7               MR. POSKIJS:    Let me make a suggestion, Your Honor.
            8   If Mr. Dain is willing to speak to me sometime next week,
            9   maybe he and I can talk on the phone and see if we can work
           10   out a number that we agree on.
           11               MR. DAIN:      No.
           12               THE COURT:     Well, I think what I'm going to do is--
           13   the bill was, what, 46,000?
           14               MR. DAIN:    It's actually--
           15               UNIDENTIFIED SPEAKER:      It's--I think the balance is
           16   about 46,000 through June 24th
           17               THE COURT:     Right.   So what I'm going to do is I'll
           18   order 40,000 paid; that will leave you some wiggle room with
           19   the six.
           20               UNIDENTIFIED SPEAKER:      There is no 40,000 in any of
           21   the accounts still.
           22               THE COURT:     Well, he's got 100 sitting in his trust
           23   account.
           24               UNIDENTIFIED SPEAKER:     Did he transfer that to Ms.
           25   Peterson?
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            1               THE COURT:    So--
            2               MR. POSKUS:    Well, Your Honor, I said I would do

            3   whatever you ordered.      I'll meet that.     Give me a few days to

            4   make sure the check cleared otherwise I get in trouble with
            5   the Supreme Court.       But once it clears, I'll do whatever you
            6   order me to do.
            7               THE COURT:     Within ten days.

            8               MR. POSKUS:     Within ten days, okay.
            9               THE COURT:     40,000 to be released from Mr.--
           10               MR. POSKUS:     Okay.
           11               THE COURT:     --Poskus' trust account to go through
           12   Ms. Peterson and then to Ms. Kerr.
           13               MR. DAIN:     Actually I'm unclear, Your Honor, why--
           14   if Ms. Peterson is now the conservator, why isn't this whole
           15   115,000 to Ms. Peterson?         It shouldn't be in Mr. Poskus'
           16   account.
           17               THE COURT:     Well, I'm not sure that I disagree with
           18   that, but we're not going to spend more time today talking
           19   about it.
           20               MR. DAIN:     Okay.     So next date, I guess.
           21               THE COURT:     Right.
           22               (Pause.)
           23               THE COURT:     I have this Friday the 7th , and I have
                Tuesday the 18th
                                                       24th
           24                      and Monday the
           25               MR. POSKUS:     Pardon me, Your Honor.




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            1               MR. DAIN:     I'm sorry, say that again, Your Honor.
            2               THE COURT:      This--this Friday, which is the 7th,         I
            3   have--
            4               MR. DAIN:     Oh.
            5               THE COURT:      --the 18th,    which is a Tuesday, and
            6   Monday, August 24th
            7               MR. DAIN:     Monday, August 24th,     would be the best--
            8   funny, actually I'm here next week on another case, Thursday
            9   and Friday, I think one of those is that day.           When is--
           10               UNIDENTIFIED SPEAKER:         Thursday is the   13th

           11               MR. DAIN:     13th
                                                 and       and then you said you have
           12   the 171h?
           13               THE COURT:    18th


           14               MR. DAIN:     Or   18th.   Why don't we do the 18th?
           15               THE COURT:      Does that work for anybody else?
           16               MR. POSKUS:      Sorry, Your Honor, I was checking to
           17   see if Ms. Harper can be here on the 18th,          and she can be
           18   here.
           19               MS. DiPONlO:       Your Honor, I have a conflict.       I
           20   have another matter in Jefferson County.
           21               THE COURT:      What about the 24t1?
           22               MR. POSKUS:     The problem is that Ms. Harper can't
           23   be here on the 24 th        She's already scheduled for a
           24   deposition.
          25                MS.- DiPONlO:      Your Honor, that's okay.     Mr. DiPonio




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            1   can come on the 18th      and I can be here for awhile and then
            2   would have to leave.       He could be here in my absence, if
            3   that's okay.
            4               THE COURT:     On the 18th    of this month?
            5               MS. DiPONlO:     Yes.
            6               THE COURT:     You have a conflict?
            7               UNIDENTIFIED SPEAKER:        17.
            8               THE COURT:     But not here; somewhere else?
            9               UNIDENTIFIED SPEAKER:        In Denver.
           10               THE COURT:     Okay.    All right.   So that's not going
           11   to work then.
           12                UNIDENTIFIED SPEAKER:       I could do it through the
           13   24th
                       •

           14               MS. DIPONIO:     And likewise, Your Honor.
           15                UNIDENTIFIED SPEAKER:       Tomorrow.
           16                MR. DAIN:    Tomorrow I can do, but--you know what, I
           17   can fly back.     I mean if we can do it the 7th,      maybe I'll
           18   just--if we fly out tonight,        I'll fly back tomorrow night.
           19                MR. POSKUS:    Well, I can't do it the 7th,    Your
           20   Honor.     I'm sorry.
           21                THE COURT:    All right.     So--
           22                MR. DAIN:    And there's nothing on the 15Lr1?   The 7Lh
           23   is--
           24                THE COURT:    But Mr. Poskus is out.
           25                MR. POSKUS:    I can't be here.




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            1             THE COURT:     Well, so then if we're into September,
            2   the first date I have in September is the 10th?
            3             MR. CAIN:     I'm in--let me make sure of that.
            4             THE COURT:     Or the 11th•
            5             MR. CAIN:     I'm in Japan, Your Honor.    I'm sorry,
            6   the--
            7             MS. CIPONIO:     can you do the 25th?
            S             MR. CAIN:     Of?
            9             MS. CiPONIO:     August.
           10             MR. CAIN:    She--
           11             MS. DIPONIO:     Your Honor, could she be available by
           12   telephone if--
           13             MR. DAIN:     She's (inaudible)
           14             THE COURT:    All right.
           15             MR. CAIN:     You can't change that deposition?
           16             THE COURT:    September lgth?
           17             MR. POSKUS:    See, the 18    we can do.
           18             THE COURT:    Okay.   Of September?
           19             MR. POSKUS:    Oh, I'm sorry, September.    Forgive me.
           20             MR. CAIN:    And I'm sorry, Your Honor, that's when

           21   I'm in Japan.
           22             THE COURT:    Okay.
           23             MR. DAIN:    And I'll be out of town.
           24             THE COURT:    The 28tl?
           25             MR. CAIN:    September 28th     And remember, Your




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            1   Honor, we have to be--well, we have to be in New York for the
                1st
            2
            3             THE COURT:    When is the next New York court date?
            4             MS. DiPONlO:     October l, Your Honor.
            5             THE COURT:    Okay.
            6             MR. POSKUS:    Your Honor, Mr. Black is not available
            7   on September 28.
            8             THE COURT:     Or the   29th?


            9             MR. POSKUS:     What about the    29th?    We could make

           10   the 29, Your Honor.      We have too many moving parts.
           11             (Pause.)
           12             THE COURT:     Well, I--it looks like we could
                                         8th
           13   actually do September           if that makes a difference.
           14             MR. DAIN:     I'm sorry, say it again?
           15             THE COURT:     September 87 h
           16             MR. DAIN:     September 8.
           17             MS. DiPONlO:     That is--
                                                                    8th
           18             MR. DAIN:     We could do September             Your Honor.

           19              THE COURT:    Does that work for everybody else?
           20              MR. DAIN:    Okay.     This is going to be outstanding,

           21   because I have to be here on the     and 10 on that other
           22   case, so we can do it the 8L) and lock it in right now.
           23              THE COURT:    Okay.
                                                                      8th•
           24              MR. DAIN:    We'll go with September
                                                      8th
           25              THE COURT:    September          Ms. Kerr is going to be




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            1   out of town; is that what you're saying?
            2             UNIDENTIFIED SPEAKER:       Yes.
            3             MR. DAIN:    Can we--here's what I was wondering,
            4   Your Honor.
            5             THE COURT:     Does it have to be before the     1St?

            6             MR. DAIN:    No, that part before October 1St,      the
            7   actual surcharge--
            8             MS. DiPONlO:     That's the proceeding in New York.
            9             THE COURT:     But that's the appointment for a
           10   guardian, right?
           11             MR. DAIN:    Right.
           12             MS. DiPONlO:     Well, I think the New York--and Mr.
           13   Salzman can correct me if I'm wrong.         I think they're waiting
           14   on a total ruling from the court here.        I could be wrong,
           15   but--
           16             MS. KERR:    (Inaudible).
           17             MR. DAIN:    Thank you, Ms. Kerr.      And let's do it
           18   before anyone else checks their calendar.
           19             THE COURT:     All right.   Okay.
           20             MS. DiPONlO:    At 9 o'clock then?
           21             MR. DAIN:    I think we're agreed on the 8.
           22             THE COURT:    Okay.
           23             MR. DAIN:    Thank you.
           24             THE COURT:   All right.
           25             MR. DAIN:    And I'm sorry, there's just one last--I




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            1   think the parties have all stipulated, we still have an issue
            2   with the (inaudible), but if Ms. Wrigley--there was no
            3   objection to 31,000 of her--
            4              THE COURT:    I'm ordering 40.
            5              MR. DAIN:    Oh, no, not Kerr.
            6              MR. POSKUS:    We're talking about the reimbursement
            7   to Cherie Wrigley.
            8              THE COURT:    Oh.
            9              MR. DAIN:     It's already been stipulated.   I just--
           10              MR. POSKUS:     There was a motion filed.   It's been--
           11   the motion indicates--Ms. Peterson filed a motion and
           12   indicated we had no objection of--
           13              MR. DAIN:     I'm just wondering how we get it if
           14   there's no money in the account.
           15              UNIDENTIFIED SPEAKER:    Not in the--
           16              MR. DAIN:     Oh, no, there's money in the trust
           17   account.   The problem--
           18              UNIDENTIFIED SPEAKER:    There's only $13,000.
           19              MR. DAIN:     Oh, in the estate.   Could we just ask
           20   Mr. Poskus to deliver that amount, too, to Ms. Peterson, the
           21   amount that we had stipulated to in addition to the 40 out of
           22   the (inaudible) account and then she'll have the assets
           23   payable to--
           24              MR. POSKUS:     You know, Your Honor, I think we all
           25   agree--and this is the conference that Mr. Dain wasn't a part




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            1   of at the recommendation of Ms. (Inaudible) he thought there
            2   would be an accident paying that out of the SNT.           If that's
            3   what   -   -




            4                  MR. DAIN:    No, no, you're right.    That is
            5   important.
            6                  UNIDENTIFIED SPEAKER:     No, the SNT.
            7                  MR. DAIN:    No, there is money--no, there's money--
            8                  UNIDENTIFIED SPEAKER:     The SNT has $2 million in
            9   it.
           10                  MR. DAIN:    But how do we do that?   I know you've
           11   relieved Mr. Black of his--well, not relieved, but you
           12   revoked his fiduciary duties, but he's the only one that
           13   still has the checkbook on this Supplemental Needs Trust.
           14   So--
           15                  THE COURT:     Well, it needs to be turned over then--
           16                  MR. DAIN:    Yes.
           17                  THE COURT:   --to Ms. Peterson.
           18                  MR. DAIN:    That's what I was going to say.
           19                  THE COURT:   I'm recommending that the Surrogate's
           20   Court spend its authority as the executor and that a non-
           21   family executor be appointed.
           22                  MS. DiPONlO:    And, Your Honor, as soon as your
           23   order comes out, I will make sure Mr. (Inaudible) has a copy
           24   of that order so that he can provide that to the court in New
           25   York--




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            1               THE COURT:     All right.
            2               MR. DiPONlO:    --and they can take it whatever.
            3               THE COURT;    All right.     But I think the other court
            4   should be on notice as of today that he's suspended.         This
            5   can't go on.    And there's no end in sight.
            6               MR. DAIN:    Just--we were speaking of (inaudible).
            7   The problem is, I'm thinking in the Supplemental Needs Trust
            8   you've got to sell stock or assets in order to make that
            9   payment that might (inaudible)     .    There is 30-something
           10   thousand in the estate, and that could be transferred to the
           11   Supplemental Needs Trust.
           12               MR. POSKUS:    I'm sorry, say that again.     I'm--
           13               MR. DAIN:     Doesn't the Supplemental Needs Trust
           14   have assets that would need to be sold.
           15               MR. POSKUS:     I--Bernie?
           16               MR. BLACK:     depending on the amount, we might have
           17   a need to sell assets; it's      about--
           18               MR. DAIN:     It's about supplemental needs.    It's
           19   about 31,000.
           20               MR. POSKUS:     Yeah, but that miciht be that much of a
           21   good asset.
           22               THE COURT:     All right.    So, Mr. Black needs to turn
           23   over all account checkbooks, statements, everything to Ms.
           24   Peterson.     So information and checkbooks or other--whatever
           25   it is that gives bun authority to withdraw money.          Also




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            1   within the next ten days, with no withdrawals in the meantime
            2   I'll authorize $40,000 to Ms. Kerr and--
            3               (Pause.)
            4               THE COURT:     And I definitely wouldn't recommend if
            5   I don't have authority to order that he not be appointed as
            6   guardian.     Okay.    And then we'll have the hearing on the
            7   actual amount of the surcharge at this point on September
                8
            8       th   And I will take Ms. DiPonio's request under
            9   consideration on the civil theft.
           10               MS. DiPONTO:     Thank you.
           11               THE COURT:     Okay.   Anything else as far as orders
           12   go?
           13               MR. DAIN:     Nothing.
           14               UNIDENTIFIED SPEAKER:     (Inaudible)
           15                THE COURT:    Right, and that seems to be working for
           16   the moment.
           17               UNIDENTIFIED SPEAKER:     Yes.
           18               THE COURT:     So I'll just continue to authorize what
           19   you've been doing, if there's no change with them and you
           20   just transfer it to Ms. Peterson.         Okay.
           21               MR. DAIN:     Thank you, Your Honor.
           22               THE COURT:     That will be the order of the Court
           23   then.
           24               MS. DiPONlO:     Thank you.
           25               MR. DAIN:     Thank you, so much.




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            1             MR. POSKUS:   Thank you, Your Honor.
            2             (Whereupon, the hearing was adjourned.)
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                -------------------------------------------------------
                CERTIFICATE


                STATE OF COLORADO


                COUNTY OF DENVER



                          I, Suzanne H. Ben Majed, Transcriptionist for the
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